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                     THE UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

                              CENTRAL DIVISION

                                             )
TOWN OF BREWSTER,                            )
                                             )
                                Plaintiff,   )
                                             )
v.                                           )   CIVIL ACTION NO.: _______________
                                             )
AMERISOURCEBERGEN DRUG                       )
CORPORATION, CARDINAL HEALTH,                )
INC., McKESSON CORPORATION,                  )
PURDUE PHARMA L.P.; PURDUE                   )
PHARMA, INC.; THE PURDUE FREDERICK           )               COMPLAINT
COMPANY, INC.; TEVA                          )
PHARMACEUTICAL INDUSTRIES, LTD.;             )        Complaint for Public Nuisance;
TEVA PHARMACEUTICALS USA, INC.;              )    Violations of Racketeer Influenced and
CEPHALON, INC.; JOHNSON & JOHNSON;           )    Corrupt Organizations Act (RICO) 18
JANSSEN PHARMACEUTICALS, INC.;               )
                                                  U.S.C. § 1961 et seq.; Violations of 18
ORTHO-MCNEIL-JANSSEN                         )
PHARMACEUTICALS, INC. n/k/a JANSSEN          )    U.S.C. § 1962 et seq.; Negligence and
PHARMACEUTICALS, INC.; JANSSEN               )   Negligent Misrepresentation; Negligence
PHARMACEUTICA INC. n/k/a JANSSEN             )      Per Se; Violations of Massachusetts
PHARMACEUTICALS, INC.; NORAMCO,              )   General Laws, Chapter 93A, Sections 2
INC.; ENDO HEALTH SOLUTIONS INC.;            )     and 11; Civil Conspiracy; Fraud and
ENDO PHARMACEUTICALS, INC.;                  )     Fraudulent Misrepresentation; Unjust
ALLERGAN PLC f/k/a ACTAVIS PLS;              )
                                                  Enrichment; and Aiding and Abetting
WATSON PHARMACEUTICALS, INC. n/k/a           )
ACTAVIS, INC.; WATSON                        )
LABORATORIES, INC.; ACTAVIS LLC;             )
ACTAVIS PHARMA, INC. f/k/a WATSON            )
PHARMA, INC.;                                )
MALLINCKRODT PLC and                         )
MALLINCKRODT LLC.                            )
                                             )   JURY TRIAL DEMANDED AND
                             Defendants.     )   ENDORSED HEREON
                                             )
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        Plaintiff, Town of Brewster, (“Plaintiff”), brings this Complaint against Defendants

Purdue Pharma L.P.; Purdue Pharma, Inc.; The Purdue Frederick Company, Inc.; Teva

Pharmaceutical Industries, LTD.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.; Johnson &

Johnson; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a

Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica Inc. n/k/a Janssen Pharmaceuticals, Inc.;

Noramco, Inc.; Endo Health Solutions Inc.; Endo Pharmaceuticals, Inc.; Allergan PLC f/k/a

Actavis PLS; Watson Pharmaceuticals, Inc. n/k/a Actavis, Inc.; Watson Laboratories, Inc.;

Actavis, LLC; Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.; Mallinckrodt plc; Mallinckrodt

LLC; McKesson Corporation; Cardinal Health, Inc.; and AmerisourceBergen Drug Corporation

(collectively “Defendants”) and alleges as follows:

                                           I. INTRODUCTION

        1.      Plaintiff brings this civil action to address, and obtain redress for, the local effects

of the nationwide opioid crisis, an epidemic that was created and continues to expand as a direct

result of the wrongful and unlawful actions of Defendants, all prescription opioid manufacturers

and/or distributors.1 Defendants’ motivation was simple: to generate wildly enormous profits

for themselves, regardless of the devastating costs (both tangible and intangible) to public health

and society. To do so, they engaged in a highly deceptive and sophisticated marketing campaign

aimed at ultimately increasing the use of opioids and/or unlawfully diverted prescription opioids.

Plaintiff seeks to eliminate the hazard to public health and safety caused by the Defendant-

created opioid epidemic in its community, to abate the public nuisance caused thereby, and to

recoup monies that have been spent by Plaintiff because of Defendants’ wrongful and illegal


1
 As used herein, the term “opioid” refers to the entire family of opiate drugs including natural, synthetic and semi-
synthetic opiates.



                                                         1
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conduct. Such economic damages were foreseeable to Defendants and were sustained because of

Defendants’ intentional and/or unlawful actions and omissions.

        2.     The widespread abuse of opioids has resulted in a national epidemic of opioid

overdose deaths and addictions.2

        3.     That epidemic is “directly related to the increasingly widespread misuse of

powerful opioid pain medications.”3

        4.     The manufacturers and distributors of prescription opioids and their co-conspirators

are directly responsible for this devastating epidemic.

        5.     Plaintiff brings this suit against manufacturers of prescription opioids (the

“Manufacturer Defendants”), which engaged in highly deceptive and misleading marketing and

promotional activities that aggressively pushed highly addictive, dangerous opioids, falsely

representing to doctors that patients would only rarely succumb to drug addiction. These

pharmaceutical companies aggressively advertised to and persuaded doctors to prescribe highly

addictive, dangerous opioids, which then turned patients into drug addicts for their own

corporate profit. Such actions were intentional and/or unlawful.

        6.     Plaintiff also brings this suit against the wholesale distributors of these highly

addictive drugs (the “Distributor Defendants”). The distributors and manufacturers worked in

concert, knowingly and substantially assisting each other, and intentionally and/or unlawfully

breached their legal duties under federal and state law to monitor, detect, investigate, refuse and

report suspicious orders of prescription opiates.



2
  See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).
3 See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).



                                                        2
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       7.    Plaintiff does not bring product liability claims or claims otherwise arising from

allegations that a product was defective.

                                            II. PARTIES

       A. PLAINTIFF.

       8.    Plaintiff has declared, inter alia, that opioid abuse, addiction, morbidity and

mortality has created a serious public health and safety crisis and is a public nuisance, and that

the diversion of legally produced controlled substances into the illicit market causes or

contributes to this public nuisance.

       9.    The distribution and diversion of opioids into Massachusetts (“the State”), the

Town of Brewster (“the Town”) and into the County in which it is located (“the County”) and

surrounding areas (collectively, “Plaintiff’s Community”), created the foreseeable opioid crisis

and opioid public nuisance for which Plaintiff seeks relief.

       10.   Plaintiff directly and foreseeably sustained all economic damages alleged herein.

Defendants’ conduct has exacted a financial burden for which Plaintiff seeks relief. Categories

of past and continuing sustained damages include, inter alia,: (1) costs for providing medical

care, additional therapeutic treatment, and prescription drug purchases, and other treatments for

patients suffering from opioid-related addiction or disease, including overdoses and deaths; (2)

costs for providing treatment, counseling, and rehabilitation services; (3) costs for providing

treatment of infants born with opioid-related medical conditions; (4) costs associated with law

enforcement and public safety relating to the opioid epidemic; (5) and costs associated with

providing care for children whose parents suffer from opioid-related disability or incapacitation.

These damages have been suffered, and continue to be suffered directly, by Plaintiff.

       11.   Plaintiff also seeks the means to abate the epidemic created by Defendants’

wrongful and/or unlawful conduct.
                                                 3
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        12.    Plaintiff has standing to recover damages incurred as a result of Defendants’

actions and omissions. Plaintiff has standing under M.G.L. c.40, §§ 1-2. Plaintiff also has

standing to bring all claims pled herein, including, inter alia, to bring claims under the federal

Racketeer Influenced and Corrupt Organizations Act RICO statute (“RICO”), pursuant to 18

U.S.C. § 1961(3) (“persons” include entities which can hold legal title to property) and 18 U.S.C.

§ 1964 (“persons” have standing).

        B. DEFENDANTS.

               1. Manufacturer Defendants.

        13.    The Manufacturer Defendants are defined below.                   At all relevant times, the

Manufacturer Defendants have packaged, distributed, supplied, sold, placed into the stream of

commerce, labeled, described, marketed, advertised, promoted and purported to warn or

purported to inform prescribers and users regarding the benefits and risks associated with the use

of prescription opioid drugs. The Manufacturer Defendants, at all relevant times, have engaged

in the foregoing conduct without fulfilling their legal duty to prevent diversion4 and report

suspicious orders.

        14.    PURDUE PHARMA L.P. is a limited partnership organized under the laws of

Delaware with its headquarters in Stamford Connecticut. PURDUE PHARMA INC. is a New

York corporation with its principal place of business in Stamford, Connecticut, and THE

PURDUE FREDERICK COMPANY is a Delaware corporation with its principal place of

business in Stamford, Connecticut (collectively, “Purdue”).

        15.    Purdue manufactures, promotes, supplies, labels, describes, markets, promotes,

sells, and distributes opioids such as OxyContin, MS Contin, Dilaudid/Dilaudid HP, Butrans,
4
 “Drug diversion” is defined by the Centers for Disease Control and Prevention as occurring “[w]hen prescription
medicines are obtained or used illegally.” See https://www.cdc.gov/injectionsafety/drugdiversion/index.html.



                                                       4
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Hysingla ER, and Targiniq ER in the United States. OxyContin is Purdue’s best-selling opioid.

Since 2009, Purdue’s annual nationwide sales of OxyContin have fluctuated between $2.47

billion and $2.99 billion, up four-fold from its 2006 sales of $800 million.                  OxyContin

constitutes roughly 30% of the entire market for analgesic drugs (painkillers).

        16.   CEPHALON, INC. is a Delaware corporation with its principal place of business in

Frazer, Pennsylvania. TEVA PHARMACEUTICAL INDUSTRIES, LTD. (“Teva Ltd.”) is an

Israeli corporation with its principal place of business in Petah Tikva, Israel. In October 2011,

Teva Ltd. acquired Cephalon, Inc. TEVA PHARMACEUTICALS USA, INC. (“Teva USA”) is

a Delaware corporation and is a wholly owned subsidiary of Teva Ltd. in Pennsylvania.

        17.   Cephalon, Inc. manufactures, promotes, supplies, labels, describes, sells, and

distributes opioids such as Actiq and Fentora in the United States. Actiq has been approved by

the Federal Drug Administration (the “FDA”) only for the “management of breakthrough cancer

pain in patients 16 years and older with malignancies who are already receiving and who are

tolerant to around-the-clock opioid therapy for the underlying persistent cancer pain.” 5 Fentora

has been approved by the FDA only for the “management of breakthrough pain in cancer

patients 18 years of age and older who are already receiving and who are tolerant to around-the-

clock opioid therapy for their underlying persistent cancer pain.”6 In 2008, Cephalon, Inc. pled

guilty to a criminal violation of the Federal Food, Drug and Cosmetic Act for its misleading




5
    Highlights of Prescribing Information, ACTIQ® (fentanyl citrate) oral transmucosal lozenge, CII (2009),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2009/020747s030lbl.pdf.
6
      Highlights of Prescribing Information, FENTORA® (fentanyl citrate) buccal tablet, CII (2011),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/021947s015lbl.pdf.



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promotion of Actiq and two other drugs, and agreed to pay $425 million in settlements and

fines.7

          18.     Teva Ltd., Teva USA, and Cephalon, Inc. work together closely to supply, label,

describe, market, promote, sell and distribute Cephalon, Inc. products in the United States. Teva

Ltd. conducts all sales and marketing activities for Cephalon, Inc. in the United States through

Teva USA and has done so since its October 2011 acquisition of Cephalon, Inc. Teva Ltd. and

Teva USA hold out Actiq and Fentora as Teva products to the public. Teva USA sells all former

Cephalon branded products through its “specialty medicines” division.                         The FDA-approved

prescribing information and medication guide, which is distributed with Cephalon, Inc. opioids,

discloses that the guide was submitted by Teva USA, and directs physicians to contact Teva

USA to report adverse events.

          19.     All of Cephalon, Inc.’s promotional websites, including those for Actiq and

Fentora, display Teva Ltd.’s logo.8 Teva Ltd.’s financial reports list Cephalon, Inc.’s and Teva

USA’s sales as its own, and its year-end report for 2012 – the year immediately following the

Cephalon, Inc. acquisition – attributed a 22% increase in its specialty medicine sales to “the

inclusion of a full year of Cephalon, Inc.’s specialty sales,” including inter alia sales of

Fentora®.9 Through interrelated operations like these, Teva Ltd. operates in the United States

through its subsidiaries Cephalon, Inc. and Teva USA. The United States is the largest of Teva

Ltd.’s global markets, representing 53% of its global revenue in 2015, and, were it not for the


7
  Press Release, U.S. Dep’t of Justice, Biopharmaceutical Company, Cephalon, to Pay $425 Million & Enter Plea to
Resolve         Allegations          of        Off-Label       Marketing         (Sept.        29,       2008),
https://www.justice.gov/archive/opa/pr/2008/September/08-civ-860.html.
8
    E.g., ACTIQ, http://www.actiq.com/ (displaying logo at bottom-left) (last visited Aug. 21, 2017).
9
        Teva       Ltd.,    Annual      Report      (Form     20-F)  62      (Feb.                      12,   2013),
http://annualreports.com/HostedData/AnnualReportArchive/t/NASDAQ_TEVA_2012.pdf.



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existence of Teva USA and Cephalon, Inc., Teva Ltd. would conduct those companies’ business

in the United States itself. Upon information and belief, Teva Ltd. directs the business practices

of Cephalon, Inc. and Teva USA, and their profits inure to the benefit of Teva Ltd. as controlling

shareholder.    Teva Pharmaceutical Industries, Ltd., Teva Pharmaceuticals USA, Inc., and

Cephalon, Inc. are referred to as “Cephalon.”

       20.     JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its

principal place of business in Titusville, New Jersey, and is a wholly owned subsidiary of

JOHNSON & JOHNSON (“J&J”), a New Jersey corporation with its principal place of business

in New Brunswick, New Jersey. ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC.,

now known as JANSSEN PHARMACEUTICALS, INC., is a Pennsylvania corporation with its

principal place of business in Titusville, New Jersey. JANSSEN PHARMACEUTICA INC.,

now known as JANSSEN PHARMACEUTICALS, INC., is a Pennsylvania corporation with its

principal place of business in Titusville, New Jersey. J&J is the only company that owns more

than 10% of Janssen Pharmaceuticals, Inc.’s stock, and corresponds with the FDA regarding

Janssen’s products. NORAMCO, INC. (“Noramco”) is a Delaware company headquartered in

Wilmington, Delaware and was a wholly owned subsidiary of J&J until July 2016. Upon

information and belief, J&J controls the sale and development of Janssen Pharmaceuticals, Inc.’s

drugs and Janssen’s profits inure to J&J’s benefit. Janssen Pharmaceuticals, Inc., Ortho-McNeil-

Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., Noramco, and J&J are referred to as

“Janssen.”

       21.     Janssen manufactures, supplies, labels, describes, markets, promotes, sells, and

distributes drugs in the United States, including the opioid Duragesic (fentanyl). Before 2009,

Duragesic accounted for at least $1 billion in annual sales.       Until January 2015, Janssen



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developed, marketed, and sold the opioids Nucynta (tapentadol) and Nucynta ER. Together,

Nucynta and Nucynta ER accounted for $172 million in sales in 2014.

       22.   ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. ENDO PHARMACEUTICALS INC. is a wholly

owned subsidiary of Endo Health Solutions Inc. and is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania.           Endo Health Solutions Inc. and Endo

Pharmaceuticals Inc. are referred to as “Endo.”

       23.   Endo develops, manufactures, supplies, labels, describes, markets, promotes and

sells prescription drugs, including the opioids Opana/Opana ER, Percodan, Percocet, and

Zydone, in the United States. Opioids made up roughly $403 million of Endo’s overall revenues

of $3 billion in 2012. Opana ER yielded $1.15 billion in revenue from 2010 and 2013, and it

accounted for 10% of Endo’s total revenue in 2012. Endo also manufactures, supplies, labels,

describes, markets, promotes and sells generic opioids such as oxycodone, oxymorphone,

hydromorphone, and hydrocodone products in the United States, by itself and through its

subsidiary, Qualitest Pharmaceuticals, Inc.

       24.   ALLERGAN PLC is a public limited company incorporated in Ireland with its

principal place of business in Dublin, Ireland. ACTAVIS PLC acquired ALLERGAN PLC in

March 2015, and the combined company changed its name to ALLERGAN PLC. Before that,

WATSON PHARMACEUTICALS, INC. acquired ACTAVIS, INC. in October 2012, and the

combined company changed its name to Actavis, Inc. as of January 2013 and then ACTAVIS

PLC in October 2013. WATSON LABORATORIES, INC. is a Nevada corporation with its

principal place of business in Corona, California, and is a wholly-owned subsidiary of

ALLERGAN PLC (f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.).             ACTAVIS



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PHARMA, INC. (f/k/a Actavis, Inc.) is a Delaware corporation with its principal place of

business in New Jersey and was formerly known as WATSON PHARMA, INC. ACTAVIS

LLC is a Delaware limited liability company with its principal place of business in Parsippany,

New Jersey. Each of these defendants is owned by ALLERGAN PLC, which uses them to

market and sell its drugs in the United States. Upon information and belief, ALLERGAN PLC

exercises control over these marketing and sales efforts and profits from the sale of

Allergan/Actavis products ultimately inure to its benefit. ALLERGAN PLC, ACTAVIS PLC,

ACTAVIS,       INC.,    ACTAVIS         LLC,    ACTAVIS       PHARMA,        INC.,     WATSON

PHARMACEUTICALS, INC., WATSON PHARMA, INC., and WATSON LABORATORIES,

INC. are referred to as “Actavis.”

       25.   Actavis develops, manufactures, supplies, labels, describes, markets, promotes,

sells, and distributes opioids, including the branded drugs Kadian and Norco, a generic version

of Kadian, and generic versions of Duragesic and Opana, in the United States. Actavis acquired

the rights to Kadian from King Pharmaceuticals, Inc. on December 30, 2008, and began

marketing and selling Kadian in 2009.

       26.   MALLINCKRODT, PLC is an Irish public limited company headquartered in

Staines-upon-Thames, United Kingdom, with its U.S. headquarters in St. Louis, Missouri.

MALLINCKRODT, LLC is a limited liability company organized and existing under the laws of

the State of Delaware. Mallinckrodt, LLC is a wholly owned subsidiary of Mallinckrodt, plc.

Mallinckrodt, plc and Mallinckrodt, LLC are referred to as “Mallinckrodt.”

       27.   Mallinckrodt develops, manufactures, supplies, labels, describes, promotes,

markets, sells and distributes drugs in the United States including generic oxycodone, of which it

is one of the largest manufacturers. In July 2017, Mallinckrodt agreed to pay $35 million to



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settle allegations brought by the Department of Justice that it failed to detect and notify the Drug

Enforcement Administration (the “DEA”) of suspicious orders of controlled substances.

       28.   Perdue, Cephalon, Janssen, Endo, Actavis and Mallinckrodt are referred to as the

“Manufacturer Defendants” herein.

             2. Distributor Defendants.

       29.   The Distributor Defendants also are defined below. At all relevant times, the

Distributor Defendants have distributed, supplied, sold, and placed into the stream of commerce

prescription opioids without fulfilling the fundamental duty of wholesale drug distributors to

detect and warn of diversion of these dangerous drugs for non-medical purposes.                 The

Distributor Defendants are engaged in “wholesale distribution,” as defined under state and

federal law. The Distributor Defendants universally failed to comply with federal and/or state

law. The unlawful conduct by the Distributor Defendants is responsible for the unlawfully

excessive volume of prescription opioids plaguing Plaintiff’s Community.

       30.   McKESSON CORPORATION (“McKesson”) at all relevant times, operated as a

licensed pharmacy wholesaler in the State. McKesson is a Delaware corporation. McKesson has

its principal place of business located in San Francisco, California.

       31.   CARDINAL HEALTH, INC. (“Cardinal”) at all relevant times, operated as a

licensed pharmacy wholesaler in the State. Cardinal’s principal office is located in Dublin, Ohio.

       32.   AMERISOURCEBERGEN DRUG CORPORATION (“AmerisourceBergen”) at

all relevant times, operated as a licensed pharmacy wholesaler in the State. AmerisourceBergen

is a Delaware corporation and its principal place of business is located in Chesterbrook,

Pennsylvania.

       33.   AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and McKesson are

referred to as the “Distributor Defendants” herein.
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         34.    The data which reveals and/or confirms the identity of each wrongful opioid

distributor is hidden from public view in the DEA’s confidential ARCOS database. See Madel v.

USDOJ, 784 F.3d 448 (8th Cir. 2015). Neither the DEA10 nor the wholesale distributors11 will

voluntarily disclose the data necessary to identify with specificity the transactions which will

form the evidentiary basis for the claims asserted herein.

         35.    Consequently, Plaintiff names the three (3) wholesale distributors (i.e.,

AmerisourceBergen, Cardinal, and McKesson) which dominate 85% of the market share for the

distribution of prescription opioids. The “Big 3” are Fortune 500 corporations listed on the New

York Stock Exchange whose principal business is the nationwide wholesale distribution of

prescription drugs. See Fed. Trade Comm'n v. Cardinal Health, Inc., 12 F. Supp. 2d 34, 37

(D.D.C. 1998) (describing Cardinal, McKesson, and AmerisourceBergen predecessors). Each

has been investigated and/or fined by the DEA for the failure to report suspicious orders.

Plaintiff has reason to believe each has engaged in unlawful conduct that resulted in the

diversion of prescription opioids into its community and that discovery will likely reveal others

who likewise engaged in unlawful conduct. Plaintiff names each of the “Big 3” herein as

defendants and places the industry on notice that Plaintiff is acting to abate the public nuisance

plaguing its community. Plaintiff will request expedited discovery pursuant to Rule 26(d) of the

Federal Rules of Civil Procedure to secure the data necessary to reveal and/or confirm the

identities of the wholesale distributors, including data from the ARCOS database.

10
  See Declaration of Katherine L. Myrick, Chief, Freedom of Information (FOI)/Privacy Act Unit (“SARF”), FOI,
Records Management Section (“SAR”), Drug Enforcement Administration (DEA), United States Department of
Justice (DOJ), Madel v. USDOJ, Case 0:13-cv-02832-PAM-FLN, (Document 23) (filed 02/06/14) (noting that
ARCOS data is “kept confidential by the DEA”).
11
  See Declaration of Tina Lantz, Cardinal Health VP of Sales Operation, Madel v. USDOJ, Case 0:13-cv-02832-
PAM-FLN, (Document 93) (filed 11/02/16) (“Cardinal Health does not customarily release any of the information
identified by the DEA notice letter to the public, nor is the information publicly available. Cardinal Health relies on
DEA to protect its confidential business information reported to the Agency.”).



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                              III. JURISDICTION & VENUE

       36.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331 based upon the

federal claims asserted under the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C.

§ 1961, et seq. (“RICO”). This Court has supplemental jurisdiction over Plaintiff’s state law

claims pursuant to 28 U.S.C. § 1367 because those claims are so related to Plaintiff’s federal

claims that they form part of the same case or controversy.

       37.    This Court also has jurisdiction over this action in accordance with 28 U.S.C.

§ 1332(a) because Plaintiff is a “citizen” of this State, the named Defendants are citizens of

different states and the amount in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs.

       38.    This Court has personal jurisdiction over Defendants because they conduct

business in the State, purposefully direct or directed their actions toward the State, some or all

consented to be sued in the State by registering an agent for service of process, they consensually

submitted to the jurisdiction of the State when obtaining a manufacturer or distributor license,

and because they have the requisite minimum contacts with the State necessary to

constitutionally permit the Court to exercise jurisdiction.

       39.    This Court also has personal jurisdiction over all of the Defendants under 18 U.S.C.

§ 1965(b). This Court may exercise nationwide jurisdiction over the named Defendants where

the “ends of justice” require national service and Plaintiff demonstrates national contacts. Here,

the interests of justice require that Plaintiff be allowed to bring all members of the nationwide

RICO enterprise before the court in a single trial. See, e.g., Iron Workers Local Union No. 17

Insurance Fund v. Philip Morris Inc., 23 F. Supp. 2d 796 (N.D. Ohio 1998) (citing LaSalle




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National Bank v. Arroyo Office Plaza, Ltd., 1988 WL 23824, *3 (N.D. Ill. Mar 10, 1988);

Butcher’s Union Local No. 498 v. SDC Invest., Inc., 788 F.2d 535, 539 (9th Cir. 1986).

        40.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 18 U.S.C. § 1965

because a substantial part of the events or omissions giving rise to the claim occurred in this

District and each Defendant transacted affairs and conducted activity that gave rise to the claim

of relief in this District. 28 U.S.C. § 1391(b); 18 U.S.C. § 1965(a).

                                 IV. FACTUAL BACKGROUND

        A. THE OPIOID EPIDEMIC.

              1. The National Opioid Epidemic.

        41.    The past two decades have been characterized by skyrocketing abuse and diversion

of prescription drugs, including opioid medications, in the United States.12

        42.    Prescription opioids have become more widely prescribed than ever before in

history. By 2010, enough prescription opioids were sold to medicate every adult in the United

States with a dose of 5 milligrams of hydrocodone every 4 hours for 1 month.13

        43.    By 2011, the U.S. Department of Health and Human Resources, Centers for

Disease Control and Prevention, declared prescription painkiller overdoses at epidemic levels.

Its news release noted:

                     a. The death toll from overdoses of prescription painkillers
                        has more than tripled in the past decade.

                     b. More than 40 people die every day from overdoses
                        involving narcotic pain relievers like hydrocodone


12
 See Richard C. Dart et al, Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Eng. J.
Med. 241 (2015).
13
  Katherine M. Keyes et al., Understanding the Rural-Urban Differences in Nonmedical Prescription Opioid Use
and Abuse in the United States, 104 Am. J. Pub. Health e52 (2014).



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                             (Vicodin), methadone,          oxycodone       (OxyContin),       and
                             oxymorphone (Opana).

                        c. Overdoses involving prescription painkillers are at
                           epidemic levels and now kill more Americans than heroin
                           and cocaine combined.

                        d. The increased use of prescription painkillers for
                           nonmedical reasons, along with growing sales, has
                           contributed to a large number of overdoses and deaths. In
                           2010, 1 in every 20 people in the United States age 12 and
                           older—a total of 12 million people—reported using
                           prescription painkillers non-medically according to the
                           National Survey on Drug Use and Health. Based on the
                           data from the Drug Enforcement Administration, sales of
                           these drugs to pharmacies and health care providers have
                           increased by more than 300 percent since 1999.

                        e. Prescription drug abuse is a silent epidemic that is stealing
                           thousands of lives and tearing apart communities and
                           families across America.

                        f. Almost 5,500 people start to misuse prescription painkillers
                           every day.14

           44.    The number of annual opioid prescriptions written in the United States is now

roughly equal to the number of adults in the population.15

           45.    Many Americans are currently addicted to prescription opioids. The number of

deaths due to prescription opioid overdose is overwhelming and unacceptable, and it continues to

rise significantly each year.

           46.    During 1999–2014, drug overdose deaths nearly tripled. Among 47,055 drug

overdose deaths that occurred in 2014 in the United States, 28,647 (60.9%) involved an opioid.16

14
   See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Prescription
Painkiller         Overdoses            at        Epidemic           Levels         (Nov.        1,         2011),
https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.
15
     See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).
16
 See Rose A. Rudd et al., Increases in Drug and Opioid-Involved Overdose Deaths—United States, 2010–2015, 65
Morbidity & Mortality Wkly. Rep. 1445 (2016).


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The U.S. opioid epidemic is continuing and even after the tide of new addicts and deaths is

stemmed the problem will continue on for decades.

        47.    In 2016, drug overdoses killed roughly 64,000 people in the United States, an

increase of more than twenty-two percent (22 %) over the 52,404 drug deaths recorded the

previous year.17

        48.    Moreover, the CDC has identified addiction to prescription pain medication as the

strongest risk factor for heroin addiction.         Heroin is pharmacologically similar to prescription

opioids. The majority of current heroin users report having used prescription opioids non-

medically before they initiated heroin use. Available data indicates that the nonmedical use of

prescription opioids is a strong risk factor for heroin use.18

        49.    People who are addicted to prescription opioid painkillers are forty times more

likely to be addicted to heroin.19

        50.    The CDC reports that drug overdose deaths involving heroin continued to climb

sharply, with heroin overdoses more than tripling in four (4) years. This increase mirrors large

increases in heroin use across the country. Heroin use has been shown to be directly tied to

opioid pain reliever dependence and misuse.

        51.    Past dependence upon, including use as prescribed, and misuse of prescription

opioids are the strongest risk factors for heroin initiation and use, specifically among persons

who report past-year dependence or abuse. The increased availability of heroin, combined with

17
  See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Provisional Counts of Drug
Overdose Deaths, (August 8, 2016), https://www.cdc.gov/nchs/data/health_policy/monthly-drug-overdose-death-
estimates.pdf.
18
 See Wilson M. Compton, Relationship Between Nonmedical Prescription-Opioid Use and Heroin, 374 N. Eng. J.
Med. 154 (2016).
19
   See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Today’s Heroin Epidemic,
https://www.cdc.gov/vitalsigns/heroin/index.html (last updated July 7, 2015).



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its relatively low price (compared with diverted prescription opioids) and high purity appear to

be major drivers of the upward trend in heroin use and overdose.20

           52.    The societal costs of prescription drug abuse are “huge.”21

           53.    Across the nation, local governments are struggling with the pernicious, ever-

expanding effects of the epidemic of opioid addiction and abuse.

           54.    The National Institute on Drug Abuse identifies misuse and addiction to opioids as

“a serious national crisis that affects public health as well as social and economic welfare.”22

The economic burden of prescription opioid misuse alone is $78.5 billion a year, including the

costs of healthcare, lost productivity, addiction treatment, and criminal justice expenditures. 23

           55.    During the past fifteen (15) years in the United States, the rate of death from opioid

overdose has quadrupled. During that same time period, nonfatal opioid overdoses that require

medical care in a hospital or emergency department have increased by a factor of six (6).24

           56.    The U.S. opioid epidemic continues to worsen.                  Every day, more than 90

Americans lose their lives after overdosing on opioids.25



20
  See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—United States, 2000–2014, 64
Morbidity & Mortality Wkly. Rep. 1378 (2016).
21
  See Amicus Curiae Brief of Healthcare Distribution Management Association in Support of Appellant Cardinal
Health, Inc., Cardinal Health, Inc. v. United States Dept. Justice, No. 12-5061 (D.C. Cir. May 9, 2012), 2012 WL
1637016, at *10 [hereinafter Brief of HDMA].
22
     Opioid Crisis, NIH.
23
  Id. (citing at note 2 Florence CS, Zhou C, Luo F, Xu L, The Economic Burden of Prescription Opioid Overdose,
Abuse,      and    Dependence     in    the   United   States,   2013,  MED CARE          2016;54(10):901-906,
doi:10.1097/MLR.0000000000000625).
24
   See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).
25
   Opioid Crisis, NIH, National Institute on Drug Abuse (available at https://www.drugabuse.gov/drugs-
abuse/opioids/opioid-crisis, last visited Sept. 19, 2017) (“Opioid Crisis, NIH”) (citing at note 1 Rudd RA, Seth P,
David F, Scholl L, Increases in Drug and Opioid-Involved Overdose Deaths — United States, 2010–2015, MMWR
MORB MORTAL WKLY REP. 2016;65, doi:10.15585/mmwr.mm655051e1).



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        57.      Each day also brings a new revelation regarding the depth of the opioid plague: to

name just one example, the New York Times reported in September 2017 that the epidemic,

which now claims 60,000 lives a year, is now killing babies and toddlers because ubiquitous,

deadly opioids are “everywhere” and mistaken as candy.26

        58.      In 2016, the President of the United States declared an opioid and heroin epidemic

exists in America.27

        59.      The epidemic of prescription pain medication and heroin deaths is devastating

families and communities across the country.28 Meanwhile, the manufacturers and distributors

of prescription opioids are extracting billions of dollars of revenue from the addicted American

public while public entities experience human and economic loss, sometimes in the hundreds of

millions of dollars range of injury, caused by the reasonably foreseeable consequences of the

prescription opioid addiction epidemic.

        60.      The prescription opioid manufacturers and distributors, including Defendants, have

continued their wrongful, intentional, and unlawful conduct, despite their knowledge that such

conduct is causing and/or deepening the scope of the national, state, and local opioid epidemic.

                  2. The Opioid Epidemic in the Commonwealth of Massachusetts.

        61.      The Commonwealth of Massachusetts has been especially ravaged by the national

opioid crisis.

        62.      Overdose mortalities in Massachusetts have increased sharply in recent years:

26
   Julie Turkewitz, ‘The Pills are Everywhere’: How the Opioid Crisis Claims Its Youngest Victims, N.Y. Times,
Sept. 20, 2017 (“‘It’s a cancer,’ said [grandmother of dead one-year old], of the nation’s opioid problem, ‘with
tendrils that are going everywhere.’”).
27
  See Proclamation No. 9499, 81 Fed. Reg. 65,173 (Sept. 16, 2016) (proclaiming “Prescription Opioid and Heroin
Epidemic Awareness Week”).
28
  See Presidential Memorandum – Addressing Prescription Drug Abuse and Heroin Use, 2015 Daily Comp. Pres.
Doc. 743 (Oct. 21, 2015), https://www.gpo.gov/fdsys/pkg/DCPD-201500743/pdf/DCPD-201500743.pdf.



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        63.    From 2000 to 2015, Massachusetts saw a 372% increase in overdose fatalities. In

2015 alone, there were 1,724 Massachusetts overdose deaths, up from 463 Massachusetts

overdose deaths in 2000.29           Drug overdose deaths involving synthetic opioids other than

methadone more than doubled in just one year between 2014 and 2015.30

        64.    Since 2014, the fatal overdose rate in Massachusetts reached more than double the

national average.31




29
  L.M. ROSSEN ET AL., NAT'L C1R. FOR HEALTH STAT., DRUG POISONING MORTAUTY: UNITED
STATES, 1999- 2015 (2017), https://www.cdc.gov/nchs/data-visualization/dmg-poisoning-mortality/ (last visited
Dec. 12, 2017).
30
   R.A. Rudd et al., Ctr. for Disease Ctrl., Increases in Dmg and Opioid-Involved Overdose Deaths - United States,
2010-2015. MMWR MORBIDITY AND MORTALITY WKLY. REP. 2016;65 :1445- 1452,
https://v.rwv.r.cdc.gov/mmwr/volumes/65/wrlrmn655051e1 htm (last visited Dec. 12, 2017).
31
     MASS. DEP'T OF PUB. HEALTH, THE MASSACHUSETTS OPIOID EPIDEMIC: A DATA
VISUALIZATION OF FINDINGS FROM THE CHAPTER 55 REPORT, http://www.mass.gov/chapter55/ (last
visited Dec. 12, 2017).



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            65.   Overdoses alone fail to paint the full picture. According to the Massachusetts

governmental officials, “opioid-related deaths in the Commonwealth were more than four times

higher in 2015 than in 2000. This recent rate of increase is several times faster than anything

seen here before. In 2013-2014, opioid-related deaths occurred in two-thirds of the cities and

towns in Massachusetts.”32




32
     Id.



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        66.    Prescriptions drive the epidemic of addiction and overdose. 8 in 12 people who

died from opioids in 2013 and 2014 had an opioid prescription at some point from 2011–2014.33

In 2016, there were half as many prescriptions as people in Massachusetts, and that only after the

State managed to draw down the amount from a peak of 69.2 prescriptions per 100 people in

2008. This compares to the national rate of 66.5 prescriptions per 100 people in 2016.34 Based on

the amount prescribed, Massachusetts had over 473 morphine milligram equivalents of opioids

prescribed per capita in 2015,35 equivalent to over a week's high-dose supply for every person in

the state.36

        67.    Meanwhile, Massachusetts has an opioid prescription rate of 70.8 per 100 persons

and a benzodiazepine prescription rate of 48.8 per 100 persons, the latter of which ranks 9th

nationally (U.S. median rate: 37.6).37 In 2016, there were half as many prescriptions as people in

Massachusetts, and that occurred only after the Commonwealth managed to draw down the

amount from a peak of 69.2 prescriptions per 100 people in 2008. Based on the amount

prescribed, Massachusetts had over 473 morphine milligram equivalents of opioids prescribed




33
   Id.
34
   CTR. FOR DISEASE CTRL., U.S. PRESCRIBING RATE MAPS (2017), https://www.cdc.gov/drugoverdose/maps/rxrate-
maps.html (last visited Dec. 12, 2017).
35
   AMFAR, OPIOID & HEALTH INDICATORS DATABASE, MASSACHUSETTS OPIOID EPIDEMIC,
http://opioid.amfar.org/MA (last visited Dec. 12, 2017).
36
   CTR. FOR DISEASE CTRL., CALCULATING TOTAL DAILY DOSAGE OF OPIOIDS FOR SAFER DOSAGE,
https://www.cdc.gov/drugoverdose/pdf/calculating_total_daily_dose-a.pdf (last visited Dec. 12, 2017).
37
   Leonard J. Paulozzi, M.D., et al., Ctr. for Disease Ctrl., Vital Signs: Variation Among States in Prescribing of
Opioid Pain Relievers and Benzodiazepines - United States, 2012, MORBIDITY AND MORTALITY WKLY. REP.
(Jul. 4, 2014), https://www..cdc.gov/nunwr/preview/nunwrhtml/nun6326a2.htm (last visited Dec. 12, 2017). The
combination of hydrocodone, oxycodone, and benzodiazepines is referred to as the "holy trinity" and significantly
increases the risk of harm to those that abuse prescription pills.



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per capita in 2015,38 equivalent to over week's high dose supply for every person in the

Commonwealth. 39

          68.    The opioid prescription rates in the Commonwealth and in Plaintiff’s Community

exceeded any legitimate medical, scientific, or industrial purpose.

          69.    This high rate of prescriptions only scratches the surface of the full extent of the

problem in Massachusetts.           Nine out of ten people in Massachusetts who need addiction

treatment do not receive it. In 2016, 2.86% of people reported drug dependence, higher than the

national average of 2.7%, and 3.49% reported non-medical use of pain relievers.40 This is after

improvement: Massachusetts' rate of nonmedical use of prescription pain relievers in the nation

was at 4% from 2010-2012.41

          70.    The rate of opioid-related inpatient stays in Massachusetts surged by 41.8%

between 2009 and 2014 to reach second in the nation, at 393.7 per 100,000 people, 175% of the

national rate of 224.6. Opioid-related emergency department visits in Massachusetts leaped by

71.2% from 2009 to 2014 and are now the highest in the nation by far, at 450.2 per 100,000

population in 2014, over two and a half times the national rate of 177.7 per 100,000.42




38
   AMFAR, OPIOID & HEALTH INDICATORS DATABASE, MASSACHUSETTS OPIOID EPIDEMIC,
http://opioid.amfar.org/MA (last visited Dec. 12, 2017).
39
   CTR. FOR DISEASE CTRL., CALCULATING TOTAL DAILY DOSE OF OPIOIDS FOR SAFER DOSAGE,
https://www.cdc.gov/drugoverdose/pdf/calculating_total_ daily_ dose-a. pdf (last visited Dec. 12, 2017).
40
     AMFAR, supra note 8.
41
   RACHEL N. LIPARI, PH.D., ET AL., SUBSTANCE ABUSE AND MENTAL HEALTH SERVICES
ADMINISTRATION, NATIONAL SURVEY ON DRUG USE AND HEALTH (Jul. 13, 2017),
https://www.samhsa.gov/data/sites/default/flles/report_3187/ShortRepOit-3187 .html (last visited Dec. 12, 2017).
42
   AGENCY FOR HEAL1HCARE RESEARCH AND QUALITY, HEAL1HCARE COST AND UTILIZATION
PROJECT, STATISTICAL BRIEF #219, OPIOID-RELATED INPATIENT STAYS AND EMERGENCY
DEPARTMENT            VISITS       BY      STA1E,      2009-2014      (Jan.     20       17),     https://www.hcup-
us.ahrq.gov/repOitslstatbriefs/sb219-0pioid-Hospital-Stays-ED-Visits-by-State. pdf (last visited Dec. 12, 2017).



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                   3. The Opioid Epidemic in Plaintiff’s Community.

            71.    Plaintiff’s community also has been hit particularly hard by the opioid crisis.

            72.    Plaintiff’s Community is experiencing an excessive drug overdose rate related to an

excessive volume of prescription opiates proximately caused by the wrongful conduct by the

Defendants described and named herein.

            73.    Excessive numbers of opioid prescriptions have been dispensed in the Plaintiff’s

Community.43 Significant numbers of the residents of Plaintiff’s Community report drug

dependence and non-medical use of pain relievers.44 Many residents of Plaintiff’s Community

who need addiction treatment don’t receive it.45 Drug poisoning and opioid related deaths in

Plaintiff’s Community have significantly impacted the community in recent years.46

            74.    The opioid prescription rates in Plaintiff’s Community exceeded any legitimate

medical, scientific, or industrial purpose.

            75.    The opioid epidemic has placed increased budgetary constraints upon, inter alia,

the public health and medical care expenditures of the Commonwealth and Plaintiff’s

Community. Opioid addiction is one of the primary reasons citizens of the Commonwealth and

Plaintiff’s Community seek substance abuse treatment.



43
      U.S.   Prescribing Rate     Maps,    Centers   for     Disease     Control    and    Prevention    (2017),
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last visited Nov 13, 2017).
44
     See, e.g., http://opioid.amfar.org.
45
     Id. at View Counties: Healthcare.
46
  L.M. ROSSEN ET AL., NAT'L CTR. FOR HEALTH STAT., DRUG POISONING MORTALITY: UNITED STATES, 1999–2015
(2017), https://www.cdc.gov/nchs/data-visualization/drug-poisoning-mortality/ (last visited Dec. 13, 2017); MASS.
DEP'T OF PUB. HEALTH, THE MASSACHUSETTS OPIOID EPIDEMIC: A DATA VISUALIZATION OF FINDINGS FROM THE
CHAPTER 55 REPORT, http://www.mass.gov/chapter55/ (last visited Dec. 13, 2017) ; Mass. Dep't of Pub. Health,
Number of Opioid-Related Overdose Deaths, All Intents by City/Town, MA Residents January 2012- December
2016, 5 (May 2017), https://www.mass.gov/files/documents/2017/08/31/town-by-town-listings-may-2017.pdf (last
visited Dec. 13, 2017).



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       76.   Criminal charges associated with the diversion of opioids have increased. This has

placed increased budgetary costs upon law enforcement expenses in Plaintiff’s Community.

       77.   Opioid abuse, addiction, morbidity, and mortality are hazards to public health and

safety in Plaintiff’s Community, and constitute a temporary and continuing public nuisance,

which remains unabated.

       B. THE MANUFACTURER DEFENDANTS’ FALSE, DECEPTIVE, AND
          UNFAIR MARKETING OF OPIOIDS.

       78.   The opioid epidemic did not happen by accident.

       79.   Before the 1990s, generally accepted standards of medical practice dictated that

opioids should only be used short-term for acute pain, pain relating to recovery from surgery, or

for cancer or palliative (end-of-life) care. Due to the lack of evidence that opioids improved

patients’ ability to overcome pain and function, coupled with evidence of greater pain complaints

as patients developed tolerance to opioids over time and the serious risk of addiction and other

side effects, the use of opioids for chronic pain was discouraged or prohibited. As a result,

doctors generally did not prescribe opioids for chronic pain.

       80.   Each Manufacturer Defendant has conducted, and continues to conduct, a

marketing scheme designed to persuade doctors and patients that opioids can and should be used

for chronic pain, resulting in opioid treatment for a far broader group of patients who are much

more likely to become addicted and suffer other adverse effects from the long-term use of

opioids. In connection with this scheme, each Manufacturer Defendant spent, and continues to

spend, millions of dollars on promotional activities and materials that falsely deny or trivialize

the risks of opioids while overstating the benefits of using them for chronic pain.

       81.   The Manufacturer Defendants have made false and misleading claims, contrary to

the language on their drugs’ labels, regarding the risks of using their drugs that: (1) downplayed


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the serious risk of addiction; (2) created and promoted the concept of “pseudoaddiction” when

signs of actual addiction began appearing and advocated that the signs of addiction should be

treated with more opioids; (3) exaggerated the effectiveness of screening tools to prevent

addiction; (4) claimed that opioid dependence and withdrawal are easily managed; (5) denied the

risks of higher opioid dosages; and (6) exaggerated the effectiveness of “abuse-deterrent” opioid

formulations to prevent abuse and addiction. The Manufacturer Defendants have also falsely

touted the benefits of long-term opioid use, including the supposed ability of opioids to improve

function and quality of life, even though there was and is no scientifically reliable evidence to

support those claims.

        82.   The Manufacturer Defendants have disseminated these common messages to

reverse the popular and the medical understanding of opioids and risks of opioid use. They

disseminated these messages directly, through their sales representatives, in speaker groups led

by physicians the Manufacturer Defendants recruited for their support of their marketing

messages, and through unbranded marketing and industry-funded front groups.

        83.   The Manufacturer Defendants’ efforts have been wildly successful. Opioids are

now the most prescribed class of drugs. Globally, opioid sales generated $11 billion in revenue

for drug companies in 2010 alone; sales in the United States have exceeded $8 billion in revenue

annually since 2009.47 In an open letter to the nation’s physicians in August 2016, the then-U.S.

Surgeon General expressly connected this “urgent health crisis” to “heavy marketing of opioids

to doctors . . . [m]any of [whom] were even taught – incorrectly – that opioids are not addictive



47
    See Katherine Eban, Oxycontin: Purdue Pharma’s Painful Medicine, Fortune, Nov. 9, 2011,
http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/; David Crow, Drugmakers Hooked on
$10bn Opioid Habit, Fin. Times, Aug. 10, 2016, https://www.ft.com/content/f6e989a8-5dac-11e6-bb77-
a121aa8abd95.



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when prescribed for legitimate pain.”48 This epidemic has resulted in a flood of prescription

opioids available for illicit use or sale (the supply), and a population of patients physically and

psychologically dependent on them (the demand). And when those patients can no longer afford

or obtain opioids from licensed dispensaries, they often turn to the street to buy prescription

opioids or even non-prescription opioids, like heroin.

           84.    The Manufacturer Defendants intentionally continued their conduct, as alleged

herein, with knowledge that such conduct was creating the opioid nuisance and causing the

harms and damages alleged herein.

           85.    Moreover, each Manufacturer Defendant knowingly participated in the wrongful

coordinated scheme of disinformation and promotion, substantially assisted its creation,

expansion and success, and reaped its shared benefits.

                    1. The Manufacturer Defendants Used Multiple Avenues to Disseminate
                       Their False and Deceptive Statements about Opioids.

           86.    The Manufacturer Defendants spread their false and deceptive statements by

marketing their branded opioids directly to doctors and patients in and around the

Commonwealth, including in Plaintiff’s Community.                         Those Defendants also deployed

seemingly unbiased and independent third parties that they actually controlled to spread their

false and deceptive statements about the risks and benefits of opioids for the treatment of chronic

pain throughout the Commonwealth and Plaintiff’s Community.

           87.    The Manufacturer Defendants employed the same marketing plans and strategies

and deployed the same messages in and around the Commonwealth, including in Plaintiff’s

Community, as they did nationwide.                 Across the pharmaceutical industry, “core message”


48
     Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016), http://turnthetiderx.org/.



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development is funded and overseen on a national basis by corporate headquarters.               This

comprehensive approach ensures that the Manufacturer Defendants’ messages are accurately and

consistently delivered across marketing channels – including detailing visits, speaker events, and

advertising – and in each sales territory. The Manufacturer Defendants consider this high level

of coordination and uniformity crucial to successfully marketing their drugs.

       88.   The Manufacturer Defendants ensure marketing consistency nationwide through

national and regional sales representative training; national training of local medical liaisons, the

company employees who respond to physician inquiries; centralized speaker training; single sets

of visual aids, speaker slide decks, and sales training materials; and nationally coordinated

advertising. The Manufacturer Defendants’ sales representatives and physician speakers were

required to stick to prescribed talking points, sales messages, and slide decks, and supervisors

rode along with them periodically to both check on their performance and compliance.

                       i.   Direct Marketing.

       89.   The Manufacturer Defendants’ direct marketing of opioids generally proceeded on

two tracks. First, each Manufacturer Defendant conducted and continues to conduct advertising

campaigns touting the purported benefits of their branded drugs. For example, upon information

and belief, the Manufacturer Defendants spent more than $14 million on medical journal

advertising of opioids in 2011, nearly triple what they spent in 2001.

       90.   Many of the Manufacturer Defendants’ branded ads deceptively portrayed the

benefits of opioids for chronic pain. For example, Endo distributed and made available on its

website opana.com a pamphlet promoting Opana ER with photographs depicting patients with

physically demanding jobs like construction worker, chef, and teacher, misleadingly implying

that the drug would provide long-term pain-relief and functional improvement.                  Upon

information and belief, Purdue also ran a series of ads, called “Pain vignettes,” for OxyContin in
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2012 in medical journals.          These ads featured chronic pain patients and recommended

OxyContin for each. For example, one ad described a “54-year-old writer with osteoarthritis of

the hands” and implied that OxyContin would help the writer work more effectively.

        91.   Second, each Manufacturer Defendant promoted the use of opioids for chronic pain

through “detailers” – sales representatives who visited individual doctors and medical staff in

their offices – and small-group speaker programs. The Manufacturer Defendants have not

corrected this misinformation. Instead, each Defendant devoted massive resources to direct sales

contacts with doctors. Upon information and belief, in 2014 alone, the Manufacturer Defendants

spent in excess of $168 million on detailing branded opioids to doctors, more than twice what

they spent on detailing in 2000.

        92.   The Manufacturer Defendants’ detailing to doctors is effective. Numerous studies

indicate that marketing impacts doctors’ prescribing habits, with face-to-face detailing having the

greatest influence.    Even without such studies, the Manufacturer Defendants purchase,

manipulate and analyze some of the most sophisticated data available in any industry, data

available from IMS Health Holdings, Inc., to track, precisely, the rates of initial prescribing and

renewal by individual doctors, which in turn allows them to target, tailor, and monitor the impact

of their core messages. Thus, the Manufacturer Defendants know their detailing to doctors is

effective.

        93.   The Manufacturer Defendants’ detailers have been reprimanded for their deceptive

promotions. In March 2010, for example, the FDA found that Actavis had been distributing

promotional materials that “minimize[] the risks associated with Kadian and misleadingly

suggest[] that Kadian is safer than has been demonstrated.” Those materials in particular “fail to




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reveal warnings regarding potentially fatal abuse of opioids, use by individuals other than the

patient for whom the drug was prescribed.”49

                        ii.    Indirect Marketing.

        94.   The Manufacturer Defendants indirectly marketed their opioids using unbranded

advertising, paid speakers and “key opinion leaders” (“KOLs”), and industry-funded

organizations posing as neutral and credible professional societies and patient advocacy groups

(referred to hereinafter as “Front Groups”).

                              a.   Unbranded Advertising.

        95.   The Manufacturer Defendants deceptively marketed opioids in the Commonwealth

and Plaintiff’s Community through unbranded advertising – e.g., advertising that promotes

opioid use generally but does not name a specific opioid. This advertising was ostensibly created

and disseminated by independent third parties. But by funding, directing, reviewing, editing, and

distributing this unbranded advertising, the Manufacturer Defendants controlled the deceptive

messages disseminated by these third parties and acted in concert with them to falsely and

misleadingly promote opioids for the treatment of chronic pain. Much as Defendants controlled

the content and distribution of their “core messages” via their own detailers and speaker

programs, the Manufacturer Defendants similarly controlled the content and distribution of these

messages in scientific publications, treatment guidelines, Continuing Medical Education

(“CME”) programs, and medical conferences and seminars. To this end, the Manufacturer

Defendants used third-party public relations firms to help control those messages when they

originated from third-parties.


49
   Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc’ns, U.S. Food & Drug Admin., to
Doug         Boothe,      CEO,          Actavis        Elizabeth       LLC     (Feb.     18,     2010),
http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.



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       96.    The Manufacturer Defendants marketed through third-party, unbranded advertising

to avoid regulatory scrutiny because that advertising is not submitted to and typically is not

reviewed by the FDA.           The Manufacturer Defendants also used third-party, unbranded

advertising to give the false appearance that the deceptive messages came from an independent

and objective source. Like the tobacco companies, the Manufacturer Defendants used third

parties that they funded, directed, and controlled to carry out and conceal their scheme to deceive

doctors and patients about the risks and benefits of long term opioid use for chronic pain.

                          b.     Key Opinion Leaders.

       97.    The Manufacturer Defendants also identified doctors to serve, for payment, on their

speakers’ bureaus and to attend programs with speakers and meals paid for by Defendants.

These speaker programs provided: (1) an incentive for doctors to prescribe a particular opioid (so

they might be selected to promote the drug); (2) recognition and compensation for the doctors

selected as speakers; and (3) an opportunity to promote the drug through the speaker to his or her

peers. These speakers give the false impression that they are providing unbiased and medically

accurate presentations when they are, in fact, presenting a script prepared by Defendants. On

information and belief, these presentations conveyed misleading information, omitted material

information, and failed to correct Defendants’ prior misrepresentations about the risks and

benefits of opioids.

       98.    Borrowing a page from Big Tobacco’s playbook, the Manufacturer Defendants

worked through third parties they controlled by: (a) funding, assisting, encouraging, and

directing doctors who served as KOLS, and (b) funding, assisting, directing, and encouraging

seemingly neutral and credible Front Groups.         The Manufacturer Defendants then worked

together with those KOLs and Front Groups to taint the sources that doctors and patients relied

on for ostensibly “neutral” guidance, such as treatment guidelines, CME programs, medical
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conferences and seminars, and scientific articles. Thus, working individually and collectively,

and through these Front Groups and KOLs, the Defendant willfully unfairly and deceptively

persuaded doctors and patients that what they have long knew – that opioids are addictive drugs,

unsafe in most circumstances for long-term use – was untrue, and that the compassionate

treatment of pain required opioids.

       99.    In 2007, multiple states sued Purdue for engaging in unfair and deceptive practices

in its marketing, promotion, and sale of OxyContin. Certain states settled their claims in a series

of Consent Judgments that prohibited Purdue from making misrepresentations in the promotion

and marketing of OxyContin in the future. By using indirect marketing strategies, however,

Purdue intentionally circumvented these restrictions. Such actions include contributing to the

creation of misleading publications and prescribing guidelines that lack reliable scientific basis

and promote prescribing practices which have worsened the opioid crisis.

       100. Pro-opioid doctors are one of the most important avenues that the Manufacturer

Defendants use to spread their false and deceptive statements about the risks and benefits of

long-term opioid use. The Manufacturer Defendants know that doctors rely heavily and less

critically on their peers for guidance, and KOLs provide the false appearance of unbiased and

reliable support for chronic opioid therapy. For example, the State of New York found in its

settlement with Purdue that the Purdue website “In the Face of Pain” failed to disclose that

doctors who provided testimonials on the site were paid by Purdue and concluded that Purdue’s

failure to disclose these financial connections potentially misled consumers regarding the

objectivity of the testimonials.

       101. Defendants utilized many KOLs, including many of the same ones.




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           102. Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL whom the

Manufacturer Defendants identified, compensated and promoted to further their deceptive

marketing campaign. Dr. Portenoy received research support, consulting fees, and honoraria

from multiple Defendants, such as Cephalon, Endo, Janssen, and Purdue (among others), and

was a paid consultant to Cephalon and Purdue. Dr. Portenoy was instrumental in opening the

door for the regular use of opioids to treat chronic pain. He served on the American Pain Society

(“APS”) / American Academy of Pain Medicine (“AAPM”) Guidelines Committees, which

endorsed the use of opioids to treat chronic pain, first in 1996 and again in 2009. He was also a

member of the board of the American Pain Foundation (“APF”), an advocacy organization

almost entirely funded by the Manufacturer Defendants.

           103. Dr. Portenoy also made frequent media appearances promoting opioids and

spreading misrepresentations, such as his claim that “the likelihood that the treatment of pain

using an opioid drug which is prescribed by a doctor will lead to addiction is extremely low.”

He appeared on Good Morning America in 2010 to discuss the use of opioids long-term to treat

chronic pain. On this widely-watched program, broadcast across the country, Dr. Portenoy

claimed: “Addiction, when treating pain, is distinctly uncommon. If a person does not have a

history, a personal history, of substance abuse, and does not have a history in the family of

substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

assured that that person is not going to become addicted.”50

           104. Dr. Portenoy later admitted that he “gave innumerable lectures in the late 1980s and

‘90s about addiction that weren’t true.” These lectures falsely claimed that fewer than 1% of

50
     Good Morning America (ABC television broadcast Aug. 30, 2010).



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patients would become addicted to opioids. According to Dr. Portenoy, because the primary

goal was to “destigmatize” opioids, he and other doctors promoting them overstated their

benefits and glossed over their risks.        Dr. Portenoy also conceded that “[d]ata about the

effectiveness of opioids does not exist.”51 Portenoy candidly stated: “Did I teach about pain

management, specifically about opioid therapy, in a way that reflects misinformation? Well, . . . I

guess I did.”52

            105. Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr.

Webster was President of American Academy of Pain Medicine (“AAPM”) in 2013. He is a

Senior Editor of Pain Medicine, the same journal that published Endo special advertising

supplements touting Opana ER. Dr. Webster was the author of numerous CMEs sponsored by

Cephalon, Endo, and Purdue. At the same time, Dr. Webster was receiving significant funding

from the Manufacturer Defendants (including nearly $2 million from Cephalon).

            106. During a portion of his time as a KOL, Dr. Webster was under investigation for

overprescribing by the U.S. Department of Justice’s Drug Enforcement Agency, which raided his

clinic in 2010. Although the investigation was closed without charges in 2014, more than 20 of

Dr. Webster’s former patients at the Lifetree Clinic have died of opioid overdoses.

            107. Ironically, Dr. Webster created and promoted the Opioid Risk Tool, a five question,

one-minute screening tool relying on patient self-reports that purportedly allows doctors to

manage the risk that their patients will become addicted to or abuse opioids. The claimed ability

to pre-sort patients likely to become addicted is an important tool in giving doctors confidence to

51
   Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J., Dec. 17, 2012,
https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.
52
     Id.



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prescribe opioids long-term, and for this reason, references to screening appear in various

industry-supported guidelines. Versions of Dr. Webster’s Opioid Risk Tool appear on, or are

linked to, websites run by Endo, Janssen, and Purdue. Unaware of the flawed science and

industry bias underlying this tool, certain states and public entities have incorporated the Opioid

Risk Tool into their own guidelines, indicating, also, their reliance on the Manufacturer

Defendants and those under their influence and control.

           108. In 2011, Dr. Webster presented, via webinar, a program sponsored by Purdue

entitled “Managing Patient’s Opioid Use: Balancing the Need and the Risk.” Dr. Webster

recommended use of risk screening tools, urine testing, and patient agreements ways to prevent

“overuse of prescriptions” and “overdose deaths.” This webinar was available to and was

intended to reach doctors in the Commonwealth and doctors treating members of Plaintiff’s

Community.53

           109. Dr. Webster also was a leading proponent of the concept of “pseudoaddiction,” the

notion that addictive behaviors should be seen not as warnings, but as indications of undertreated

pain. In Dr. Webster’s description, the only way to differentiate the two was to increase a

patient’s dose of opioids. As he and co-author Beth Dove wrote in their 2007 book Avoiding

Opioid Abuse While Managing Pain—a book that is still available online—when faced with

signs of aberrant behavior, increasing the dose “in most cases . . . should be the clinician’s first

response.”54 Upon information and belief, Endo distributed this book to doctors. Years later, Dr.




53
   See Emerging Solutions in Pain, Managing Patient’s Opioid Use: Balancing the Need and the Risk,
http://www.emergingsolutionsinpain.com/ce-education/opioid-
management?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited Aug. 22, 2017).
54
     Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).



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Webster reversed himself, acknowledging that “[pseudoaddiction] obviously became too much

of an excuse to give patients more medication.”55

           110. Dr. Webster is listed on a government website as having received over thirty payments

totaling nearly $45,000 in 2016 alone from Teva for a range of activities such as consulting, speaking

fees, and related travel and food expenses.56

                               c.    Front Groups

           111. The Manufacturer Defendants also entered into arrangements with seemingly

unbiased and independent patient and professional organizations to promote opioids for the

treatment of chronic pain. Under the direction and control of the Manufacturer Defendants, these

“Front Groups” generated treatment guidelines, unbranded materials, and programs that favored

chronic opioid therapy.         They also assisted the Manufacturer Defendants by responding to

negative articles, by advocating against regulatory changes that would limit opioid prescribing in

accordance with the scientific evidence, and by conducting outreach to vulnerable patient

populations targeted by the Manufacturer Defendants.

           112. These Front Groups depended on the Manufacturer Defendants for funding and, in

some cases, for survival. The Manufacturer Defendants also exercised control over programs

and materials created by these groups by collaborating on, editing, and approving their content,

and by funding their dissemination. In doing so, the Manufacturer Defendants made sure that the

Front Groups would generate only the messages that the Manufacturer Defendants wanted to




55
    John Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J. Sentinel, Feb. 18, 2012,
http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-
139609053.html.
56
     See https://openpaymentsdata.cms.gov/physician/1136720/payment-information



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distribute. Despite this, the Front Groups held themselves out as independent and serving the

needs of their members – whether patients suffering from pain or doctors treating those patients.

        113. Defendants Cephalon, Endo, Janssen, and Purdue, in particular, utilized many Front

Groups, including many of the same ones. Several of the most prominent are described below,

but there are many others, including the American Pain Society (“APS”), American Geriatrics

Society (“AGS”), the Federation of State Medical Boards (“FSMB”), American Chronic Pain

Association (“ACPA”), the Center for Practical Bioethics (“CPB”), the U.S. Pain Foundation

(“USPF”) and Pain & Policy Studies Group (“PPSG”).57

        114. The most prominent of the Manufacturer Defendants’ Front Groups was the

American Pain Foundation (“APF”), which, upon information and belief, received more than $10

million in funding from opioid manufacturers from 2007 until it closed its doors in May 2012,

primarily from Endo and Purdue. APF issued education guides for patients, reporters, and

policymakers that touted the benefits of opioids for chronic pain and trivialized their risks,

particularly the risk of addiction.       APF also launched a campaign to promote opioids for

returning veterans, which has contributed to high rates of addiction and other adverse outcomes –

including death – among returning soldiers. APF further engaged in a significant multimedia

campaign – through radio, television and the internet – to educate patients about their “right” to

pain treatment, namely opioids. All the programs and materials were available nationally and

were intended to reach citizens of the Commonwealth and Plaintiff’s Community.

        115. In 2009 and 2010, more than 80% of APF’s operating budget came from

pharmaceutical industry sources. Including industry grants for specific projects, APF received
57
   See generally, e.g., Letter from Sen. Ron Wyden, U.S. Senate Comm. on Fin., to Sec. Thomas E. Price, U.S.
Dep’t         of          Health         and      Human          Servs.,       (May        5,         2015),
https://www.finance.senate.gov/imo/media/doc/050517%20Senator%20Wyden%20to%20Secretary%20Price%20re
%20FDA%20Opioid%20Prescriber%20Working%20Group.pdf.



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about $2.3 million from industry sources out of total income of about $2.85 million in 2009; its

budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of total

income of about $3.5 million.       By 2011, upon information and belief, APF was entirely

dependent on incoming grants from Defendants Purdue, Cephalon, Endo, and others to avoid

using its line of credit.

        116. APF held itself out as an independent patient advocacy organization. It often

engaged in grassroots lobbying against various legislative initiatives that might limit opioid

prescribing, and thus the profitability of its sponsors. Upon information and belief, it was often

called upon to provide “patient representatives” for the Manufacturer Defendants’ promotional

activities, including for Purdue’s Partners Against Pain and Janssen’s Let’s Talk Pain. APF

functioned largely as an advocate for the interests of the Manufacturer Defendants, not patients.

Indeed, upon information and belief, as early as 2001, Purdue told APF that the basis of a grant

was Purdue’s desire to “strategically align its investments in nonprofit organizations that share

[its] business interests.”

        117. Plaintiff is informed, and believes, that on several occasions, representatives of the

Manufacturer Defendants, often at informal meetings at conferences, suggested activities and

publications for APF to pursue. APF then submitted grant proposals seeking to fund these

activities and publications, knowing that drug companies would support projects conceived as a

result of these communications.

        118. The U.S. Senate Finance Committee began looking into APF in May 2012 to

determine the links, financial and otherwise, between the organization and the manufacturers of

opioid painkillers. The investigation caused considerable damage to APF’s credibility as an

objective and neutral third party, and the Manufacturer Defendants stopped funding it. Within



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days of being targeted by Senate investigation, APF’s board voted to dissolve the organization

“due to irreparable economic circumstances.” APF “cease[d] to exist, effective immediately.”58

        119. Another front group for the Manufacturer Defendants was the American Academy

of Pain Medicine (“AAPM”). With the assistance, prompting, involvement, and funding of the

Manufacturer Defendants, the AAPM issued purported treatment guidelines and sponsored and

hosted medical education programs essential to the Manufacturer Defendants’ deceptive

marketing of chronic opioid therapy.

        120. AAPM received substantial funding from opioid manufacturers.                    For example,

AAPM maintained a corporate relations council, whose members paid $25,000 per year (on top

of other funding) to participate. The benefits included allowing members to present educational

programs at off-site dinner symposia in connection with AAPM’s marquee event – its annual

meeting held in Palm Springs, California, or other resort locations. AAPM describes the annual

event as an “exclusive venue” for offering education programs to doctors. Membership in the

corporate relations council also allows drug company executives and marketing staff to meet

with AAPM executive committee members in small settings. Defendants Endo, Purdue, and

Cephalon were members of the council and presented deceptive programs to doctors who

attended this annual event.

        121. Upon information and belief, AAPM is viewed internally by Endo as “industry

friendly,” with Endo advisors and speakers among its active members. Endo attended AAPM

conferences, funded its CMEs, and distributed its publications. The conferences sponsored by

AAPM heavily emphasized sessions on opioids – 37 out of roughly 40 at one conference alone.

58
   Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies’ Ties to Pain Groups, Wash. Post,
May 8, 2012, https://www.washingtonpost.com/national/health-science/senate-panel-investigates-drug-companies-
ties-to-pain-groups/2012/05/08/gIQA2X4qBU_story.html.



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AAPM’s presidents have included top industry-supported KOLs Perry Fine and Lynn Webster.

Dr. Webster was even elected president of AAPM while under a DEA investigation.

        122. The Manufacturer Defendants were able to influence and control AAPM through

both their significant and regular funding and the leadership of pro-opioid KOLs within the

organization.

        123. In 1996, AAPM and APS jointly issued a consensus statement, “The Use of

Opioids for the Treatment of Chronic Pain,” which endorsed opioids to treat chronic pain and

claimed that the risk of a patient’s addiction to opioids was low. Dr. Haddox, who co-authored

the AAPM/APS statement, was a paid speaker for Purdue at the time. Dr. Portenoy was the sole

consultant.     The consensus statement remained on AAPM’s website until 2011, and, upon

information and belief, was taken down from AAPM’s website only after a doctor complained.59

        124. AAPM and APS issued their own guidelines in 2009 (“AAPM/APS Guidelines”)

and continued to recommend the use of opioids to treat chronic pain. 60 Treatment guidelines

have been relied upon by doctors, especially the general practitioners and family doctors targeted

by the Manufacturer Defendants.            Treatment guidelines not only directly inform doctors’

prescribing practices, but are cited throughout the scientific literature and referenced by third-

party payors in determining whether they should cover treatments for specific indications.

Pharmaceutical sales representatives employed by Endo, Actavis, and Purdue discussed

treatment guidelines with doctors during individual sales visits.




59
  The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the American Academy of
Pain Medicine and the American Pain Society, 13 Clinical J. Pain 6 (1997).
60
  Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, 10 J.
Pain 113 (2009).



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            125. At least 14 of the 21 panel members who drafted the AAPM/APS Guidelines,

including KOLs Dr. Portenoy and Dr. Perry Fine of the University of Utah, received support

from Defendants Janssen, Cephalon, Endo, and Purdue. The 2009 Guidelines promote opioids

as “safe and effective” for treating chronic pain, despite acknowledging limited evidence, and

conclude that the risk of addiction is manageable for patients regardless of past abuse histories.61

One panel member, Dr. Joel Saper, Clinical Professor of Neurology at Michigan State University

and founder of the Michigan Headache & Neurological Institute, resigned from the panel

because of his concerns that the AAPM/APS Guidelines were influenced by contributions that

drug companies, including Manufacturer Defendants, made to the sponsoring organizations and

committee members. These AAPM/APS Guidelines have been a particularly effective channel

of deception and have influenced not only treating physicians, but also the body of scientific

evidence on opioids; the Guidelines have been cited hundreds of times in academic literature,

were disseminated in the Commonwealth and/or Plaintiff’s Community during the relevant time

period, are still available online, and were reprinted in the Journal of Pain. The Manufacturer

Defendants widely referenced and promoted the 2009 Guidelines without disclosing the lack of

evidence to support them or the Manufacturer Defendants’ financial support to members of the

panel who drafted them.

            126. The Manufacturer Defendants unfairly, deceptively and knowingly worked together

and substantially assisted each other, in part through Front Groups, to spread their deceptive

messages about the risks and benefits of long-term opioid therapy. For example, Defendants

combined their efforts through the Pain Care Forum (“PCF”), which began in 2004 as an APF

project. PCF is comprised of representatives from opioid manufacturers (including Cephalon,

61
     Id.



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Endo, Janssen, and Purdue) and various Front Groups, almost all of which received substantial

funding from the Manufacturer Defendants. Among other projects, PCF worked to ensure that

an FDA-mandated education project on opioids was not unacceptably negative and did not

require mandatory participation by prescribers, which the Manufacturer Defendants determined

would reduce prescribing.

              2. The Manufacturer Defendants’ Marketing Scheme Misrepresented the
                 Risks and Benefits of Opioids.

                      i.    The Manufacturer Defendants embarked upon a campaign of
                            false, deceptive, and unfair assurances grossly understating and
                            misstating the dangerous addiction risks of the opioid drugs.

       127. To falsely assure physicians and patients that opioids are safe, the Manufacturer

Defendants deceptively trivialized and failed to disclose the risks of long-term opioid use,

particularly the risk of addiction, through a series of misrepresentations that have been

conclusively debunked by the FDA and CDC. These misrepresentations – which are described

below – reinforced each other and created the dangerously misleading impression that: (1)

starting patients on opioids was low risk because most patients would not become addicted, and

because those at greatest risk for addiction could be identified and managed; (2) patients who

displayed signs of addiction probably were not addicted and, in any event, could easily be

weaned from the drugs; (3) the use of higher opioid doses, which many patients need to sustain

pain relief as they develop tolerance to the drugs, do not pose special risks; and (4) abuse-

deterrent opioids both prevent abuse and overdose and are inherently less addictive.       The

Manufacturer Defendants have not only failed to correct these misrepresentations, they continue

to make them today.

       128. Opioid manufacturers, including Defendants Endo Pharmaceuticals, Inc. and

Purdue Pharma L.P., have entered into settlement agreements with public entities that prohibit


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them from making many of the misrepresentations identified in this Complaint.                  Yet even

afterward, each Manufacturer Defendant continued to misrepresent the risks and benefits of

long-term opioid use in the Commonwealth and Plaintiff’s Community and each continues to fail

to correct its past misrepresentations. They also continue to support, fund and control those

misrepresentations through the direct and indirect marketing methods identified above.

        129. Some illustrative examples of the Manufacturer Defendants’ false, deceptive, and

unfair claims about the purportedly low risk of addiction include the following:

            a. Actavis’s predecessor caused a patient education brochure, Managing Chronic
               Back Pain, to be distributed beginning in 2003 that admitted that opioid addiction
               is possible, but falsely claimed that it is “less likely if you have never had an
               addiction problem.” Based on Actavis’s acquisition of its predecessor’s
               marketing materials along with the rights to Kadian, it appears that Actavis
               continued to use this brochure in 2009 and beyond.

            b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which suggested that addiction is rare and limited to
               extreme cases of unauthorized dose escalations, obtaining duplicative opioid
               prescriptions from multiple sources, or theft. This publication is still available
               today online.62

            c. Endo sponsored a website, “PainKnowledge,” which, upon information and
               belief, claimed in 2009 that “[p]eople who take opioids as prescribed usually do
               not become addicted.” Upon information and belief, another Endo website,
               PainAction.com, stated “Did you know? Most chronic pain patients do not
               become addicted to the opioid medications that are prescribed for them.” Endo
               also distributed an “Informed Consent” document on PainAction.com that
               misleadingly suggested that only people who “have problems with substance
               abuse and addiction” are likely to become addicted to opioid medications.

            d. Upon information and belief, Endo distributed a pamphlet with the Endo logo
               entitled Living with Someone with Chronic Pain, which stated, “Most health care
               providers who treat people with pain agree that most people do not develop an
               addiction problem.”



62
  Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.



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               e. Janssen reviewed, edited, approved, and distributed a patient education guide
                  entitled Finding Relief: Pain Management for Older Adults (2009), which
                  described as “myth” the claim that opioids are addictive, and asserted as fact that
                  “[m]any studies show that opioids are rarely addictive when used properly for the
                  management of chronic pain.”

               f. Janssen currently runs a website, Prescriberesponsibly.com (last updated July 2,
                  2015), which claims that concerns about opioid addiction are “overestimated.”

               g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
                  Management, which claims that less than 1% of children prescribed opioids will
                  become addicted and that pain is undertreated due to “[m]isconceptions about
                  opioid addiction.”63

               h. In 2010, Mallinckrodt sponsored an initiative “Collaborating and Acting
                  Responsibly to Ensure Safety (C.A.R.E.S.), through which it published and
                  promoted the book “Defeat Chronic Pain Now!” aimed at chronic pain patients.
                  The book, which is still available for sale in New Mexico and elsewhere, and is
                  promoted online at www.defeatchronicpainnow.com, advises laypeople who are
                  considering taking opioid drugs that “[o]nly rarely does opioid medication cause a
                  true addiction.”64 Further, the book advises that even the issue of tolerance is
                  “overblown,” because “[o]nly a minority of chronic pain patients who are taking
                  long-term opioids develop tolerance.” In response to a hypothetical question from
                  a chronic back pain patient who expresses a fear of becoming addicted, the book
                  advises that “[i]t is very uncommon for a person with chronic pain to become
                  ‘addicted’ to narcotics IF (1) he doesn’t have a prior history of any addiction and
                  (2) he only takes the medication to treat pain.”


               i. Upon information and belief, consistent with the Manufacturer Defendants’
                  published marketing materials, upon information and belief, detailers for Purdue,
                  Endo, Janssen, Cephalon, and Mallinckrodt in the Commonwealth and Plaintiff’s
                  Community minimized or omitted any discussion with doctors of the risk of
                  addiction; misrepresented the potential for abuse of opioids with purportedly
                  abuse-deterrent formulations; and routinely did not correct the misrepresentations
                  noted above.

               j. Seeking to overturn the criminal conviction of a doctor for illegally prescribing
                  opioids, the Manufacturer Defendants’ Front Groups APF and NFP argued in an
                  amicus brief to the United States Fourth Circuit Court of Appeals that “patients


63
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.
64
     Charles E. Argoff & Bradley S. Galer, Defeat Chronic Pain Now! (2010).



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                     rarely become addicted to prescribed opioids,” citing research by their KOL, Dr.
                     Portenoy.65


            130. These claims are contrary to longstanding scientific evidence. A 2016 opioid-

prescription guideline issued by the CDC (the “2016 CDC Guideline”) explains that there is

“[e]xtensive evidence” of the “possible harms of opioids (including opioid use disorder [an

alternative term for opioid addiction], [and] overdose . . .).”66 The 2016 CDC Guideline further

explains that “[o]pioid pain medication use presents serious risks, including overdose and opioid

use disorder” and that “continuing opioid therapy for 3 months substantially increases risk for

opioid use disorder.”67

            131. The FDA further exposed the falsity of Defendants’ claims about the low risk of

addiction when it announced changes to the labels for extended-release and long-acting

(“ER/LA”) opioids in 2013 and for immediate release (“IR”) opioids in 2016.                              In its

announcements, the FDA found that “most opioid drugs have ‘high potential for abuse’” and that

opioids “are associated with a substantial risk of misuse, abuse, NOWS [neonatal opioid

withdrawal syndrome], addiction, overdose, and death.” According to the FDA, because of the

“known serious risks” associated with long-term opioid use, including “risks of addiction, abuse,

and misuse, even at recommended doses, and because of the greater risks of overdose and




65
   Brief of the American Pain Foundation, the National Pain Foundation, and the National Foundation for the
Treatment of Pain in Support of Appellant and Reversal of the Conviction, United States v. Hurowitz, No. 05-4474
(4th Cir. Sept. 8, 2005) [hereinafter Brief of APF] at 9.
66
   Deborah Dowell et al., CDC Guideline for Prescribing Opioids for Chronic Pain—United States, 2016, Morbidity
& Mortality Wkly. Rep., Mar. 18, 2016, at 15 [hereinafter 2016 CDC Guideline],
https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.
67
     Id. at 2, 25.



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death,” opioids should be used only “in patients for whom alternative treatment options” like

non-opioid drugs have failed.68

        132. The State of New York, in a 2016 settlement agreement with Endo, found that

opioid “use disorders appear to be highly prevalent in chronic pain patients treated with opioids,

with up to 40% of chronic pain patients treated in specialty and primary care outpatient centers

meeting the clinical criteria for an opioid use disorder.”69                  Endo had claimed on its

www.opana.com website that “[m]ost healthcare providers who treat patients with pain agree

that patients treated with prolonged opioid medicines usually do not become addicted,” but the

State of New York found that Endo had no evidence for that statement. Consistent with this,

Endo agreed not to “make statements that . . . opioids generally are non-addictive” or “that most

patients who take opioids do not become addicted” in New York. Endo remains free, however,

to make those statements in this Commonwealth.

        133. In addition to mischaracterizing the highly addictive nature of the drugs they were

pushing, the Manufacturer Defendants also fostered a fundamental misunderstanding of the signs

of addiction. Specifically, the Manufacturer Defendants misrepresented, to doctors and patients,

that warning signs and/or symptoms of addiction were, instead, signs of undertreated pain (i.e.

pseudoaddiction) – and instructed doctors to increase the opioid prescription dose for patients

who were already in danger.

68
   Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin.,
U.S. Dep’t of Health and Human Servs., to Andrew Koldny, M.D., President, Physicians for Responsible Opioid
Prescribing (Sept. 10, 2013), https://www.regulations.gov/contentStreamer?documentId=FDA-2012-P-0818-
0793&attachmentNumber=1&contentType=pdf.; Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation
and Research, U.S. Food and Drug Admin., U.S. Dep’t of Health and Human Servs., to Peter R. Mathers & Jennifer
A.       Davidson,      Kleinfeld,      Kaplan      and      Becker,      LLP       (Mar.      22,      2016),
https://www.regulations.gov/contentStreamer?documentId=FDA-2014-P-0205-
0006&attachmentNumber=1&contentType=pdf.
69
  Assurance of Discontinuance, In re Endo Health Solutions Inc. and Endo Pharm. Inc. (Assurance No. 15-228), at
16, https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.



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           134. To this end, one of Purdue’s employees, Dr. David Haddox, invented a

phenomenon called “pseudoaddiction.”                 Upon information and belief, KOL Dr. Portenoy

popularized the term.          Examples of the false, misleading, deceptive, and unfair statements

regarding pseudoaddiction include:

               a. Cephalon and Purdue sponsored Responsible Opioid Prescribing (2007), which
                  taught that behaviors such as “requesting drugs by name,” “demanding or
                  manipulative behavior,” seeing more than one doctor to obtain opioids, and
                  hoarding, are all signs of pseudoaddiction, rather than true addiction. 70 The 2012
                  edition, which remains available for sale online, continues to teach that
                  pseudoaddiction is real.71

               b. Janssen sponsored, funded, and edited the Let’s Talk Pain website, which in 2009
                  stated: “pseudoaddiction . . . refers to patient behaviors that may occur when pain
                  is under-treated . . . . Pseudoaddiction is different from true addiction because
                  such behaviors can be resolved with effective pain management.”

               c. Endo sponsored a National Initiative on Pain Control (“NIPC”) CME program in
                  2009 entitled “Chronic Opioid Therapy: Understanding Risk While Maximizing
                  Analgesia,” which, upon information and belief, promoted pseudoaddiction by
                  teaching that a patient’s aberrant behavior was the result of untreated pain. Endo
                  appears to have substantially controlled NIPC by funding NIPC projects;
                  developing, specifying, and reviewing content; and distributing NIPC materials.

               d. Purdue published a pamphlet in 2011 entitled Providing Relief, Preventing Abuse,
                  which, upon information and belief, described pseudoaddiction as a concept that
                  “emerged in the literature” to describe the inaccurate interpretation of [drug-
                  seeking behaviors] in patients who have pain that has not been effectively
                  treated.”

               e. Upon information and belief, Purdue sponsored a CME program titled “Path of
                  the Patient, Managing Chronic Pain in Younger Adults at Risk for Abuse”. In a
                  role play, a chronic pain patient with a history of drug abuse tells his doctor that
                  he is taking twice as many hydrocodone pills as directed. The narrator notes that
                  because of pseudoaddiction, the doctor should not assume the patient is addicted
                  even if he persistently asks for a specific drug, seems desperate, hoards medicine,
                  or “overindulges in unapproved escalating doses.” The doctor treats this patient
                  by prescribing a high-dose, long-acting opioid.


70
     Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2007) at 62.
71
     See Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2d ed. 2012).



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           f. In 2010, Mallinckrodt sponsored an initiative “Collaborating and Acting
              Responsibly to Ensure Safety (C.A.R.E.S.), through which it published and
              promoted the book “Defeat Chronic Pain Now!” aimed at chronic pain patients.
              The book, which is still available for sale in New Mexico and elsewhere, and is
              promoted online at www.defeatchronicpainnow.com, teaches laypeople that
              “pseudoaddiction” is “caused by their doctor not appropriately prescribing the
              opioid medication.” It teaches that “[p]seudoaddiction happens when a patient’s
              opioid medication is not being prescribed in doses strong enough to provide good
              pain relief, or if the drug is not being prescribed often enough throughout the day.
              . . When a pseudoaddicted patient is prescribed the proper amount of opioid
              medication, he or she doesn’t take any extra pills because his or her pain is
              relieved.”


       135. In the 2016 CDC Guideline, the CDC rejects the validity of the pseudoaddiction

fallacy invented by a Purdue employee as a reason to push more opioid drugs onto already

addicted patients.

       136. In addition to misstating the addiction risk and inventing the pseudoaddiction

falsehood, a third category of false, deceptive, and unfair practice is the Manufacturer

Defendants’ false instructions that addiction risk screening tools, patient contracts, urine drug

screens, and similar strategies allow them to reliably identify and safely prescribe opioids to

patients predisposed to addiction. These misrepresentations were especially insidious because

the Manufacturer Defendants aimed them at general practitioners and family doctors who lack

the time and expertise to closely manage higher-risk patients on opioids. The Manufacturer

Defendants’ misrepresentations made these doctors feel more comfortable prescribing opioids to

their patients, and patients more comfortable starting on opioid therapy for chronic pain.

Illustrative examples include:

           a. Endo paid for a 2007 supplement in the Journal of Family Practice written by a
              doctor who became a member of Endo’s speakers bureau in 2010. The
              supplement, entitled Pain Management Dilemmas in Primary Care: Use of
              Opioids, emphasized the effectiveness of screening tools, claiming that patients at
              high risk of addiction could safely receive chronic opioid therapy using a
              “maximally structured approach” involving toxicology screens and pill counts.


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                  b. Purdue, upon information and belief, sponsored a 2011 webinar, Managing
                     Patient’s Opioid Use: Balancing the Need and Risk, which claimed that screening
                     tools, urine tests, and patient agreements prevent “overuse of prescriptions” and
                     “overdose deaths.”

                  c. As recently as 2015, upon information and belief, Purdue has represented in
                     scientific conferences that “bad apple” patients – and not opioids – are the source
                     of the addiction crisis and that once those “bad apples” are identified, doctors can
                     safely prescribe opioids without causing addiction.


            137. The 2016 CDC Guideline confirms the falsity of these claims. The Guideline

explains that there are no studies assessing the effectiveness of risk mitigation strategies “for

improving outcomes related to overdose, addiction, abuse or misuse.”72

            138. A fourth category of deceptive messaging regarding dangerous opioids is the

Manufacturer Defendants’ false assurances regarding the alleged ease of eliminating opioid

dependence. The Manufacturer Defendants falsely claimed that opioid dependence can easily be

addressed by tapering and that opioid withdrawal is not a problem, but they failed to disclose the

increased difficulty of stopping opioids after long-term use. In truth, the 2016 CDC Guideline

explains that the symptoms of opioid withdrawal include abdominal pain, vomiting, diarrhea,

sweating, tremor, tachycardia, drug cravings, anxiety, insomnia, spontaneous abortion and

premature labor in pregnant women.73

            139. The Manufacturer Defendants nonetheless downplayed the severity of opioid

detoxification. For example, upon information and belief, a CME sponsored by Endo, entitled

Persistent Pain in the Older Adult, claimed that withdrawal symptoms can be avoided by

tapering a patient’s opioid dose by 10%-20% for 10 days. And Purdue sponsored APF’s A

Policymaker’s Guide to Understanding Pain & Its Management, which claimed that

72
     2016 CDC Guideline at 11.
73
     Id. at 26.



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“[s]ymptoms of physical dependence can often be ameliorated by gradually decreasing the dose

of medication during discontinuation” without mentioning any hardships that might occur.74

Similarly, in the 2010 Mallinckrodt/C.A.R.E.S. publication “Defeat Chronic Pain Now!”,

potential opioid users are advised that tolerance to opioids is “easily remedied,” and that “[a]ll

patients can be safely taken off opioid medication if the dose is slowly tapered down by their

doctor.”

        140. A fifth category of false, deceptive, and unfair statements the Manufacturer

Defendants made to sell more drugs is that opioid dosages could be increased indefinitely

without added risk. The ability to escalate dosages was critical to Defendants’ efforts to market

opioids for long-term use to treat chronic pain because, absent this misrepresentation, doctors

would have abandoned treatment when patients built up tolerance and lower dosages did not

provide pain relief. The Manufacturer Defendants’ deceptive claims include:

            a.    Upon information and belief, Actavis’s predecessor created a patient brochure for
                 Kadian in 2007 that stated, “Over time, your body may become tolerant of your
                 current dose. You may require a dose adjustment to get the right amount of pain
                 relief. This is not addiction.” Based on Actavis’s acquisition of its predecessor’s
                 marketing materials along with the rights to Kadian, Actavis appears to have
                 continued to use these materials in 2009 and beyond.

            b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which claims that some patients “need” a larger dose of
               an opioid, regardless of the dose currently prescribed. The guide stated that
               opioids have “no ceiling dose” and insinuated that they are therefore the most
               appropriate treatment for severe pain.75 This publication is still available online.

            c. Endo sponsored a website, “PainKnowledge,” which, upon information and
               belief, claimed in 2009 that opioid dosages may be increased until “you are on the
               right dose of medication for your pain.”

74
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf., at 32.
75
  Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf., at 12.



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                d. Endo distributed a pamphlet edited by a KOL entitled Understanding Your Pain:
                   Taking Oral Opioid Analgesics (2004 Endo Pharmaceuticals PM-0120). In Q&A
                   format, it asked “If I take the opioid now, will it work later when I really need it?”
                   The response is, “The dose can be increased. . . . You won’t ‘run out’ of pain
                   relief.”76

                e. Janssen sponsored a patient education guide entitled Finding Relief: Pain
                   Management for Older Adults (2009), which was distributed by its sales force.
                   This guide listed dosage limitations as “disadvantages” of other pain medicines
                   but omitted any discussion of risks of increased opioid dosages.

                f. Upon information and belief, Purdue’s In the Face of Pain website promoted the
                   notion that if a patient’s doctor does not prescribe what, in the patient’s view, is a
                   sufficient dosage of opioids, he or she should find another doctor who will.

                g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
                   Management, which taught that dosage escalations are “sometimes necessary,”
                   and that “the need for higher doses of medication is not necessarily indicative of
                   addiction,” but inaccurately downplayed the risks from high opioid dosages.77

                h. In 2007, Purdue sponsored a CME entitled “Overview of Management Options”
                   that was available for CME credit and available until at least 2012. The CME was
                   edited by a KOL and taught that nonsteroidal anti-inflammatory drugs
                   (“NSAIDs”) and other drugs, but not opioids, are unsafe at high dosages.

                i. Purdue presented a 2015 paper at the College on the Problems of Drug
                   Dependence, “the oldest and largest organization in the US dedicated to
                   advancing a scientific approach to substance use and addictive disorders,”
                   challenging the correlation between opioid dosage and overdose.78

                j. Seeking to overturn the criminal conviction of a doctor for illegally prescribing
                   opioids, the Manufacturer Defendants’ Front Groups APF and NFP argued in an
                   amicus brief to the United States Fourth Circuit Court of Appeals that “there is no
                   ‘ceiling dose’” for opioids.79




76
  Margo McCaffery & Chris Pasero, Endo Pharm., Understanding Your Pain: Taking Oral Opioid Analgesics
(Russell K Portenoy, M.D., ed., 2004).
77
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf., at 32.
78
     The College on Problems of Drug Dependence, About the College, http://cpdd.org (last visited Aug. 21, 2017).
79
     Brief of APF, at 9.



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                  k. In the 2010 Mallinckrodt/C.A.R.E.S. publication “Defeat Chronic Pain Now!”,
                     potential opioid users are warned about the risk of “[p]seudoaddiction [b]ecause
                     of a [l]ow [d]ose,” and advised that this condition may be corrected through the
                     prescription of a higher dose. Similarly, the book recommends that for chronic
                     pain patients, the opioid dose should be “gradually increased to find the best daily
                     dose, as is done with all the other oral drugs.” The book discusses the risks of
                     NSAIDs and other drugs at higher doses, but not explain this risk for opioids.

            141. Once again, the 2016 CDC Guideline reveals that the Manufacturer Defendants’

representations regarding opioids were lacking in scientific evidence. The 2016 CDC Guideline

clarifies that the “[b]enefits of high-dose opioids for chronic pain are not established” while the

“risks for serious harms related to opioid therapy increase at higher opioid dosage.” 80 More

specifically, the CDC explains that “there is now an established body of scientific evidence

showing that overdose risk is increased at higher opioid dosages.”81 The CDC also states that

there is an increased risk “for opioid use disorder, respiratory depression, and death at higher

dosages.”82 That is why the CDC advises doctors to “avoid increasing dosage” to above 90

morphine milligram equivalents per day.83

            142. As a sixth category of misrepresentation, Defendants’ deceptive marketing of the

so-called abuse-deterrent properties of some of their opioids has created false impressions that

these opioids can cure addiction and abuse.

            143. The Manufacturer Defendants made misleading claims about the ability of their so-

called abuse-deterrent opioid formulations to deter abuse. For example, Endo’s advertisements

for the 2012 reformulation of Opana ER claimed that it was designed to be crush resistant, in a

way that suggested it was more difficult to abuse. This claim was false. The FDA warned in a

80
     2016 CDC Guideline at 22–23.
81
     Id. at 23–24.
82
     Id. at 21.
83
     Id. at 16.



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2013 letter that Opana ER Extended-Release Tablets’ “extended-release features can be

compromised, causing the medication to ‘dose dump,’ when subject to . . . forms of manipulation

such as cutting, grinding, or chewing, followed by swallowing.”84 Also troubling, Opana ER can

be prepared for snorting using commonly available methods and “readily prepared for

injection.”85 The letter discussed “the troubling possibility that a higher (and rising) percentage

of [Opana ER Extended-Release Tablet] abuse is occurring via injection.”86 Endo’s own studies,

which it failed to disclose, showed that Opana ER could still be ground and chewed. In June

2017, the FDA requested that Opana ER be removed from the market.

                          ii.   The Manufacturer Defendants embarked upon a campaign of
                                false, deceptive, and unfair assurances grossly overstating the
                                benefits of the opioid drugs.

            144. To convince doctors and patients that opioids should be used to treat chronic pain,

the Manufacturer Defendants also had to persuade them that there was a significant upside to

long-term opioid use. But as the CDC Guideline makes clear, “[n]o evidence shows a long-term

benefit of opioids in pain and function versus no opioids for chronic pain with outcomes

examined at least 1 year later (with most placebo-controlled randomized trials ≤ 6 weeks in

duration)” and that other treatments were more or equally beneficial and less harmful than long-

term opioid use.87 The FDA, too, has recognized the lack of evidence to support long-term

opioid use. Despite this, Defendants falsely and misleadingly touted the benefits of long-term




84
  Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin.,
U.S. Dep’t of Health and Human Servs., to Robert Barto, Vice President, Reg. Affairs, Endo Pharm. Inc. (May 10,
2013), at 5.
85
     Id. at 6.
86
     Id. at 6 n.21.
87
     Id. at 15.



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opioid use and falsely and misleadingly suggested that these benefits were supported by

scientific evidence.

        145. Some illustrative examples of the Manufacturer Defendants’ false claims are:

            a. Upon information and belief, Actavis distributed an advertisement claiming that
               the use of Kadian to treat chronic pain would allow patients to return to work,
               relieve “stress on your body and your mental health,” and help patients enjoy their
               lives.

            b. Endo distributed advertisements that claimed that the use of Opana ER for chronic
               pain would allow patients to perform demanding tasks like construction work or
               work as a chef and portrayed seemingly healthy, unimpaired subjects.

            c. Janssen sponsored and edited a patient education guide entitled Finding Relief:
               Pain Management for Older Adults (2009) – which states as “a fact” that “opioids
               may make it easier for people to live normally.” The guide lists expected
               functional improvements from opioid use, including sleeping through the night,
               returning to work, recreation, sex, walking, and climbing stairs.

            d. Janssen promoted Ultracet for everyday chronic pain and distributed posters, for
               display in doctors’ offices, of presumed patients in active professions; the caption
               read, “Pain doesn’t fit into their schedules.”

            e. Upon information and belief, Purdue ran a series of advertisements for OxyContin
               in 2012 in medical journals entitled “Pain vignettes,” which were case studies
               featuring patients with pain conditions persisting over several months and
               recommending OxyContin for them. The ads knowingly, unfairly and deceptively
               sought to create the impression that OxyContin improves patients’ function.

            f. Responsible Opioid Prescribing (2007), sponsored and distributed by Cephalon,
               Endo and Purdue, taught that relief of pain by opioids, by itself, improved
               patients’ function.

            g. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which counseled patients that opioids “give [pain
               patients] a quality of life we deserve.”88 This publication is still available online.

            h. Endo’s NIPC website “PainKnowledge” claimed in 2009, upon information and
               belief, that with opioids, “your level of function should improve; you may find
               you are now able to participate in activities of daily living, such as work and

88
  Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.



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                hobbies, that you were not able to enjoy when your pain was worse.” Elsewhere,
                the website touted improved quality of life (as well as “improved function”) as
                benefits of opioid therapy. The grant request that Endo approved for this project
                specifically indicated NIPC’s intent to make misleading claims about function,
                and Endo closely tracked visits to the site.

            i. Endo was the sole sponsor, through NIPC, of a series of CMEs entitled
               “Persistent Pain in the Older Patient.”89 Upon information and belief, a CME
               disseminated via webcast claimed that chronic opioid therapy has been “shown to
               reduce pain and improve depressive symptoms and cognitive functioning.”

            j. Janssen sponsored and funded a multimedia patient education campaign called
               “Let’s Talk Pain.” One feature of the campaign was to complain that patients
               were under-treated. In 2009, upon information and belief, a Janssen-sponsored
               website, part of the “Let’s Talk Pain” campaign, featured an interview edited by
               Janssen claiming that opioids allowed a patient to “continue to function.”

            k. Purdue sponsored the development and distribution of APF’s A Policymaker’s
               Guide to Understanding Pain & Its Management, which claimed that “[m]ultiple
               clinical studies” have shown that opioids are effective in improving “[d]aily
               function,” “[p]sychological health,” and “[o]verall health-related quality of life
               for chronic pain.”90 The Policymaker’s Guide was originally published in 2011.

            l. Purdue’s, Cephalon’s, Endo’s, and Janssen’s sales representatives have conveyed
               and continue to convey the message that opioids will improve patient function.

        146. As the FDA and other agencies have made clear for years, these claims have no

support in the scientific literature.

        147. In 2010, the FDA warned Actavis, in response to its advertising of Kadian

described above, that “we are not aware of substantial evidence or substantial clinical experience

demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating pain, taken

together with any drug-related side effects patients may experience . . . results in any overall

positive impact on a patient’s work, physical and mental functioning, daily activities, or


89
         E.g.,    NIPC,       Persistent     Pain       and      the     Older          Patient      (2007),
https://www.painedu.org/Downloads/NIPC/Activities/B173_Providence_RI_%20Invite.pdf.
90
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf., at 29.



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enjoyment of life.”91 And in 2008, upon information and belief, the FDA sent a warning letter to

an opioid manufacturer, making it clear “that [the claim that] patients who are treated with the

drug experience an improvement in their overall function, social function, and ability to perform

daily activities . . . has not been demonstrated by substantial evidence or substantial clinical

experience.”

           148. The Manufacturer Defendants also falsely and misleadingly emphasized or

exaggerated the risks of competing medications like NSAIDs, so that doctors and patients would

look to opioids first for the treatment of chronic pain. Once again, these misrepresentations by

the Manufacturer Defendants contravene pronouncements by and guidance from the FDA and

CDC based on the scientific evidence. Indeed, the FDA changed the labels for ER/LA opioids in

2013 and IR opioids in 2016 to state that opioids should only be used as a last resort “in patients

for which alternative treatment options” like non-opioid drugs “are inadequate.” And the 2016

CDC Guideline states that NSAIDs, not opioids, should be the first-line treatment for chronic

pain, particularly arthritis and lower back pain.92

           149. Purdue misleadingly promoted OxyContin as being unique among opioids in

providing the benefit of 12 continuous hours of pain relief with one dose. In fact, OxyContin

does not last for 12 hours – a fact that Purdue has known at all times relevant to this action.

Upon information and belief, Purdue’s own research shows that OxyContin wears off in under

six hours in one quarter of patients and in under 10 hours in more than half. This is because

OxyContin tablets release approximately 40% of their active medicine immediately, after which


91
   Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc’ns, U.S. Food & Drug Admin., to
Doug         Boothe,      CEO,          Actavis        Elizabeth       LLC     (Feb.     18,     2010),
http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.
92
     2016 CDC Guideline at 12.



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release tapers. This triggers a powerful initial response, but provides little or no pain relief at the

end of the dosing period, when less medicine is released. This phenomenon is known as “end of

dose” failure, and the FDA found in 2008 that a “substantial proportion” of chronic pain patients

taking OxyContin experience it. This not only renders Purdue’s promise of 12 hours of relief

false and deceptive, it also makes OxyContin more dangerous because the declining pain relief

patients experience toward the end of each dosing period drives them to take more OxyContin

before the next dosing period begins, quickly increasing the amount of drug they are taking and

spurring growing dependence.

       150. Purdue’s competitors were aware of this problem. For example, upon information

and belief, Endo ran advertisements for Opana ER referring to “real” 12-hour dosing.

Nevertheless, Purdue falsely promoted OxyContin as if it were effective for a full 12 hours.

Upon information and belief, Purdue’s sales representatives continue to tell doctors that

OxyContin lasts a full 12 hours.

       151. Front Groups supported by Purdue likewise echoed these representations. For

example, in an amicus brief submitted to the Supreme Court of Ohio by the American Pain

Foundation, the National Foundation for the Treatment of Pain and the Ohio Pain Initiative in

support of Purdue, those amici represented:

       OxyContin is particularly useful for sustained long-term pain because it comes in
       higher, compact pills with a slow release coating. OxyContin pills can work for
       12 hours. This makes it easier for patients to comply with dosing requirements
       without experiencing a roller-coaster of pain relief followed quickly by pain
       renewal that can occur with shorter acting medications. It also helps the patient
       sleep through the night, which is often impossible with short-acting medications.




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            For many of those serviced by Pain Care Amici, OxyContin has been a miracle
            medication.93

            152. Cephalon also deceptively marketed its opioids Actiq and Fentora as beneficial to

treat chronic pain even though the FDA has expressly limited their use to the treatment of cancer

pain in opioid tolerant individuals. Both Actiq and Fentora are extremely powerful fentanyl-

based IR opioids. Neither is approved for or has been shown to be safe or effective for chronic

pain. Indeed, the FDA expressly prohibited Cephalon from marketing Actiq for anything but

cancer pain, and refused to approve Fentora for the treatment of chronic pain because of the

potential harm, including the high risk of “serious and life-threatening adverse events” and abuse

– which are greatest in non-cancer patients. The FDA also issued a Public Health Advisory in

2007 emphasizing that Fentora should only be used for cancer patients who are opioid-tolerant

and should not be used for any other conditions, such as migraines, post-operative pain, or pain

due to injury.94 Specifically, the FDA advised that Fentora “is only approved for breakthrough

cancer pain in patients who are opioid-tolerant, meaning those patients who take a regular, daily,

around-the-clock narcotic pain medication.”95

            153. Despite this, Cephalon conducted and continues to conduct a well-funded campaign

to promote Actiq and Fentora for chronic pain and other non-cancer conditions for which it was

not approved, appropriate, and for which it is not safe. As part of this campaign, Cephalon used

CMEs, speaker programs, KOLs, journal supplements, and detailing by its sales representatives


93
   Reply Brief of Amicus Curiae of the American Pain Foundation, The National Foundation for the Treatment of
Pain and the Ohio Pain Initiative Supporting Appellants, Howland v. Purdue Pharma L.P., No. 2003-1538 (Ohio
Apr. 13, 2004), 2004 WL 1637768, at *4 (footnote omitted).
94
   See U.S. Food & Drug Admin., Public Health Advisory: Important Information for the Safe Use of Fentora
(fentanyl              buccal             tablets)             (Sept.               26,             2007),
https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm051273.htm.
95
     Id.



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to give doctors the false impression that Actiq and Fentora are safe and effective for treating non-

cancer pain. For example:

           a. Cephalon paid to have a CME it sponsored, Opioid-Based Management of
              Persistent and Breakthrough Pain, published in a supplement of Pain Medicine
              News in 2009. The CME instructed doctors that “[c]linically, broad classification
              of pain syndromes as either cancer- or non-cancer-related has limited utility” and
              recommended Actiq and Fentora for patients with chronic pain.

           b. Upon information and belief, Cephalon’s sales representatives set up hundreds of
              speaker programs for doctors, including many non-oncologists, which promoted
              Actiq and Fentora for the treatment of non-cancer pain.

           c. In December 2011, Cephalon widely disseminated a journal supplement entitled
              “Special Report: An Integrated Risk Evaluation and Mitigation Strategy for
              Fentanyl Buccal Tablet (FENTORA) and Oral Transmucosal Fentanyl Citrate
              (ACTIQ)” to Anesthesiology News, Clinical Oncology News, and Pain Medicine
              News – three publications that are sent to thousands of anesthesiologists and other
              medical professionals. The Special Report openly promotes Fentora for “multiple
              causes of pain” – and not just cancer pain.

       154. Cephalon’s deceptive marketing gave doctors and patients the false impression that

Actiq and Fentora were not only safe and effective for treating chronic pain, but were also

approved by the FDA for such uses.

       155. Purdue also unlawfully and unfairly failed to report or address illicit and unlawful

prescribing of its drugs, despite knowing about it for years. Purdue’s sales representatives have

maintained a database since 2002 of doctors suspected of inappropriately prescribing its drugs.

Rather than report these doctors to state medical boards or law enforcement authorities (as

Purdue is legally obligated to do) or cease marketing to them, Purdue used the list to demonstrate

the high rate of diversion of OxyContin – the same OxyContin that Purdue had promoted as less

addictive – in order to persuade the FDA to bar the manufacture and sale of generic copies of the

drug because the drug was too likely to be abused. In an interview with the Los Angeles Times,

Purdue’s senior compliance officer acknowledged that in five years of investigating suspicious

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pharmacies, Purdue failed to take action – even where Purdue employees personally witnessed

the diversion of its drugs. The same was true of prescribers; despite its knowledge of illegal

prescribing, Purdue did not report that a Los Angeles clinic prescribed more than 1.1 million

OxyContin tablets and that Purdue’s district manager described it internally as “an organized

drug ring” years after law enforcement shut it down. In doing so, Purdue protected its own

profits at the expense of public health and safety.96

        156. Like Purdue, Endo has been cited for its failure to set up an effective system for

identifying and reporting suspicious prescribing. In its settlement agreement with Endo, the

State of New York found that Endo failed to require sales representatives to report signs of

abuse, diversion, and inappropriate prescribing; paid bonuses to sales representatives for

detailing prescribers who were subsequently arrested or convicted for illegal prescribing; and

failed to prevent sales representatives from visiting prescribers whose suspicious conduct had

caused them to be placed on a no-call list.

                 3. The Manufacturer Defendants Targeted Susceptible Prescribers and
                    Vulnerable Patient Populations.

        157. As a part of their illegal and deceptive marketing scheme, the Manufacturer

Defendants identified and targeted susceptible prescribers and vulnerable patient populations in

the U.S., including this Commonwealth and Plaintiff’s Community.                         For example, the

Manufacturer Defendants focused their deceptive marketing on primary care doctors, who were

more likely to treat chronic pain patients and prescribe them drugs, but were less likely to be

educated about treating pain and the risks and benefits of opioids and therefore more likely to

accept the Manufacturer Defendants’ misrepresentations.

96
  Harriet Ryan et al., More Than 1 Million Oxycontin Pills Ended Up in the Hands of Criminals and Addicts. What
the Drugmaker Knew, L.A. Times, July 10, 2016, http://www.latimes.com/projects/la-me-oxycontin-part2/.



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           158. The Manufacturer Defendants also targeted vulnerable patient populations like the

elderly and veterans, who tend to suffer from chronic pain. The Manufacturer Defendants

targeted these vulnerable patients even though the risks of long-term opioid use were

significantly greater for them. For example, the 2016 CDC Guideline observes that existing

evidence confirms that elderly patients taking opioids suffer from elevated fall and fracture risks,

reduced renal function and medication clearance, and a smaller window between safe and unsafe

dosages.97 The 2016 CDC Guideline concludes that there must be “additional caution and

increased monitoring” to minimize the risks of opioid use in elderly patients. Id. at 27. The

same is true for veterans, who are more likely to use anti-anxiety drugs (benzodiazepines) for

post-traumatic stress disorder, which interact dangerously with opioids.

                   4. The Manufacturer Defendants Made Materially Deceptive Statements
                      and Concealed Materials Facts.

           159. As alleged herein, the Manufacturer Defendants made, directed, controlled and/or

disseminated deceptive statements regarding material facts and further concealed material facts,

in the course of manufacturing, marketing, supplying and selling prescription opioids. The

Manufacturer Defendants’ actions were intentional and/or unlawful. Such actions include, but

are not limited to, those set out below and alleged throughout this Complaint.

           160. Defendant Purdue made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

               a. Creating, contributing to, sponsoring, and/or assisting in the distribution of patient
                  education materials distributed to consumers that contained deceptive statements;



97
     2016 CDC Guideline at 13.



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     b. Creating and disseminating advertisements that contained deceptive statements
        concerning the ability of opioids to improve function long-term and concerning
        the evidence supporting the efficacy of opioids long-term for the treatment of
        chronic non-cancer pain;

     c. Disseminating misleading statements concealing the true risk of addiction and
        promoting the deceptive concept of pseudoaddiction through Purdue’s own
        unbranded publications and on internet sites Purdue operated that were marketed
        to and accessible by consumers;

     d. Distributing brochures to doctors, patients, and law enforcement officials that
        included deceptive statements concerning the indicators of possible opioid abuse;

     e. Sponsoring, directly distributing, and assisting in the distribution of publications
        that promoted the deceptive concept of pseudoaddiction, even for high-risk
        patients;

     f. Endorsing, directly distributing, and assisting in the distribution of publications
        that presented an unbalanced treatment of the long-term and dose-dependent risks
        of opioids versus NSAIDs;

     g. Providing significant financial support to pro-opioid KOL doctors who made
        deceptive statements concerning the use of opioids to treat chronic non-cancer
        pain;

     h. Providing needed financial support to pro-opioid pain organizations that made
        deceptive statements, including in patient education materials, concerning the use
        of opioids to treat chronic non-cancer pain;

     i. Assisting in the distribution of guidelines that contained deceptive statements
        concerning the use of opioids to treat chronic non-cancer pain and misrepresented
        the risks of opioid addiction;

     j. Sponsoring, endorsing and assisting in the distribution of CMEs containing
        deceptive statements concerning the use of opioids to treat chronic non-cancer
        pain;

     k. Developing, sponsoring, funding and disseminating scientific studies that
        misleadingly concluded opioids are safe and effective for the long-term treatment
        of chronic non-cancer pain and that opioids improve quality of life, while
        concealing contrary data;




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             l. Assisting in the dissemination of literature written by pro-opioid KOLs that
                contained deceptive statements concerning the use of opioids to treat chronic
                noncancer pain;

             m. Creating, endorsing, and supporting the distribution of patient and prescriber
                education materials that misrepresented the data regarding the safety and efficacy
                of opioids for the long-term treatment of chronic non-cancer pain, including
                known rates of abuse and addiction and the lack of validation for long-term
                efficacy;

             n. Targeting veterans by sponsoring and disseminating patient education marketing
                materials that contained deceptive statements concerning the use of opioids to
                treat chronic non-cancer pain;

             o. Targeting the elderly by assisting in the distribution of guidelines that contained
                deceptive statements concerning the use of opioids to treat chronic non-cancer
                pain and misrepresented the risks of opioid addiction in this population;

             p. Exclusively disseminating misleading statements in education materials to
                hospital doctors and staff while purportedly educating them on new pain
                standards;

             q. Making deceptive statements concerning the use of opioids to treat chronic
                noncancer pain to prescribers through in-person detailing; and

             r. Withholding from law enforcement the names of prescribers Purdue believed to
                be facilitating the diversion of its opioid, while simultaneously marketing opioids
                to these doctors by disseminating patient and prescriber education materials and
                advertisements and CMEs they knew would reach these same prescribers.

       161. Defendant Endo made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Creating, contributing to, sponsoring, and/or assisting in the distribution of patient
                education materials that contained deceptive statements;

             b. Creating and disseminating advertisements that contained deceptive statements
                concerning the ability of opioids to improve function long-term and concerning
                the evidence supporting the efficacy of opioids long-term for the treatment of
                chronic non-cancer pain;



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     c. Creating and disseminating paid advertisement supplements in academic journals
        promoting chronic opioid therapy as safe and effective for long term use for high
        risk patients;

     d. Creating and disseminating advertisements that falsely and inaccurately conveyed
        the impression that Endo’s opioids would provide a reduction in oral, intranasal,
        or intravenous abuse;

     e. Disseminating misleading statements concealing the true risk of addiction and
        promoting the misleading concept of pseudoaddiction through Endo’s own
        unbranded publications and on internet sites Endo sponsored or operated;

     f. Endorsing, directly distributing, and assisting in the distribution of publications
        that presented an unbalanced treatment of the long-term and dose-dependent risks
        of opioids versus NSAIDs;

     g. Providing significant financial support to pro-opioid KOLs, who made deceptive
        statements concerning the use of opioids to treat chronic non-cancer pain;

     h. Providing needed financial support to pro-opioid pain organizations – including
        over $5 million to the organization responsible for many of the most egregious
        misrepresentations – that made deceptive statements, including in patient
        education materials, concerning the use of opioids to treat chronic non-cancer
        pain;

     i. Targeting the elderly by assisting in the distribution of guidelines that contained
        deceptive statements concerning the use of opioids to treat chronic non-cancer
        pain and misrepresented the risks of opioid addiction in this population;

     j. Sponsoring, endorsing and assisting in the distribution of CMEs containing
        deceptive statements concerning the use of opioids to treat chronic non-cancer
        pain;

     k. Developing, sponsoring, funding and disseminating scientific studies that
        deceptively concluded opioids are safe and effective for the long-term treatment
        of chronic non-cancer pain and that opioids improve quality of life, while
        concealing contrary data;

     l. Directly distributing and assisting in the dissemination of literature written by
        pro-opioid KOLs that contained deceptive statements concerning the use of
        opioids to treat chronic non-cancer pain, including the concept of
        pseudoaddiction;




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             m. Creating, endorsing, and supporting the distribution of patient and prescriber
                education materials that misrepresented the data regarding the safety and efficacy
                of opioids for the long-term treatment of chronic non-cancer pain, including
                known rates of abuse and addiction and the lack of validation for long-term
                efficacy; and

             n. Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-person detailing.

       162. Defendant Janssen made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Creating, sponsoring, contributing to and/or assisting in the distribution of patient
                education materials that contained deceptive statements;

             b. Directly disseminating deceptive statements through internet sites over which
                Janssen exercised final editorial control and approval stating that opioids are safe
                and effective for the long-term treatment of chronic non-cancer pain and that
                opioids improve quality of life, while concealing contrary data;

             c. Disseminating deceptive statements concealing the true risk of addiction and
                promoting the deceptive concept of pseudoaddiction through internet sites over
                which Janssen exercised final editorial control and approval;

             d. Promoting opioids for the treatment of conditions for which Janssen knew, due to
                the scientific studies it conducted, that opioids were not efficacious and
                concealing this information;

             e. Sponsoring, directly distributing, and assisting in the dissemination of patient
                education publications over which Janssen exercised final editorial control and
                approval, which presented an unbalanced treatment of the long-term and dose
                dependent risks of opioids versus NSAIDs;

             f. Providing significant financial support to pro-opioid KOLs, who made deceptive
                statements concerning the use of opioids to treat chronic non-cancer pain;

             g. Providing necessary financial support to pro-opioid pain organizations that made
                deceptive statements, including in patient education materials, concerning the use
                of opioids to treat chronic non-cancer pain;




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           h. Targeting the elderly by assisting in the distribution of guidelines that contained
              deceptive statements concerning the use of opioids to treat chronic non-cancer
              pain and misrepresented the risks of opioid addiction in this population;

           i. Targeting the elderly by sponsoring, directly distributing, and assisting in the
              dissemination of patient education publications targeting this population that
              contained deceptive statements about the risks of addiction and the adverse effects
              of opioids, and made false statements that opioids are safe and effective for the
              long-term treatment of chronic non-cancer pain and improve quality of life, while
              concealing contrary data;

           j. Sponsoring, endorsing and assisting in the distribution of CMEs containing
              deceptive statements concerning the use of opioids to treat chronic non-cancer
              pain;

           k. Directly distributing and assisting in the dissemination of literature written by
              pro-opioid KOLs that contained deceptive statements concerning the use of
              opioids to treat chronic non-cancer pain, including the concept of
              pseudoaddiction;

           l. Creating, endorsing, and supporting the distribution of patient and prescriber
              education materials that misrepresented the data regarding the safety and efficacy
              of opioids for the long-term treatment of chronic non-cancer pain, including
              known rates of abuse and addiction and the lack of validation for long-term
              efficacy;

           m. Targeting veterans by sponsoring and disseminating patient education marketing
              materials that contained deceptive statements concerning the use of opioids to
              treat chronic non-cancer pain; and

           n. Making deceptive statements concerning the use of opioids to treat chronic non-
              cancer pain to prescribers through in-person detailing.

       163. Defendant Cephalon made and/or disseminated untrue, false and deceptive

statements, and concealed material facts in such a way to make their statements deceptive,

including, but not limited to, the following:

           a. Creating, sponsoring, contributing to and/or assisting in the distribution of patient
              education materials that contained deceptive statements;

           b. Sponsoring and assisting in the distribution of publications that promoted the
              deceptive concept of pseudoaddiction, even for high-risk patients;


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             c. Providing significant financial support to pro-opioid KOL doctors who made
                deceptive statements concerning the use of opioids to treat chronic non-cancer
                pain and breakthrough chronic non-cancer pain;

             d. Developing, sponsoring, funding and disseminating scientific studies that
                deceptively concluded opioids are safe and effective for the long-term treatment
                of chronic non-cancer pain in conjunction with Cephalon’s potent rapid-onset
                opioids;

             e. Providing needed financial support to pro-opioid pain organizations that made
                deceptive statements, including in patient education materials, concerning the use
                of opioids to treat chronic non-cancer pain;

             f. Sponsoring, endorsing and assisting in the distribution of CMEs containing
                deceptive statements concerning the use of opioids to treat chronic non-cancer
                pain;

             g. Endorsing and assisting in the distribution of CMEs containing deceptive
                statements concerning the use of Cephalon’s rapid-onset opioids;

             h. Directing its marketing of Cephalon’s rapid-onset opioids to a wide range of
                doctors, including general practitioners, neurologists, sports medicine specialists,
                and workers’ compensation programs, serving chronic pain patients;

             i. Making deceptive statements concerning the use of Cephalon’s opioids to treat
                chronic non-cancer pain to prescribers through in-person detailing and speakers’
                bureau events, when such uses are unapproved and unsafe; and

             j. Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-person detailing and speakers’ bureau
                events.

       164. Defendant Actavis made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-person detailing;

             b. Creating and disseminating advertisements that contained deceptive statements
                that opioids are safe and effective for the long-term treatment of chronic non-
                cancer pain and that opioids improve quality of life;


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           c. Creating and disseminating advertisements that concealed the risk of addiction in
              the long-term treatment of chronic, non-cancer pain; and

           d. Developing, sponsoring, funding and disseminating scientific studies that
              deceptively concluded opioids are safe and effective for the long-term treatment
              of chronic non-cancer pain and that opioids improve quality of life while
              concealing contrary data.

       165. Defendant Mallinckrodt made and/or disseminated deceptive statements,

including, but not limited to, the following:

           a. Creating, sponsoring, and assisting in the distribution of patient education
              materials that contained deceptive statements;

           b. Sponsoring and assisting in the distribution of publications that promoted the
              deceptive concept of pseudoaddiction, even for high-risk patients;

           c. Providing significant financial support to pro-opioid KOL doctors who made
              deceptive statements concerning the use of opioids to treat chronic non-cancer
              pain and breakthrough chronic non-cancer pain; and

           d. Providing needed financial support to pro-opioid pain organizations that made
              deceptive statements, including in patient education materials, concerning the use
              of opioids to treat chronic non-cancer pain.

               5. The Manufacturer Defendants Fraudulently Concealed Their
                  Misconduct.

       166. The Manufacturer Defendants, both individually and collectively, made, promoted,

and profited from the misrepresentations about the risks and benefits of opioids for chronic pain

even though they knew that the misrepresentations were false and deceptive. The history of

opioids, as well as research and clinical experience establish that opioids are highly addictive and

are responsible for a long list of very serious adverse outcomes. The FDA warned Defendants of

this, and Defendants had access to scientific studies, detailed prescription data, and reports of

adverse events, including reports of addiction, hospitalization, and death – all of which clearly

described the harm from long-term opioid use and that patients were suffering from addiction,

overdose, and death in alarming numbers. More recently, the FDA and CDC have issued


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pronouncements, based on medical evidence, that conclusively expose the falsity of Defendants’

misrepresentations, and Endo and Purdue have recently entered agreements in New York

prohibiting them from making some of the same misrepresentations described in this Complaint.

       167. At all times relevant to this Complaint, the Manufacturer Defendants took steps to

avoid detection of and to fraudulently conceal their deceptive marketing and unlawful, unfair,

and fraudulent conduct. For example, the Manufacturer Defendants disguised their role in the

deceptive marketing of chronic opioid therapy by funding and working through third parties like

Front Groups and KOLs. The Manufacturer Defendants purposefully hid behind the assumed

credibility of these individuals and organizations and relied on them to vouch for the accuracy

and integrity of the Manufacturer Defendants’ false and deceptive statements about the risks and

benefits of long-term opioid use for chronic pain. Defendants also never disclosed their role in

shaping, editing, and approving the content of information and materials disseminated by these

third parties. The Manufacturer Defendants exerted considerable influence on these promotional

and “educational” materials in emails, correspondence, and meetings with KOLs, Front Groups,

and public relations companies that were not, and have not yet become, public. For example,

PainKnowledge.org, which is run by the NIPC, did not disclose Endo’s involvement. Other

Manufacturer Defendants, such as Purdue and Janssen, ran similar websites that masked their

own role.

       168. Finally, the Manufacturer Defendants manipulated their promotional materials and

the scientific literature to make it appear that those documents were accurate, truthful, and

supported by objective evidence when they were not. The Manufacturer Defendants distorted

the meaning or import of studies they cited and offered them as evidence for propositions the

studies did not support. The Manufacturer Defendants also invented “pseudoaddiction” and



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promoted it to an unsuspecting medical community. The Manufacturer Defendants provided the

medical community with false and misleading information about ineffectual strategies to avoid

or control opioid addiction.    The Manufacturer Defendants recommended to the medical

community that dosages be increased, without disclosing the risks.

       169. The Manufacturer Defendants spent millions of dollars over a period of years on a

misinformation campaign aimed at highlighting opioids’ alleged benefits, disguising the risks,

and promoting sales. The lack of support for the Manufacturer Defendants’ deceptive messages

was not apparent to medical professionals who relied upon them in making treatment decisions,

nor could it have been detected by the Plaintiff or Plaintiff’s Community. The Plaintiff did not

know of the existence or scope of the Manufacturer Defendants’ industry-wide fraud and could

not have acquired such knowledge earlier through the exercise of reasonable diligence.

       170. The lack of support for the Manufacturer Defendants’ deceptive messages was not

apparent to medical professionals who relied upon them in making treatment decisions, nor could

Plaintiff or Plaintiff’s Community have detected it.       Thus, the Manufacturer Defendants

successfully concealed from the medical community, patients, and health care payors facts

sufficient to arouse suspicion of the claims that Plaintiff now asserts. Plaintiff did not know of

the existence or scope of the Manufacturer Defendants’ industry-wide fraud and could not have

acquired such knowledge earlier through the exercise of reasonable diligence.

       C. THE DISTRIBUTOR DEFENDANTS’ UNLAWFUL DISTRIBUTION OF
          OPIOIDS.

       171. The Distributor Defendants owe a duty under both federal law (21 U.S.C. § 823, 21

CFR 1301.74) and Commonwealth law to monitor, detect, investigate, refuse to fill, and report

suspicious orders of prescription opioids originating from Plaintiff’s Community as well as those




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orders which the Distributor Defendants knew or should have known were likely to be diverted

into Plaintiff’s Community.

       172. The foreseeable harm from a breach of these duties is the diversion of prescription

opioids for nonmedical purposes.

       173. Each Distributor Defendant repeatedly and purposefully breached its duties under

Commonwealth and federal law.         Such breaches are direct and proximate causes of the

widespread misuse and diversion of prescription opioids for nonmedical purposes into Plaintiff’s

Community and the opioid epidemic devastating that Community.

       174. The Distributor Defendants’ illegal actions are a direct and proximate cause and/or

substantial contributing factor to the opioid epidemic, prescription opioid abuse, addiction,

morbidity and mortality in the Commonwealth and in Plaintiff’s Community. Those actions are

direct causes of harms for which Plaintiff seeks to recover here.

       175. The opioid epidemic in the Commonwealth, including inter alia in Plaintiff’s

Community, remains an immediate hazard to public health and safety.

       176. The opioid epidemic in Plaintiff’s Community is a temporary and continuous

public nuisance and remains unabated.

       177. The Distributor Defendants’ intentionally continued their conduct, as alleged

herein, with knowledge that such conduct was creating the opioid nuisance and causing the

harms and damages alleged herein.

               1. Wholesale Drug Distributors Have a Duty under State and Federal Law
                  to Guard Against, and Report, Unlawful Diversion and to Report and
                  Prevent Suspicious Orders.

       178. As under federal law, opioids are a Schedule II controlled substance under State

law. Opioids are categorized as “Schedule II” drugs because they have a “high potential for



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abuse” and the potential to cause “severe psychic or physical dependence” and/or “severe

psychological . . . dependence.” 21 U.S.C. § 812(b)(2)(A, C).

       179. As wholesale drug distributors, each Defendant was required under state law to first

be licensed and/or registered. To receive and maintain this license, each of the Defendant

Wholesale Distributors assumed a duty to comply with all applicable local, state and federal laws

and regulations.

       180. Under the laws of the Commonwealth of Massachusetts, all distributors and

manufacturers of controlled substances must be registered with the Commonwealth. See, e.g.,

M.G.L. c. 94C, § 7. Registration requirements for manufacturers and distributors of controlled

substances in Massachusetts mandate operation in accordance with "the public interest,"

"maintenance of effective controls against diversion," and "compliance with applicable federal,

state, and local law." M.G.L. c. 94C, § 12.

       181. Each Distributor Defendant was further required to register with the DEA, pursuant

to the federal Controlled Substance Act. See 21 U.S.C. § 823(b), (e); 28 C.F.R. § 0.100. Each

Distributor Defendant is a “registrant” as a wholesale distributor in the chain of distribution of

Schedule II controlled substances with a duty to comply with all security requirements imposed

under that statutory scheme.

       182. Each Distributor Defendant has an affirmative duty under federal and state law to

act as a gatekeeper guarding against the diversion of the highly addictive, dangerous opioid

drugs. Federal law requires that Distributors of Schedule II drugs, including opioids, must

maintain “effective control against diversion of particular controlled substances into other than

legitimate medical, scientific, and industrial channels.” 21 U.S.C. §§ 823(b)(1).          Those

requirements are adopted and incorporated into state law.



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        183. Federal regulations, incorporated by state law, impose a non-delegable duty upon

wholesale drug distributors to “design and operate a system to disclose to the registrant

suspicious orders of controlled substances. The registrant [distributor] shall inform the Field

Division Office of the Administration in his area of suspicious orders when discovered by the

registrant.

        184. “Suspicious orders” include orders of an unusual size, orders of unusual frequency

or orders deviating substantially from a normal pattern. See 21 CFR 1301.74(b). These criteria

are disjunctive and are not all inclusive. For example, if an order deviates substantially from a

normal pattern, the size of the order does not matter and the order should be reported as

suspicious. Likewise, a wholesale distributor need not wait for a normal pattern to develop over

time before determining whether a particular order is suspicious. The size of an order alone,

regardless of whether it deviates from a normal pattern, is enough to trigger the wholesale

distributor’s responsibility to report the order as suspicious. The determination of whether an

order is suspicious depends not only on the ordering patterns of the particular customer but also

on the patterns of the entirety of the wholesale distributor’s customer base and the patterns

throughout the relevant segment of the wholesale distributor industry.

        185. In addition to reporting all suspicious orders, distributors must also stop shipment

on any order which is flagged as suspicious and only ship orders which were flagged as

potentially suspicious if, after conducting due diligence, the distributor can determine that the

order is not likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg.

36,487, 36,501 (Drug Enf’t Admin. July 3, 2007); Masters Pharmaceutical, Inc. v. Drug Enf’t

Admin., No. 15-11355 (D.C. Cir. June 30, 2017).         Regardless, all flagged orders must be

reported. Id.



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           186. These prescription drugs are regulated for the purpose of providing a “closed”

system intended to reduce the widespread diversion of these drugs out of legitimate

channels into the illicit market, while at the same time providing the legitimate drug industry

with a unified approach to narcotic and dangerous drug control.98

           187. Different entities supervise the discrete links in the chain that separate a consumer

from a controlled substance.             Statutes and regulations define each participant’s role and

responsibilities.99

           188. As the DEA advised the Distributor Defendants in a letter to them dated September

27, 2006, wholesale distributors are “one of the key components of the distribution chain. If the

closed system is to function properly … distributors must be vigilant in deciding whether a

prospective customer can be trusted to deliver controlled substances only for lawful purposes.

This responsibility is critical, as … the illegal distribution of controlled substances has a

substantial and detrimental effect on the health and general welfare of the American people.”100




98
      See 1970 U.S.C.C.A.N. 4566, 4571-72.
99
   Brief for Healthcare Distribution Management Association and National Association of Chain Drug Stores as
Amici Curiae in Support of Neither Party, Masters Pharm., Inc. v. U.S. Drug Enf’t Admin. (No. 15-1335) (D.C. Cir.
Apr. 4, 2016), 2016 WL 1321983, at *22 [hereinafter Brief for HDMA and NACDS]. The Healthcare Distribution
Management Association (HDMA or HMA)—now known as the Healthcare Distribution Alliance (HDA)—is a
national, not-for-profit trade association that represents the nation’s primary, full-service healthcare distributors
whose membership includes, among others: AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and
McKesson Corporation. See generally HDA, About, https://www.healthcaredistribution.org/about (last visited Aug.
21, 2017). The National Association of Chain Drug Stores (NACDS) is a national, not-for-profit trade association
that represents traditional drug stores and supermarkets and mass merchants with pharmacies whose membership
includes, among others: Walgreen Company, CVS Health, Rite Aid Corporation and Walmart. See generally
NACDS, Mission, https://www.nacds.org/ about/mission/ (last visited Aug. 21, 2017).
100
     See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t
Admin., U.S. Dep’t of Justice, to Cardinal Health (Sept. 27, 2006) [hereinafter Rannazzisi Letter] (“This letter is
being sent to every commercial entity in the United States registered with the Drug Enforcement Agency (DEA) to
distribute controlled substances. The purpose of this letter is to reiterate the responsibilities of controlled substance
distributors in view of the prescription drug abuse problem our nation currently faces.”), filed in Cardinal Health,
Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-51.



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            189. The Distributor Defendants have admitted that they are responsible for reporting

suspicious orders.101

            190. The DEA sent a letter to each of the Distributor Defendants on September 27,

2006, warning that it would use its authority to revoke and suspend registrations when

appropriate. The letter expressly states that a distributor, in addition to reporting suspicious

orders, has a “statutory responsibility to exercise due diligence to avoid filling suspicious orders

that might be diverted into other than legitimate medical, scientific, and industrial channels.”102

The letter also instructs that “distributors must be vigilant in deciding whether a prospective

customer can be trusted to deliver controlled substances only for lawful purposes.”103 The DEA

warns that “even just one distributor that uses its DEA registration to facilitate diversion can

cause enormous harm.”104

            191. The DEA sent a second letter to each of the Distributor Defendants on December

27, 2007.105 This letter reminds the Defendants of their statutory and regulatory duties to

“maintain effective controls against diversion” and “design and operate a system to disclose to

the registrant suspicious orders of controlled substances.”106 The letter further explains:

            The regulation also requires that the registrant inform the local DEA Division
            Office of suspicious orders when discovered by the registrant. Filing a monthly
            report of completed transactions (e.g., “excessive purchase report” or “high unity

101
   See Brief for HDMA and NACDS, 2016 WL 1321983, at *4 (“[R]egulations . . . in place for more than 40 years
require distributors to report suspicious orders of controlled substances to DEA based on information readily
available to them (e.g., a pharmacy’s placement of unusually frequent or large orders).”).
102
      Rannazzisi Letter, at 2.
103
      Id. at 1.
104
      Id. at 2.
105
  See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t Admin.,
U.S. Dep’t of Justice, to Cardinal Health (Dec. 27, 2007), filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-
00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-8.
106
      Id.



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 purchases”) does not meet the regulatory requirement to report suspicious orders.
 Registrants are reminded that their responsibility does not end merely with the
 filing of a suspicious order report. Registrants must conduct an independent
 analysis of suspicious orders prior to completing a sale to determine whether the
 controlled substances are likely to be diverted from legitimate channels.
 Reporting an order as suspicious will not absolve the registrant of responsibility if
 the registrant knew, or should have known, that the controlled substances were
 being diverted.

 The regulation specifically states that suspicious orders include orders of unusual
 size, orders deviating substantially from a normal pattern, and orders of an
 unusual frequency. These criteria are disjunctive and are not all inclusive. For
 example, if an order deviates substantially from a normal pattern, the size of the
 order does not matter and the order should be reported as suspicious. Likewise, a
 registrant need not wait for a “normal pattern” to develop over time before
 determining whether a particular order is suspicious. The size of an order alone,
 whether or not it deviates from a normal pattern, is enough to trigger the
 registrant’s responsibility to report the order as suspicious. The determination of
 whether an order is suspicious depends not only on the ordering patterns of the
 particular customer, but also on the patterns of the registrant’s customer base and
 the patterns throughout the segment of the regulated industry.

 Registrants that rely on rigid formulas to define whether an order is suspicious
 may be failing to detect suspicious orders. For example, a system that identifies
 orders as suspicious only if the total amount of a controlled substance ordered
 during one month exceeds the amount ordered the previous month by a certain
 percentage or more is insufficient. This system fails to identify orders placed by a
 pharmacy if the pharmacy placed unusually large orders from the beginning of its
 relationship with the distributor. Also, this system would not identify orders as
 suspicious if the order were solely for one highly abused controlled substance if
 the orders never grew substantially. Nevertheless, ordering one highly abused
 controlled substance and little or nothing else deviates from the normal pattern of
 what pharmacies generally order.

 When reporting an order as suspicious, registrants must be clear in their
 communication with DEA that the registrant is actually characterizing an order as
 suspicious. Daily, weekly, or monthly reports submitted by registrant indicating
 “excessive purchases” do not comply with the requirement to report suspicious
 orders, even if the registrant calls such reports “suspicious order reports.”

 Lastly, registrants that routinely report suspicious orders, yet fill these orders
 without first determining that order is not being diverted into other than legitimate
 medical, scientific, and industrial channels, may be failing to maintain effective
 controls against diversion. Failure to maintain effective controls against diversion
 is inconsistent with the public interest as that term is used in 21 USC 823 and 824,



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            and may result in the revocation of the registrant’s DEA Certificate of
            Registration.107

Finally, the DEA letter references the Revocation of Registration issued in Southwood

Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which discusses the obligation to

report suspicious orders and “some criteria to use when determining whether an order is

suspicious.”108

            192. The Distributor Defendants admit that they “have not only statutory and regulatory

responsibilities to detect and prevent diversion of controlled prescription drugs, but undertake

such efforts as responsible members of society.”109

            193. The Distributor Defendants knew they were required to monitor, detect, and halt

suspicious orders. Industry compliance guidelines established by the Healthcare Distribution

Management Association, the trade association of pharmaceutical distributors, explain that

distributors are “[a]t the center of a sophisticated supply chain” and therefore “are uniquely

situated to perform due diligence in order to help support the security of the controlled

substances they deliver to their customers.” The guidelines set forth recommended steps in the

“due diligence” process, and note in particular: If an order meets or exceeds a distributor’s

threshold, as defined in the distributor’s monitoring system, or is otherwise characterized by the

distributor as an order of interest, the distributor should not ship to the customer, in fulfillment of




107
      Id.
108
      Id.
109
      See Brief of HDMA, 2012 WL 1637016, at *2.



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that order, any units of the specific drug code product as to which the order met or exceeded a

threshold or as to which the order was otherwise characterized as an order of interest.110

        194. Each of the Distributor Defendants sold prescription opioids, including

hydrocodone and/or oxycodone, to retailers in Plaintiff’s Community and/or to retailers from

which Defendants knew prescription opioids were likely to be diverted to Plaintiff’s Community.

        195. Each Distributor Defendant owes a duty to monitor and detect suspicious orders of

prescription opioids.

        196. Each Distributor Defendant owes a duty under federal and state law to investigate

and refuse suspicious orders of prescription opioids.

        197. Each Distributor Defendant owes a duty under federal and state law to report

suspicious orders of prescription opioids.

        198. Each Distributor Defendant owes a duty under federal and state law to prevent the

diversion of prescription opioids into illicit markets in the Commonwealth and Plaintiff’s

Community.

        199. The foreseeable harm resulting from a breach of these duties is the diversion of

prescription opioids for nonmedical purposes and subsequent plague of opioid addiction.

        200. The foreseeable harm resulting from the diversion of prescription opioids for

nonmedical purposes is abuse, addiction, morbidity and mortality in Plaintiff’s Community and

the damages caused thereby.




110
    Healthcare Distribution Management Association (HDMA) Industry Compliance Guidelines: Reporting
Suspicious Orders and Preventing Diversion of Controlled Substances, filed in Cardinal Health, Inc. v. Holder, No.
12-5061 (D.C. Cir. Mar. 7, 2012), Doc. No. 1362415 (App’x B).



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                2. The Distributor Defendants Breached their Duties.

        201. Because distributors handle such large volumes of controlled substances, and are

the first major line of defense in the movement of legal pharmaceutical controlled substances

from legitimate channels into the illicit market, it is incumbent on distributors to maintain

effective controls to prevent diversion of controlled substances. Should a distributor deviate

from these checks and balances, the closed system collapses.111

        202. The sheer volume of prescription opioids distributed to pharmacies in the Plaintiff’s

Community, and/or to pharmacies from which the Distributor Defendants knew the opioids were

likely to be diverted into Plaintiff’s Community, is excessive for the medical need of the

community and facially suspicious. Some red flags are so obvious that no one who engages in

the legitimate distribution of controlled substances can reasonably claim ignorance of them. 112

        203. The Distributor Defendants failed to report “suspicious orders” originating from

Plaintiff’s Community, or which the Distributor Defendants knew were likely to be diverted to

Plaintiff’s Community, to the federal and Commonwealth authorities, including the DEA and/or

the Commonwealth Board of Registration of Pharmacy.

        204. The Distributor Defendants unlawfully filled suspicious orders of unusual size,

orders deviating substantially from a normal pattern and/or orders of unusual frequency in

Plaintiff’s Community, and/or in areas from which the Distributor Defendants knew opioids

were likely to be diverted to Plaintiff’s Community.




111
   See Rannazzisi Decl. ¶ 10, filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10,
2012), ECF No. 14-2.
112
   Masters Pharmaceuticals, Inc., 80 Fed. Reg. 55,418-01, 55,482 (Sept. 15, 2015) (citing Holiday CVS, L.L.C.,
d/b/a CVS/Pharmacy Nos. 219 and 5195, 77 Fed. Reg. 62,316, 62,322 (2012)).



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           205. The Distributor Defendants breached their duty to monitor, detect, investigate,

refuse and report suspicious orders of prescription opiates originating from Plaintiff’s

Community, and/or in areas from which the Distributor Defendants knew opioids were likely to

be diverted to Plaintiff’s Community.

           206. The Distributor Defendants breached their duty to maintain effective controls

against diversion of prescription opiates into other than legitimate medical, scientific, and

industrial channels.

           207. The Distributor Defendants breached their duty to “design and operate a system to

disclose to the registrant suspicious orders of controlled substances” and failed to inform the

authorities including the DEA of suspicious orders when discovered, in violation of their duties

under federal and state law.

           208. The Distributor Defendants breached their duty to exercise due diligence to avoid

filling suspicious orders that might be diverted into channels other than legitimate medical,

scientific and industrial channels.113

           209. The federal and state laws at issue here are public safety laws.

           210. The Distributor Defendants’ violations of public safety statutes constitute prima

facie evidence of negligence under state law.

           211. The Distributor Defendants supplied prescription opioids to obviously suspicious

physicians and pharmacies, enabled the illegal diversion of opioids, aided criminal activity, and

disseminated massive quantities of prescription opioids into the black market.

           212. The unlawful conduct by the Distributor Defendants was and is purposeful and

intentional. The Distributor Defendants refuse to abide by the duties imposed by federal and

113
      See Cardinal Health, Inc. v. Holder, 846 F. Supp. 2d 203, 206 (D.D.C. 2012).



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state law which are required to legally acquire and maintain a license to distribute prescription

opiates.

       213. The Distributor Defendants acted with actual malice in breaching their duties, i.e.,

they have acted with a conscious disregard for the rights and safety of other persons, and said

actions have a great probability of causing substantial harm.

       214. The Distributor Defendants’ repeated shipments of suspicious orders, over an

extended period of time, in violation of public safety statutes, and without reporting the

suspicious orders to the relevant authorities demonstrates wanton, willful, or reckless conduct or

criminal indifference to civil obligations affecting the rights of others and justifies an award of

punitive damages.

               3. The Distributor Defendants Have Sought to Avoid and Have
                  Misrepresented their Compliance with their Legal Duties.

       215. The Distributor Defendants have repeatedly misrepresented their compliance with

their legal duties under Commonwealth and federal law and have wrongfully and repeatedly

disavowed those duties in an effort to mislead regulators and the public regarding the Distributor

Defendants’ compliance with their legal duties.

       216. Distributor Defendants have refused to recognize any duty beyond reporting

suspicious orders.    In Masters Pharmaceuticals, the HDMA, a trade association run the

Distributor Defendants, and the NACDS submitted amicus briefs regarding the legal duty of

wholesale distributors. Inaccurately denying the legal duties that the wholesale drug industry has

been tragically recalcitrant in performing, they argued as follows:

           a. The Associations complained that the “DEA has required distributors not
              only to report suspicious orders, but to investigate orders (e.g., by




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                       interrogating pharmacies and physicians) and take action to halt
                       suspicious orders before they are filled.”114

                    b. The Associations argued that, “DEA now appears to have changed its
                       position to require that distributors not only report suspicious orders, but
                       investigate and halt suspicious orders. Such a change in agency position
                       must be accompanied by an acknowledgment of the change and a
                       reasoned explanation for it. In other words, an agency must display
                       awareness that it is changing position and show that there are good reasons
                       for the new policy. This is especially important here, because imposing
                       intrusive obligation on distributors threatens to disrupt patient access to
                       needed prescription medications.”115

                    c. The Associations alleged (inaccurately) that nothing “requires distributors
                       to investigate the legitimacy of orders, or to halt shipment of any orders
                       deemed to be suspicious.”116

                    d. The Association complained that the purported “practical infeasibility of
                       requiring distributors to investigate and halt suspicious orders (as well as
                       report them) underscores the importance of ensuring that DEA has
                       complied with the APA before attempting to impose such duties.”117

                    e. The Associations alleged (inaccurately) that “DEA’s regulations []
                       sensibly impose[] a duty on distributors simply to report suspicious
                       orders, but left it to DEA and its agents to investigate and halt suspicious
                       orders.”118

                    f. Also inaccurately, the Associations argued that, “[i]mposing a duty on
                       distributors – which lack the patient information and the necessary
                       medical expertise – to investigate and halt orders may force distributors to
                       take a shot-in-the-dark approach to complying with DEA’s demands.”119




114
      Brief for HDMA and NACDS, 2016 WL 1321983, at *4–5.
115
      Id. at *8 (citations and quotation marks omitted).
116
      Id. at *14.
117
      Id. at *22.
118
      Id. at *24–25.
119
      Id. at 26.



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        217. The positions taken by the trade groups is emblematic of the position taken by the

Distributor Defendants in a futile attempt to deny their legal obligations to prevent diversion of

the dangerous drugs.120

        218. The Court of Appeals for the District of Columbia recently issued its opinion

affirming that a wholesale drug distributor does, in fact, have duties beyond reporting. Masters

Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d 206 (D.C. Cir. 2017). The D.C. Circuit Court

upheld the revocation of Master Pharmaceutical’s license and determined that DEA regulations

require that in addition to reporting suspicious orders, distributors must “decline to ship the

order, or conduct some ‘due diligence’ and—if it is able to determine that the order is not likely

to be diverted into illegal channels—ship the order.” Id. at 212. Master Pharmaceutical was in

violation of legal requirements because it failed to conduct necessary investigations and filled

suspicious orders. Id. at 218–19, 226. A distributor’s investigation must dispel all the red flags

giving rise to suspicious circumstance prior to shipping a suspicious order. Id. at 226. The

Circuit Court also rejected the argument made by the HDMA and NACDS (quoted above), that,

allegedly, the DEA had created or imposed new duties. Id. at 220.

        219. Wholesale Distributor McKesson has recently been forced to specifically admit to

breach of its duties to monitor, report, and prevent suspicious orders.                   Pursuant to an

Administrative Memorandum of Agreement (“2017 Agreement”) entered into between

McKesson and the DEA in January 2017, McKesson admitted that, at various times during the

period from January 1, 2009 through the effective date of the Agreement (January 17, 2017) it

“did not identify or report to [the] DEA certain orders placed by certain pharmacies which


120
    See Brief of HDMA, 2012 WL 1637016, at *3 (arguing the wholesale distributor industry “does not know the
rules of the road because” they claim (inaccurately) that the “DEA has not adequately explained them”).



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should have been detected by McKesson as suspicious based on the guidance contained in the

DEA Letters.”121 Further, the 2017 Agreement specifically finds that McKesson “distributed

controlled substances to pharmacies even though those McKesson Distribution Centers should

have known that the pharmacists practicing within those pharmacies had failed to fulfill their

corresponding responsibility to ensure that controlled substances were dispensed pursuant to

prescriptions issued for legitimate medical purposes by practitioners acting in the usual course of

their professional practice, as required by 21 C.F.R § 1306.04(a).”122 McKesson admitted that,

during this time period, it “failed to maintain effective controls against diversion of particular

controlled substances into other than legitimate medical, scientific and industrial channels by

sales to certain of its customers in violation of the CSA and the CSA’s implementing regulations,

21 C.F.R. Part 1300 et seq., at the McKesson Distribution Centers” including the McKesson

Distribution Center located in “Washington Courthouse, Ohio.”123 Due to these violations,

McKesson agreed that its authority to distribute controlled substances from the Washington

Courthouse, Ohio facility (among other facilities) would be partially suspended.124

             220. The 2017 Memorandum of Agreement followed a 2008 Settlement Agreement in

which McKesson also admitted failure to report suspicious orders of controlled substances to the

DEA.125 In the 2008 Settlement Agreement, McKesson “recognized that it had a duty to monitor

its sales of all controlled substances and report suspicious orders to DEA,” but had failed to do



121
   See Administrative Memorandum of Agreement between the U.S. Dep’t of Justice, the Drug Enf’t Admin., and
the McKesson Corp. (Jan. 17, 2017), https://www.justice.gov/opa/press-release/file/928476/download.
122
      Id. at 4.
123
      Id.
124
      Id. at 6.
125
      Id. at 4.



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so.126 The 2017 Memorandum of Agreement documents that McKesson continued to breach its

admitted duties by “fail[ing] to properly monitor its sales of controlled substances and/or report

suspicious orders to DEA, in accordance with McKesson’s obligations.”127 As a result of these

violations, McKesson was fined and required to pay $150,000,000 to the United States.128

             221. Even though McKesson had been sanctioned in 2008 for failure to comply with its

legal obligations regarding controlling diversion and reporting suspicious orders, and even

though McKesson had specifically agreed in 2008 that it would no longer violate those

obligations, McKesson continued to violate the laws in contrast to its written agreement not to do

so.

             222. Because of the Distributor Defendants’ refusal to abide by their legal obligations,

the DEA has repeatedly taken administrative action to attempt to force compliance.                           For

example, in May 2014, the United States Department of Justice, Office of the Inspector General,

Evaluation and Inspections Divisions, reported that the DEA issued final decisions in 178

registrant actions between 2008 and 2012.129 The Office of Administrative Law Judges issued a

recommended decision in a total of 117 registrant actions before the DEA issued its final

decision, including 76 actions involving orders to show cause and 41 actions involving

immediate suspension orders.130 These actions include the following:

126
      Id.
127
    Id.; see also Settlement Agreement and Release between the U.S. and McKesson Corp., at 5 (Jan. 17, 2017)
[hereinafter 2017 Settlement Agreement and Release] (“McKesson acknowledges that, at various times during the
Covered Time Period [2009-2017], it did not identify or report to DEA certain orders placed by certain pharmacies,
which should have been detected by McKesson as suspicious, in a manner fully consistent with the requirements set
forth in the 2008 MOA.”), https://www.justice.gov/opa/press-release/file/928471/download.
128
      See 2017 Settlement Agreement and Release, at 6.
129
  Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
130
      Id.



                                                         84
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     a. On April 24, 2007, the DEA issued an Order to Show Cause and
        Immediate Suspension Order against the AmerisourceBergen Orlando,
        Florida distribution center (“Orlando Facility”) alleging failure to maintain
        effective controls against diversion of controlled substances. On June 22,
        2007, AmerisourceBergen entered into a settlement that resulted in the
        suspension of its DEA registration;

     b. On November 28, 2007, the DEA issued an Order to Show Cause and
        Immediate Suspension Order against the Cardinal Health Auburn,
        Washington Distribution Center (“Auburn Facility”) for failure to
        maintain effective controls against diversion of hydrocodone;

     c. On December 5, 2007, the DEA issued an Order to Show Cause and
        Immediate Suspension Order against the Cardinal Health Lakeland,
        Florida Distribution Center (“Lakeland Facility”) for failure to maintain
        effective controls against diversion of hydrocodone;

     d. On December 7, 2007, the DEA issued an Order to Show Cause and
        Immediate Suspension Order against the Cardinal Health Swedesboro,
        New Jersey Distribution Center (“Swedesboro Facility”) for failure to
        maintain effective controls against diversion of hydrocodone;

     e. On January 30, 2008, the DEA issued an Order to Show Cause and
        Immediate Suspension Order against the Cardinal Health Stafford, Texas
        Distribution Center (“Stafford Facility”) for failure to maintain effective
        controls against diversion of hydrocodone;

     f. On May 2, 2008, McKesson Corporation entered into an Administrative
        Memorandum of Agreement (“2008 MOA”) with the DEA which provided
        that McKesson would “maintain a compliance program designed to detect
        and prevent the diversion of controlled substances, inform DEA of
        suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the
        procedures established by its Controlled Substance Monitoring Program”;

     g. On September 30, 2008, Cardinal Health entered into a Settlement and
        Release Agreement and Administrative Memorandum of Agreement with
        the DEA related to its Auburn Facility, Lakeland Facility, Swedesboro
        Facility and Stafford Facility. The document also referenced allegations
        by the DEA that Cardinal failed to maintain effective controls against the
        diversion of controlled substances at its distribution facilities located in
        McDonough, Georgia (“McDonough Facility”), Valencia, California
        (“Valencia Facility”) and Denver, Colorado (“Denver Facility”);

                                         85
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            h. On February 2, 2012, the DEA issued an Order to Show Cause and
               Immediate Suspension Order against the Cardinal Health Lakeland,
               Florida Distribution Center (“Lakeland Facility”) for failure to maintain
               effective controls against diversion of oxycodone;

            i. On December 23, 2016, Cardinal Health agreed to pay a $44 million fine
               to the DEA to resolve the civil penalty portion of the administrative action
               taken against its Lakeland, Florida Distribution Center; and

            j. On January 5, 2017, McKesson Corporation entered into an
               Administrative Memorandum Agreement with the DEA wherein it agreed
               to pay a $150 million civil penalty for violation of the 2008 MOA as well
               as failure to identify and report suspicious orders at its facilities in Aurora
               CO, Aurora IL, Delran NJ, LaCrosse WI, Lakeland FL, Landover MD, La
               Vista NE, Livonia MI, Methuen MA, Santa Fe Springs CA, Washington
               Courthouse OH and West Sacramento CA.

        223. Rather than abide by their non-delegable duties under public safety laws, the

Distributor Defendants, individually and collectively through trade groups in the industry,

pressured the U.S. Department of Justice to “halt” prosecutions and lobbied Congress to strip the

DEA of its ability to immediately suspend distributor registrations. The result was a “sharp drop

in enforcement actions” and the passage of the “Ensuring Patient Access and Effective Drug

Enforcement Act” which, ironically, raised the burden for the DEA to revoke a distributor’s

license from “imminent harm” to “immediate harm” and provided the industry the right to “cure”

any violations of law before a suspension order can be issued.131



131
   See Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid Epidemic
Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-
enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA      Enforcement     Slowdown      Amid      Opioid      Crisis,    Wash.       Post,    Mar.    6,   2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had No
Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.



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        224. In addition to taking actions to limit regulatory prosecutions and suspensions, the

Distributor Defendants undertook to fraudulently convince the public that they were complying

with their legal obligations, including those imposed by licensing regulations. Through such

statements, the Distributor Defendants attempted to assure the public they were working to curb

the opioid epidemic.

        225. For example, a Cardinal Health executive claimed that it uses “advanced analytics”

to monitor its supply chain, and represented that it was being “as effective and efficient as

possible in constantly monitoring, identifying, and eliminating any outside criminal activity.”132

Given the sales volumes and the company’s history of violations, this executive was either not

telling the truth, or, if Cardinal Health had such a system, it ignored the results.

        226. Similarly, Defendant McKesson publicly stated that it has a “best-in-class

controlled substance monitoring program to help identify suspicious orders,” and claimed it is

“deeply passionate about curbing the opioid epidemic in our country.”133                        Again, given

McKesson’s historical conduct, this statement is either false, or the company ignored outputs of

the monitoring program.

        227. By misleading the public about the effectiveness of their controlled substance

monitoring programs, the Distributor Defendants successfully concealed the facts sufficient to

arouse suspicion of the claims that Plaintiff now asserts. Plaintiff did not know of the existence




132
   Lenny Bernstein et al., How Drugs Intended for Patients Ended Up in the Hands of Illegal Users: “No One Was
Doing Their Job,” Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/how-drugs-intended-
for-patients-ended-up-in-the-hands-of-illegal-users-no-one-was-doing-their-job/2016/10/22/10e79396-30a7-11e6-
8ff7-7b6c1998b7a0_story.html.
133
   Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb Opioid
Abuse, Wash. Post, Dec. 22, 2016, https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-
dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.



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or scope of Defendants’ industry-wide fraud and could not have acquired such knowledge earlier

through the exercise of reasonable diligence.

        228. Meanwhile, the opioid epidemic rages unabated in the Nation, the Commonwealth,

and in Plaintiff’s Community.

        229. The epidemic still rages because the fines and suspensions imposed by the DEA do

not change the conduct of the industry. The distributors, including the Distributor Defendants,

pay fines as a cost of doing business in an industry that generates billions of dollars in annual

revenue. They hold multiple DEA registration numbers and when one facility is suspended, they

simply ship from another facility.

        230. The wrongful actions and omissions of the Distributor Defendants which have

caused the diversion of opioids and which have been a substantial contributing factor to and/or

proximate cause of the opioid crisis are alleged in greater detail in Plaintiff’s racketeering

allegations below.

        231. The Distributor Defendants have abandoned their duties imposed under federal and

Commonwealth law, taken advantage of a lack of DEA law enforcement, and abused the

privilege of distributing controlled substances in the Commonwealth and Plaintiff’s Community.

        D. THE MANUFACTURER DEFENDANTS’ UNLAWFUL FAILURE TO
           PREVENT DIVERSION AND MONITOR, REPORT, AND PREVENT
           SUSPICIOUS ORDERS.

        232. The same legal duties to prevent diversion, and to monitor, report, and prevent

suspicious orders of prescription opioids that were incumbent upon the Distributor Defendants

were also legally required of the Manufacturer Defendants under federal and Commonwealth

law.

        233. The Manufacturing Defendants were required to comply with substantially the

same licensing and permitting requirements as the Distributor Defendants.
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       234.   Under the laws of the Commonwealth of Massachusetts, all distributors and

manufacturers of controlled substances must be registered with the state. See, e.g., M.G.L. c.

94C, § 7. Registration requirements for manufacturers and distributors of controlled substances

in Massachusetts mandate operation in accordance with "the public interest," "maintenance of

effective controls against diversion," and "compliance with applicable federal, state, and local

law." M.G.L. c. 94C, § 12.

       235. Like the Distributor Defendants, the Manufacturer Defendants were required to

register with the DEA to manufacture schedule II controlled substances, like prescription

opioids. See 21 U.S.C. § 823(a). A requirement of such registration is the:

       maintenance of effective controls against diversion of particular controlled
       substances and any controlled substance in schedule I or II compounded
       therefrom into other than legitimate medical, scientific, research, or industrial
       channels, by limiting the importation and bulk manufacture of such controlled
       substances to a number of establishments which can produce an adequate and
       uninterrupted supply of these substances under adequately competitive
       conditions for legitimate medical, scientific, research, and industrial purposes . .
       ..

21 USCA § 823(a)(1) (emphasis added).

       236. Additionally, as “registrants” under Section 823, the Manufacturer Defendants

were also required to monitor, report, and prevent suspicious orders of controlled substances:

       The registrant shall design and operate a system to disclose to the registrant
       suspicious orders of controlled substances. The registrant shall inform the Field
       Division Office of the Administration in his area of suspicious orders when
       discovered by the registrant. Suspicious orders include orders of unusual size,
       orders deviating substantially from a normal pattern, and orders of unusual
       frequency.

21 C.F.R. § 1301.74. See also 21 C.F.R. § 1301.02 (“Any term used in this part shall have the

definition set forth in section 102 of the Act (21 U.S.C. 802) or part 1300 of this chapter.”); 21

C.F.R. § 1300.01 (“Registrant means any person who is registered pursuant to either section 303



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or section 1008 of the Act (21 U.S.C. 823 or 958).” Like the Distributor Defendants, the

Manufacture Defendants breached these duties.

        237. The Manufacturer Defendants had access to and possession of the information

necessary to monitor, report, and prevent suspicious orders and to prevent diversion. The

Manufacturer Defendants engaged in the practice of paying “chargebacks” to opioid distributors.

A chargeback is a payment made by a manufacturer to a distributor after the distributor sells the

manufacturer’s product at a price below a specified rate.                      After a distributor sells a

manufacturer’s product to a pharmacy, for example, the distributor requests a chargeback from

the manufacturer and, in exchange for the payment, the distributor identifies to the manufacturer

the product, volume and the pharmacy to which it sold the product. Thus, the Manufacturer

Defendants knew – just as the Distributor Defendants knew – the volume, frequency, and pattern

of opioid orders being placed and filled. The Manufacturer Defendants built receipt of this

information into the payment structure for the opioids provided to the opioid distributors.

        238. Federal statutes and regulations – and Commonwealth law incorporating those

requirements - are clear: just like opioid distributors, opioid manufacturers are required to

“design and operate a system to disclose . . . suspicious orders of controlled substances” and to

maintain “effective controls against diversion.” 21 C.F.R. § 1301.74; 21 U.S.C.A. § 823(a)(1).

        239. The Department of Justice has recently confirmed the suspicious order obligations

clearly imposed by federal law upon opioid manufacturers, fining Mallinckrodt $35 million for

failure to report suspicious orders of controlled substances, including opioids, and for violating

recordkeeping requirements.134



134
   See Press Release, U.S. Dep’t of Justice, Mallinckrodt Agrees to Pay Record $35 Million Settlement for Failure
to Report Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping Violations (July 11, 2017),


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             240. In the press release accompanying the settlement, the Department of Justice stated:

Mallinckrodt did not meet its obligations to detect and notify DEA of suspicious orders of

controlled substances such as oxycodone, the abuse of which is part of the current opioid

epidemic. These suspicious order monitoring requirements exist to prevent excessive sales of

controlled substances, like oxycodone . . . . Mallinckrodt’s actions and omissions formed a link

in the chain of supply that resulted in millions of oxycodone pills being sold on the street. . . .

“Manufacturers and distributors have a crucial responsibility to ensure that controlled substances

do not get into the wrong hands. . . .”135

             241. Among the allegations resolved by the settlement, the government alleged

“Mallinckrodt failed to design and implement an effective system to detect and report

‘suspicious orders’ for controlled substances – orders that are unusual in their frequency, size, or

other patterns . . . [and] Mallinckrodt supplied distributors, and the distributors then supplied

various U.S. pharmacies and pain clinics, an increasingly excessive quantity of oxycodone pills

without notifying DEA of these suspicious orders.”136

             242. The Memorandum of Agreement entered into by Mallinckrodt (“2017 Mallinckrodt

MOA”) avers “[a]s a registrant under the CSA, Mallinckrodt had a responsibility to maintain

effective controls against diversion, including a requirement that it review and monitor these

sales and report suspicious orders to DEA.”137



https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-million-settlement-failure-report-suspicious-
orders
135
      Id.
136
      Id.
137
    Administrative Memorandum of Agreement between the United States Department of Justice, the Drug
Enforcement Agency, and Mallinckrodt, plc. and its subsidiary Mallinckrodt, LLC (July 10, 2017),
https://www.justice.gov/usao-edmi/press-release/file/986026/download. (“2017 Mallinckrodt MOA”).



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           243. The 2017 Mallinckrodt MOA further details the DEA’s allegations regarding

Mallinckrodt’s failures to fulfill its legal duties as an opioid manufacturer:

           With respect to its distribution of oxycodone and hydrocodone products,
           Mallinckrodt's alleged failure to distribute these controlled substances in a
           manner authorized by its registration and Mallinckrodt's alleged failure to
           operate an effective suspicious order monitoring system and to report suspicious
           orders to the DEA when discovered as required by and in violation of 21 C,F.R.
           § 1301.74(b). The above includes, but is not limited to Mallinckrodt's alleged
           failure to:

                        i. conduct adequate due diligence of its customers;

                       ii. detect and report to the DEA orders of unusual size and
                           frequency;

                       iii. detect and report to the DEA orders deviating substantially from
                            normal patterns including, but not limited to, those identified in
                            letters from the DEA Deputy Assistant Administrator, Office of
                            Diversion Control, to registrants dated September 27, 2006 and
                            December 27, 2007:

                                1. orders that resulted in a disproportionate amount of a
                                   substance which is most often abused going to a
                                   particular geographic region where there was known
                                   diversion,

                                2. orders that purchased a disproportionate amount of a
                                   substance which is most often abused compared to other
                                   products, and

                                3.   orders from downstream customers to distributors who
                                     were purchasing from multiple different distributors, of
                                     which Mallinckrodt was aware;

                       iv. use "chargeback" information from its distributors to evaluate
                           suspicious orders. Chargebacks include downstream purchasing
                           information tied to certain discounts, providing Mallinckrodt
                           with data on buying patterns for Mallinckrodt products; and

                       v. take sufficient action to prevent recurrence of diversion by
                          downstream customers after receiving concrete information of
                          diversion of Mallinckrodt product by those downstream
                          customers.138
138
      2017 Mallinckrodt MOA at p. 2-3.


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            244. Mallinckrodt agreed that its “system to monitor and detect suspicious orders did not

meet the standards outlined in letters from the DEA Deputy Administrator, Office of Diversion

Control, to registrants dated September 27, 2006 and December 27, 2007.” Mallinckrodt further

agreed that it “recognizes the importance of the prevention of diversion of the controlled

substances they manufacture” and would “design and operate a system that meets the

requirements of 21 CFR 1301.74(b) . . . [such that it would] utilize all available transaction

information to identify suspicious orders of any Mallinckrodt product. Further, Mallinckrodt

agrees to notify DEA of any diversion and/or suspicious circumstances involving any

Mallinckrodt controlled substances that Mallinckrodt discovers.”139

            245. Mallinckrodt acknowledged that “[a]s part of their business model Mallinckrodt

collects transaction information, referred to as chargeback data, from their direct customers

(distributors). The transaction information contains data relating to the direct customer sales of

controlled substances to "downstream" registrants.” Mallinckrodt agreed that, from this data, it

would “report to the DEA when Mallinckrodt concludes that the chargeback data or other

information indicates that a downstream registrant poses a risk of diversion.”140

            246. The same duties imposed by federal law on Mallinckrodt were imposed upon all

Manufacturer Defendants.

            247. The same business practices utilized by Mallinckrodt regarding “charge backs” and

receipt and review of data from opioid distributors regarding orders of opioids were utilized

industry-wide among opioid manufacturers and distributors, including, upon information and

belief, the other Manufacturer Defendants.


139
      Id. at 3-4.
140
      Id. at p.5.



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        248. Through, inter alia, the charge back data, the Manufacturer Defendants could

monitor suspicious orders of opioids.

        249. The Manufacturer Defendants failed to monitor, report, and halt suspicious orders

of opioids as required by federal law.

        250. The Manufacturer Defendants’ failures to monitor, report, and halt suspicious

orders of opioids were intentional and unlawful.

        251. The Manufacturer Defendants have misrepresented their compliance with federal

law.

        252. The Manufacturer Defendants enabled the supply of prescription opioids to

obviously suspicious physicians and pharmacies, enabled the illegal diversion of opioids, aided

criminal activity, and disseminated massive quantities of prescription opioids into the black

market.

        253. The wrongful actions and omissions of the Manufacturer Defendants which have

caused the diversion of opioids and which have been a substantial contributing factor to and/or

proximate cause of the opioid crisis are alleged in greater detail in Plaintiff’s racketeering

allegations below.

        254. The Manufacturer Defendants’ actions and omissions in failing to effective prevent

diversion and failing to monitor, report, and prevent suspicious orders have enabled the unlawful

diversion of opioids into Plaintiff’s Community.

        E. DEFENDANTS’ UNLAWFUL CONDUCT AND BREACHES OF LEGAL
           DUTIES CAUSED THE HARM ALLEGED HEREIN AND SUBSTANTIAL
           DAMAGES.

        255. As the Manufacturer Defendants’ efforts to expand the market for opioids increased

so have the rates of prescription, distribution and sale of their products — as have the rates of

opioid-related substance abuse, hospitalization, and death among the people of the
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Commonwealth and the Plaintiff’s Community. The Distributor Defendants have continued to

unlawfully ship these massive quantities of opioids into communities like the Plaintiff’s

Community, fueling the epidemic.

        256. There is a “parallel relationship between the availability of prescription opioid

analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

associated adverse outcomes.”141

        257. Opioid analgesics are widely diverted and improperly used, and the widespread use

of the drugs has resulted in a national epidemic of opioid overdose deaths and addictions.142

        258. The epidemic is “directly related to the increasingly widespread misuse of powerful

opioid pain medications.”143

        259. The increased abuse of prescription painkillers along with growing sales has

contributed to a large number of overdoses and deaths.144

        260. As shown above, the opioid epidemic has escalated in Plaintiff’s Community with

devastating effects. Substantial opiate-related substance abuse, hospitalization and death mirrors

Defendants’ increased distribution of opiates.

        261. Because of the well-established relationship between the use of prescription opiates

and the use of non-prescription opioids, like heroin, the massive distribution of opioids to

Plaintiffs’ Community and areas from which such opioids are being diverted into Plaintiff’s

141
  See Richard C. Dart et al, Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Eng. J.
Med. 241 (2015).
142
   See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).
143
   See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480
(2016).
144
    See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs.,
Prescription     Painkiller      Overdoses      at      Epidemic        Levels  (Nov.     1,    2011),
https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.



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Community has caused the Defendant-caused opioid epidemic to include heroin addiction,

abuse, and death.

       262. Prescription opioid abuse, addiction, morbidity, and mortality are hazards to public

health and safety in the Commonwealth and in Plaintiff’s Community.

       263. Heroin abuse, addiction, morbidity, and mortality are hazards to public health and

safety in the Commonwealth and in Plaintiff’s Community.

       264. Defendants      repeatedly     and   purposefully    breached     their   duties   under

Commonwealth and federal law, and such breaches are direct and proximate causes of, and/or

substantial factors leading to, the widespread diversion of prescription opioids for nonmedical

purposes into the Plaintiff’s Community.

       265. The unlawful diversion of prescription opioids is a direct and proximate cause of,

and/or substantial factor leading to, the opioid epidemic, prescription opioid abuse, addiction,

morbidity and mortality in the Commonwealth and Plaintiff’s Community. This diversion and

the epidemic are direct causes of foreseeable harms incurred by Plaintiff and Plaintiff’s

Community.

       266. Defendants’ intentional and/or unlawful conduct resulted in direct and foreseeable,

past and continuing, economic damages for which Plaintiff seeks relief, as alleged herein.

Plaintiff also seeks the means to abate the epidemic created by Defendants’ wrongful and/or

unlawful conduct.

       267. Plaintiff seeks economic damages from Defendants as reimbursement for the costs

association with past efforts to eliminate the hazards to public health and safety.




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         268. Plaintiff seeks economic damages from Defendants to pay for the cost to

permanently eliminate the hazards to public health and safety and abate the temporary public

nuisance.

         269. To eliminate the hazard to public health and safety, and abate the public nuisance, a

“multifaceted, collaborative public health and law enforcement approach is urgently needed.”145

         270. A comprehensive response to this crisis must focus on preventing new cases of

opioid addiction, identifying early opioid-addicted individuals, and ensuring access to effective

opioid addiction treatment while safely meeting the needs of patients experiencing pain. 146

         271. These community-based problems require community-based solutions that have

been limited by “budgetary constraints at the state and Federal levels.”147

         272. Having profited enormously through the aggressive sale, misleading promotion,

and irresponsible distribution of opiates, Defendants should be required to take responsibility for

the financial burdens their conduct has inflicted upon Plaintiff and Plaintiff’s Community.

         F. STATUTES OF LIMITATIONS ARE TOLLED AND DEFENDANTS ARE
            ESTOPPED FROM ASSERTED STATUTES OF LIMITATIONS AS
            DEFENSES.

                 1. Continuing Conduct.

         273. Plaintiff contends it continues to suffer harm from the unlawful actions by

Defendants.




145
   See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—United States, 2000–2014, 64
Morbidity & Mortality Wkly. Rep. 1378 (2016), at 1145.
146
   See Johns Hopkins Bloomberg School of Public Health, The Prescription Opioid Epidemic: An Evidence-Based
Approach (G. Caleb Alexander et al. eds., 2015), http://www.jhsph.edu/research/centers-and-institutes/center-for-
drug-safety-and-effectiveness/research/prescription-opioids/JHSPH_OPIOID_EPIDEMIC_REPORT.pdf.
147
   See Office of Nat’l Drug Control Policy, Exec. Office of the President, Epidemic: Responding to America’s
Prescription Drug Abuse Crisis (2011), https://www.ncjrs.gov/pdffiles1/ondcp/rx_abuse_plan.pdf.



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            274. The continued tortious and unlawful conduct by Defendants causes a repeated or

continuous injury. The damages have not occurred all at once but have continued to occur and

have increased as time progresses. The tort is not completed nor have all the damages been

incurred until the wrongdoing ceases. The wrongdoing and unlawful activity by Defendants has

not ceased. The public nuisance remains unabated.

                     2. Equitable Estoppel.

            275. Defendants are equitably estopped from relying upon a statute of limitations

defense because they undertook efforts to purposefully conceal their unlawful conduct and

fraudulently assure the public, including the Commonwealth, Plaintiff, and Plaintiff’s

Community, that they were undertaking efforts to comply with their obligations under the

Commonwealth and federal controlled substances laws, all with the goal of protecting their

registered manufacturer or distributor status in the Commonwealth and to continue generating

profits. Notwithstanding the allegations set forth above, Defendants affirmatively assured the

public, including the Commonwealth, Plaintiff, and Plaintiff’s Community, that they are working

to curb the opioid epidemic.

            276. For example, a Cardinal Health executive claimed that it uses “advanced analytics”

to monitor its supply chain, and assured the public it was being “as effective and efficient as

possible in constantly monitoring, identifying, and eliminating any outside criminal activity.”148

            277. Similarly, McKesson publicly stated that it has a “best-in-class controlled substance

monitoring program to help identify suspicious orders,” and claimed it is “deeply passionate

about curbing the opioid epidemic in our country.”149



148
      Bernstein et al., supra.



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           278. Moreover, in furtherance of their effort to affirmatively conceal their conduct and

avoid detection, the Distributor Defendants, through their trade associations, HDMA and

NACDS, filed an amicus brief in Masters Pharmaceuticals, which made the following

statements:150

               a. “HDMA and NACDS members not only have statutory and regulatory

                   responsibilities to guard against diversion of controlled prescription drugs, but

                   undertake such efforts as responsible members of society.”

               b. “DEA regulations that have been in place for more than 40 years require

                   distributors to report suspicious orders of controlled substances to DEA based on

                   information readily available to them (e.g., a pharmacy’s placement of unusually

                   frequent or large orders).”

               c. “Distributors take seriously their duty to report suspicious orders, utilizing both

                   computer algorithms and human review to detect suspicious orders based on the

                   generalized information that is available to them in the ordering process.”

               d. “A particular order or series of orders can raise red flags because of its unusual

                   size, frequency, or departure from typical patterns with a given pharmacy.”

               e. “Distributors also monitor for and report abnormal behavior by pharmacies

                   placing orders, such as refusing to provide business contact information or

                   insisting on paying in cash.”




149
   Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb Opioid
Abuse, Wash. Post, Dec. 22, 2016, https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-
dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.
150
      Brief for HDMA and NACDS, 2016 WL 1321983, at *3-4, *25.



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Through the above statements made on their behalf by their trade associations, and other similar

statements assuring their continued compliance with their legal obligations, the Distributor

Defendants not only acknowledged that they understood their obligations under the law, but they

further affirmed that their conduct was in compliance with those obligations.

       279. The Distributor Defendants have also concealed and prevented discovery of

information, including data from the ARCOS database, that will confirm their identities and the

extent of their wrongful and illegal activities.

       280. The Manufacturer Defendants distorted the meaning or import of studies they cited

and offered them as evidence for propositions the studies did not support. The Manufacturer

Defendants invented “pseudoaddiction” and promoted it to an unsuspecting medical community.

The Manufacturer Defendants provided the medical community with false and misleading

information about ineffectual strategies to avoid or control opioid addiction. The Manufacturer

Defendants recommended to the medical community that dosages be increased, without

disclosing the risks. The Manufacturer Defendants spent millions of dollars over a period of

years on a misinformation campaign aimed at highlighting opioids’ alleged benefits, disguising

the risks, and promoting sales. The medical community, consumers, the Commonwealth, and

Plaintiff, Plaintiff’s Community were duped by the Manufacturer Defendants’ campaign to

misrepresent and conceal the truth about the opioid drugs that they were aggressively pushing in

the Commonwealth and in Plaintiff’s Community.

       281. Defendants intended that their actions and omissions would be relied upon,

including by Plaintiff and Plaintiff’s Community. Plaintiff and Plaintiff’s Community did not

know, and did not have the means to know, the truth due to Defendants’ actions and omissions.




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          282. Plaintiff and Plaintiff’s Community reasonably relied on Defendants’ affirmative

statements regarding their purported compliance with their obligations under the law and consent

orders.

               3. Fraudulent Concealment.

          283. Plaintiff’s claims are further subject to equitable tolling, stemming from

Defendants’ knowingly and fraudulently concealing the facts alleged herein. As alleged herein,

Defendants knew of the wrongful acts set forth above, and had material information pertinent to

their discovery, and concealed them from the Plaintiff and Plaintiff’s community. Plaintiff did

not know, or could not have known through the exercise of reasonable diligence, of its cause of

action, as a result of Defendants’ conduct.

          284. The purposes of the statutes of limitations period are satisfied because Defendants

cannot claim prejudice due to a late filing where Plaintiff filed suit promptly upon discovering

the facts essential to its claims, described herein, which Defendants knowingly concealed.

          285. In light of their statements to the media, in legal filings, and settlements, it is clear

that Defendants had actual or constructive knowledge that their conduct was deceptive, in that

they consciously concealed the schemes set forth herein

          286. Defendants continually and secretly engaged in their scheme to avoid compliance

with their legal obligations. Only Defendants and their agents knew or could have known about

Defendants’ unlawful actions because Defendants made deliberate efforts to conceal their

conduct. As a result of the above, Plaintiff was unable to obtain vital information bearing on its

claims absent any fault or lack of diligence on its part.




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                              V. LEGAL CAUSES OF ACTION

                                            COUNT I
                                      PUBLIC NUISANCE
                                     (Against all Defendants)

       287. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       288. Each Defendant is liable for public nuisance because its conduct at issue has caused

an unreasonable and substantial interference with a right common to the general public, which is

the proximate cause of, and/or substantial factor leading to, Plaintiff’s injury. See Restatement

Second, Torts § 821B.

       289. By causing dangerously addictive drugs to flood the community, and to be diverted

for illicit purposes, in contravention of federal and State law, each Defendant has injuriously

affected rights common to the general public, specifically including the rights of the people of

the Plaintiff’s Community to public health, safety, peace, comfort, and convenience. The public

nuisance caused by Defendants’ actions has caused substantial annoyance, inconvenience, and

injury to the public.

       290. Each Manufacturing Defendant unreasonably and substantially interfered with the

public health, safety, peace, comfort and convenience of the Plaintiff’s Community by, inter alia,

promoting and marketing the use of opioids in a misleading and fraudulent manner, and

circulating false and misleading information concerning their safety and efficacy and/or

minimizing or omitting the risk of addiction from their use.

       291. By distributing and selling dangerously addictive opioid drugs not connected to a

legitimate medical, scientific, or industrial purpose, all Defendants have committed a course of

conduct that injuriously affects the safety, health, and morals of the people of the Plaintiff’s

Community.
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        292. By failing to maintain a closed system that guards against diversion of dangerously

addictive drugs for illicit purposes and by failing to report suspicious orders of opioids,

Defendants injuriously affected public rights, including the right to public health, public safety,

public peace, and public comfort of the people of the Plaintiff’s Community.

        293. Defendants’ wrongful and illegal actions have created a public nuisance. Each

Defendant is liable for public nuisance because its conduct at issue has caused an unreasonable

interference with a right common to the general public.

        294. Defendants have intentionally and/or unlawfully created a nuisance.

        295. The residents of Plaintiff’s Community have a common right to be free from

conduct that creates an unreasonable jeopardy to the public health, welfare and safety, and to be

free from conduct that creates a disturbance and reasonable apprehension of danger to person and

property.

        296. Defendants intentionally, unlawfully, and recklessly manufacture, market,

distribute, and sell prescription opioids that Defendants know, or reasonably should know, will

produce widespread distribution of prescription opioids in and/or to Plaintiff’s Community,

resulting in addiction and abuse, an elevated level of crime, death and injuries to the residents of

Plaintiff’s Community, a higher level of fear, discomfort and inconvenience to the residents of

Plaintiff’s Community, and direct costs to Plaintiff’s Community.

        297. Defendants have unlawfully and/or intentionally caused and permitted dangerous

drugs under their control to be distributed and/or sold such as to injure the Plaintiff’s Community

and its residents.

        298. Defendants have unlawfully and/or intentionally distributed opioids or caused

opioids to be distributed without maintaining effective controls against diversion. Such conduct



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was illegal.   Defendants’ failures to maintain effective controls against diversion include

Defendants’ failure to effectively monitor for suspicious orders, report suspicious orders, and/or

stop shipment of suspicious orders.

       299. Defendants have caused a significant and unreasonable interference with the public

health, safety, welfare, peace, comfort and convenience, and ability to be free from disturbance

and reasonable apprehension of danger to person or property.

       300. Defendants’ conduct in illegally marketing, promoting, distributing and/or selling

prescription opioids, or causing such opioids to be distributed and sold, where Defendants know,

or reasonably should know, such opioids will be diverted and possessed and/or used illegally

Plaintiff’s Community is of a continuing nature.

       301. Defendants’ intentional and unlawful actions and omissions and unreasonable

interference with a right common to the public are of a continuing nature and have produced a

significant effect upon the public’s rights, including the public’s right to health and safety.

       302. A violation of any rule or law controlling the distribution of a drug of abuse in

Plaintiff’s Community and the State is a public nuisance.

       303. Defendants’ distribution of opioids while failing to report suspicious orders and

maintain effective controls against diversion was proscribed by statute and regulation.

       304. Defendants’ ongoing conduct produces an ongoing nuisance, as the prescription

opioids that they allow and/or cause to be illegally distributed and possessed in Plaintiff’s

Community lead to abuse, addiction, crime, and public health costs.

       305. Because of the continued use and addiction caused by these illegally distributed

opioids, the public will continue to fear for its health, safety and welfare, and will be subjected to

conduct that creates a disturbance and reasonable apprehension of danger to person and property.



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       306. Defendants know, or reasonably should know, that their conduct will have an

ongoing detrimental effect upon the public health, safety and welfare, and the public’s ability to

be free from disturbance and reasonable apprehension of danger to person and property.

       307. Defendants know, or reasonably should know, that their conduct causes an

unreasonable invasion of the public right to health, safety and welfare and the public’s ability to

be free from disturbance and reasonable apprehension of danger to person and property.

       308. Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in Plaintiff’s Community. Defendants

are in the business of manufacturing, marketing, selling, and distributing prescription drugs,

including opioids, which are specifically known to Defendants to be dangerous under federal

law. See, e.g., 21 U.S.C. § 812 (b)(2).

       309. Defendants’ conduct in marketing, distributing, and selling prescription opioids

which the defendants know, or reasonably should know, will likely be diverted for non-

legitimate, non-medical use, creates a strong likelihood that these illegal distributions of opioids

will cause death and injuries to residents in Plaintiff’s Community and otherwise significantly

and unreasonably interfere with public health, safety and welfare, and with the public’s right to

be free from disturbance and reasonable apprehension of danger to person and property.

       310. It is, or should be, reasonably foreseeable to Defendants that their conduct will

cause deaths and injuries to residents in Plaintiff’s Community, and will otherwise significantly

and unreasonably interfere with public health, safety and welfare, and with the public’s right to

be free from disturbance and reasonable apprehension of danger to person and property.

       311. The prevalence and availability of diverted prescription opioids in the hands of

irresponsible persons and persons with criminal purposes in Plaintiff’s Community not only



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causes deaths and injuries, but also creates a palpable climate of fear among residents in

Plaintiff’s Community where opioid diversion, abuse, and addiction are prevalent and where

opioids tend to be misused frequently.

        312. Defendants’ conduct makes it easier for persons to misuse and divert prescription

opioids, constituting a dangerous threat to the public.

        313. Defendants’ actions were, at the least, a substantial factor in opioids becoming

widely available and widely used for non-medical purposes. Because of Defendants’ special

positions within the closed system of opioid distribution, without Defendants’ actions, opioid use

would not have become so widespread, and the enormous public health hazard of prescription

opioid and heroin overuse, abuse, and addiction that now exists would have been averted.

        314. The presence of diverted prescription opioids in Plaintiff’s Community, and the

consequence of prescription opioids having been diverted in Plaintiff’s Community, proximately

results in and/or substantially contributes to the creation of significant costs to the Plaintiff and to

Plaintiff’s Community in order to enforce the law, equip its police force and treat the victims of

opioid abuse and addiction.

        315. Stemming the flow of illegally distributed prescription opioids, and abating the

nuisance caused by the illegal flow of opioids, will help to alleviate this problem, save lives,

prevent injuries and make Plaintiff’s Community a safer place to live.

        316. Defendants’ conduct is a direct and proximate cause of and/or a substantial

contributing factor to opioid addiction and abuse in Plaintiff’s Community, costs borne by

Plaintiff’s Community and the Plaintiff, and a significant and unreasonable interference with

public health, safety and welfare, and with the public’s right to be free from disturbance and

reasonable apprehension of danger to person and property.



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       317. Defendants’ conduct constitutes a public nuisance and, if unabated, will continue to

threaten the health, safety and welfare of the residents of Plaintiff’s Community, creating an

atmosphere of fear and addiction that tears at the residents’ sense of well-being and security.

Plaintiff has a clearly ascertainable right to abate conduct that perpetuates this nuisance.

       318. Defendants created an intentional nuisance.           Defendants’ actions created and

expanded the abuse of opioids, which are dangerously addictive, and the ensuing associated

plague of prescription opioid and heroin addiction. Defendants knew the dangers to public

health and safety that misuse and diversion of opioids would create in Plaintiff’s Community,

however, Defendants intentionally and/or unlawfully failed to maintain effective controls

through proper monitoring, reporting and refusal to fill suspicious orders of opioids. Defendants

intentionally and/or unlawfully distributed opioids or caused opioids to be distributed without

reporting or refusing to fill suspicious orders or taking other measures to maintain effective

controls.   Defendants intentionally and/or unlawfully continued to ship and failed to halt

suspicious orders of opioids, or caused such orders to be shipped. Defendants intentionally

and/or unlawfully marketed opioids in manners they knew to be false and misleading. Such

actions were inherently dangerous.

       319. Defendants knew the prescription opioids have a high likelihood of being misused

and/or diverted. It was foreseeable to Defendants that where Defendants distributed prescription

opioids or caused such opioids to be distributed without maintaining effective controls, including

monitoring, reporting, and refusing shipment of suspicious orders, that the opioids would be

misused and/or diverted, and create an opioid abuse nuisance in Plaintiff’s Community.




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       320. Defendants’ actions also created a nuisance by acting recklessly, negligently and/or

carelessly, in breach of their duties to maintain effective controls against diversion, thereby

creating an unreasonable risk of harm.

       321. Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in the Plaintiff’s community. Defendants

are in the business of manufacturing or distributing prescription drugs, including opioids, which

are specifically known to Defendants to be dangerous because, inter alia, these drugs are defined

under federal and state law as substances posing a high potential for abuse and severe addiction.

Defendants created an intentional nuisance. Defendants’ actions created and expanded the abuse

of opioids, drugs specifically codified as constituting severely harmful substances.

       322. The public nuisance created by Defendants’ actions is substantial and unreasonable

– it has caused and continues to cause significant harm to the community, and the harm inflicted

outweighs any offsetting benefit. The staggering rates of opioid and heroin use resulting from

Defendants’ abdication of their gate-keeping and diversion prevention duties, and the

Manufacturer Defendants’ fraudulent marketing activities, have caused harm to the entire

community that includes, but is not limited to the following:

           a. The high rates of use leading to unnecessary opioid abuse, addiction, overdose,
              injuries, and deaths.

           b. Even children have fallen victim to the opioid epidemic. Easy access to
              prescription opioids made opioids a recreational drug of choice among teenagers.
              Even infants have been born addicted to opioids due to prenatal exposure, causing
              severe withdrawal symptoms and lasting developmental impacts.

           c. Even those residents of Plaintiff’s Community who have never taken opioids have
              suffered from the public nuisance arising from Defendants’ abdication of their
              gate-keeper duties and fraudulent promotions. Many residents have endured both
              the emotional and financial costs of caring for loved ones addicted to or injured
              by opioids, and the loss of companionship, wages, or other support from family


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               members who have used, abused, become addicted to, overdosed on, or been
               killed by opioids.

           d. The opioid epidemic has increased health care costs.

           e. Employers have lost the value of productive and healthy employees.

           f. Defendants’ conduct created an abundance of drugs available for criminal use and
              fueled a new wave of addiction, abuse, and injury.

           g. Defendants’ dereliction of duties and/or fraudulent misinformation campaign
              pushing dangerous drugs resulted in a diverted supply of narcotics to sell, and the
              ensuing demand of addicts to buy them. More prescription opioids sold by
              Defendants led to more addiction, with many addicts turning from prescription
              opioids to heroin. People addicted to opioids frequently require increasing levels
              of opioids, and many turned to heroin as a foreseeable result.

           h. The diversion of opioids into the secondary, criminal market and the increased
              number of individuals who abuse or are addicted to opioids increased the
              demands on health care services and law enforcement.

           i. The significant and unreasonable interference with the public rights caused by
              Defendants’ conduct taxed the human, medical, public health, law enforcement,
              and financial resources of the Plaintiff’s Community.

           j. Defendants’ interference with the comfortable enjoyment of life in the Plaintiff’s
              Community is unreasonable because there is little social utility to opioid diversion
              and abuse, and any potential value is outweighed by the gravity of the harm
              inflicted by Defendants’ actions.

       323. Defendants acted with actual malice because Defendants acted with a conscious

disregard for the rights and safety of other persons, and said actions have a great probability of

causing substantial harm.

       324. The damages available to Plaintiff include, inter alia, recoupment of governmental

costs, flowing from an ongoing and persistent public nuisance which the government seeks to

abate. Defendants’ conduct is ongoing and persistent, and Plaintiff seeks all damages flowing

from Defendants’ conduct. Plaintiff further seeks to abate the nuisance and harm created by

Defendants’ conduct.

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       325. As a direct result of Defendants’ conduct, Plaintiff and Plaintiff’s Community have

suffered actual injury and damages including, but not limited to, significant expenses for police,

emergency, health, prosecution, corrections and other services. Plaintiff here seeks recovery for

its own harm.

       326. Plaintiff and Plaintiff’s Community have sustained specific and special injuries

because its damages include, inter alia, health services and law enforcement expenditures, as

described in this Complaint.

       327. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ fraudulent activity and fraudulent misrepresentations.

Plaintiff does not seek damages for physical personal injury or any physical damage to property

caused by Defendants’ actions.

       328. Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including inter alia injunctive relief, restitution, disgorgement of

profits, compensatory and punitive damages, and all damages allowed by law to be paid by

Defendants, attorney fees and costs, and pre- and post-judgment interest.

                                COUNT II
         RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                           18 U.S.C. 1961, et seq.
                          (Against All Defendants)
       329. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

       330. Plaintiff brings this Count on behalf of itself against the following Defendants, as

defined above: Purdue, Cephalon, Janssen, Endo, Mallinckrodt, Actavis, McKesson, Cardinal,

and AmerisourceBergen (collectively, for purposes of this Count, the “RICO Defendants”).




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        331. Defendants (also referred to herein as the “RICO Defendants”) conducted and

continue to conduct their business through legitimate and illegitimate means in the form of an

association-in-fact enterprise and/or a legal entity enterprise. At all relevant times, the RICO

Defendants were “persons” under 18 U.S.C. § 1961(3) because they are entities capable of

holding, and do hold, “a legal or beneficial interest in property.”

        332. Section 1962(c) of RICO makes it unlawful “for any person employed by or

associated with any enterprise engaged in, or the activities of which affect, interstate or foreign

commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise’s

affairs through a pattern of racketeering activity or collection of unlawful debt.” 18 U.S.C.

§ 1962(c); United State v. Turkette, 452 U.S. 576, 580 (1981).

        333. The term “enterprise” is defined as including “any individual, partnership,

corporation, association, or other legal entity, and any union or group of individuals associated in

fact although not a legal entity.” 18 U.S.C. § 1961(4); Turkette, 452 U.S. at 580; Boyle v. U.S.,

556 U.S. 938, 944 (2009). The definition of “enterprise” in Section 1961(4) includes legitimate

and illegitimate enterprises within its scope. Specifically, the section “describes two separate

categories of associations that come within the purview of an ‘enterprise’ -- the first

encompassing organizations such as corporations, partnerships, and other ‘legal entities,’ and the

second covering ‘any union or group of individuals associated in fact although not a legal

entity.’” Turkette, 452 U.S. at 577. The second category is not a more generalized description of

the first. Id.

        334. For over a decade, the RICO Defendants aggressively sought to bolster their

revenue, increase profit, and grow their share of the prescription painkiller market by unlawfully

and surreptitiously increasing the volume of opioids they sold. However, the RICO Defendants



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are not permitted to engage in a limitless expansion of their market through the unlawful sales of

regulated painkillers. As “registrants,” the RICO Defendants operated and continue to operate

within the “closed-system” created under the Controlled Substances Act, 21 U.S.C. § 821, et seq.

(the “CSA”). The CSA restricts the RICO Defendants’ ability to manufacture or distribute

Schedule II substances like opioids by requiring them to: (1) register to manufacture or distribute

opioids; (2) maintain effective controls against diversion of the controlled substances that they

manufacturer or distribute; (3) design and operate a system to identify suspicious orders of

controlled substances, halt such unlawful sales, and report them to the DEA; and (4) make sales

within a limited quota set by the DEA for the overall production of Schedule II substances like

opioids.

           335. The closed-system created by the CSA, including the establishment of quotas, was

specifically intended to reduce or eliminate the diversion of Schedule II substances like opioids

from “legitimate channels of trade” to the illicit market by controlling the quantities of the basic

ingredients needed for the manufacture of [controlled substances].”151

           336. Finding it impossible to legally achieve their ever-increasing sales ambitions,

members of the Opioid Diversion Enterprise (as defined below) systematically and fraudulently

violated their statutory duty to maintain effective controls against diversion of their drugs, to

design and operate a system to identify suspicious orders of their drugs, to halt unlawful sales of

suspicious orders, and to notify the DEA of suspicious orders.152 As discussed in detail below,

through the RICO Defendants’ scheme, members of the Opioid Diversion Enterprise repeatedly


151
   1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on International
Narcotics      Control,     United        States       Senate,    May       5,     2015       (available      at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
152
      21 U.S.C. § 823(a)(1), (b)(1); 21 C.F.R. § 1301.74(b)-(c).



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engaged in unlawful sales of painkillers which, in turn, artificially and illegally increased the

annual production quotas for opioids allowed by the DEA. 153 In doing so, the RICO Defendants

allowed hundreds of millions of pills to enter the illicit market which allowed them to generate

obscene profits.

           337. Defendants’ illegal scheme was hatched by an association-in-fact enterprise

between the Manufacturer Defendants and the Distributor Defendants, and executed in perfect

harmony by each of them. In particular, each of the RICO Defendants were associated with, and

conducted or participated in, the affairs of the Opioid Diversion Enterprise, whose purpose was

to engage in the unlawful sales of opioids, to deceive the public and federal and state regulators

into believing that the RICO Defendants were faithfully fulfilling their statutory obligations. The

RICO Defendants’ scheme allowed them to make billions in unlawful sales of opioids and, in

turn, increase and/or maintain high production quotas with the purpose of ensuring unlawfully

increasing revenues, profits, and market share. As a direct result of the RICO Defendants’

fraudulent scheme, course of conduct, and pattern of racketeering activity, they were able to

extract billions of dollars of revenue from the addicted American public, while entities like

Plaintiff experienced tens of millions of dollars of injury caused by the reasonably foreseeable

consequences of the prescription opioid addiction epidemic. As explained in detail below, the

RICO Defendants’ misconduct violated Section 1962(c) and Plaintiff is entitled to treble

damages for its injuries under 18 U.S.C. § 1964(c).

           338. Alternatively, the RICO Defendants were members of a legal entity enterprise

within the meaning of 18 U.S.C. § 1961(4), through which the RICO Defendants conducted their

pattern of racketeering activity in this jurisdiction and throughout the United States.

153
      21 C.F.R. § 1303.11(b); 21 C.F.R. § 1303.23.



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Specifically, the Healthcare Distribution Alliance (the “HDA”)154 is a distinct legal entity that

satisfies the definition of a RICO enterprise. The HDA is a non-profit corporation formed under

the laws of the District of Columbia and doing business in Virginia. As a non-profit corporation,

HDA qualifies as an “enterprise” within the definition set out in 18 U.S.C. § 1961(4) because it

is a corporation and a legal entity.

         339. On information and belief, each of the RICO Defendants is a member, participant,

and/or sponsor of the HDA and utilized the HDA to conduct the Opioid Diversion Enterprise and

to engage in the pattern of racketeering activity that gives rise to the Count.

         340. Each of the RICO Defendants is a legal entity separate and distinct from the HDA.

And, the HDA serves the interests of distributors and manufacturers beyond the RICO

Defendants. Therefore, the HDA exists separately from the Opioid Diversion Enterprise, and

each of the RICO Defendants exists separately from the HDA. Therefore, the HDA may serve as

a RICO enterprise.

         341. The legal and association-in-fact enterprises alleged in the previous and subsequent

paragraphs were each used by the RICO Defendants to conduct the Opioid Diversion Enterprise

by engaging in a pattern of racketeering activity. Therefore, the legal and association-in-fact

enterprises alleged in the previous and subsequent paragraphs are pleaded in the alternative and

are collectively referred to as the “Opioid Diversion Enterprise.”

                         A. THE OPIOID DIVERSION ENTERPRISE

         342. Recognizing that there is a need for greater scrutiny over controlled substances due

to their potential for abuse and danger to public health and safety, the United States Congress


154
    Health Distribution Alliance, History, Health Distribution Alliance, (last accessed on September 15, 2017),
https://www.healthcaredistribution.org/about/hda-history.



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enacted the Controlled Substances Act in 1970.155 The CSA and its implementing regulations

created a closed-system of distribution for all controlled substances and listed chemicals.156

Congress specifically designed the closed chain of distribution to prevent the diversion of legally

produced controlled substances into the illicit market.157 As reflected in comments from United

States Senators during deliberation on the CSA, the “[CSA] is designed to crack down hard on

the narcotics pusher and the illegal diverters of pep pills and goof balls.”158 Congress was

concerned with the diversion of drugs out of legitimate channels of distribution when it enacted

the CSA and acted to halt the “widespread diversion of [controlled substances] out of legitimate

channels into the illegal market.”159 Moreover, the closed-system was specifically designed to

ensure that there are multiple ways of identifying and preventing diversion through active

participation by registrants within the drug delivery chain. 160 All registrants -- manufacturers

and distributors alike -- must adhere to the specific security, recordkeeping, monitoring and

reporting requirements that are designed to identify or prevent diversion. 161 When registrants at




155
   Joseph T. Rannazzisi Decl. ¶ 4, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No. 12-
cv-185 (Document 14-2 February 10, 2012).
156
      See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566.
157
  Gonzalez v. Raich, 545 U.S. 1, 12-14 (2005); 21 U.S.C. § 801(20; 21 U.S.C. §§ 821-824, 827, 880; H.R. Rep.
No. 91-1444, 1970 U.S.C.C.A.N. 4566, 4572 (Sept. 10, 1970).
158
   See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566; 116 Cong. Rec. 977-78 (Comments of Sen. Dodd, Jan
23, 1970).
159
    See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United State
Senate,               May                    5,                 2015                (available            at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
160
    See Statement of Joseph T. Rannazzisi before the Caucus on International Narcotics Control United States
Senate,                 July                    18,                2012                 (available                at
https://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/07/18/12/07-18-12-dea-rannazzisi.pdf).
161
      Id.


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any level fail to fulfill their obligations, the necessary checks and balances collapse.162 The

result is the scourge of addiction like the opioid epidemic that has occurred.

         343. In 2006 and 2007, the DEA issued multiple letters to the Distributor Defendants

reminding them of their obligation to maintain effective controls against diversion of particular

controlled substances, to design and operate a system to disclose suspicious orders, and to inform

the DEA of any suspicious orders.163 The DEA also published suggested questions that a

distributor should ask prior to shipping controlled substances, in order to “know their

customers.”164

         344. Central to the closed-system created by the CSA was the directive that the DEA

determine quotas of each basic class of Schedule I and II controlled substances each year. The

quota system was intended to reduce or eliminate diversion from “legitimate channels of trade”

by controlling the “quantities of the basic ingredients needed for the manufacture of [controlled

substances], and the requirement of order forms for all transfers of these drugs.” 165 When

evaluating production quotas, the DEA was instructed to consider the following information:

            a. Information provided by the Department of Health and Human Services;

            b. Total net disposal of the basic class by all manufacturers;

            c. Trends in the national rate of disposal of the basic class;


162
   Joseph T. Rannazzisi Decl. ¶ 10, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No.
12-cv-185 (Document 14-2 February 10, 2012).
163
  Joseph T. Rannazzisi, In Reference to Registration # RC0183080 (September 27, 2006); Joseph T. Rannazzisi, In
Reference to Registration # RC0183080 (December 27, 2007).
164
    Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug Enforcement
Administration                                          (available                                      at
https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf).
165
   1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on International
Narcotics      Control,     United        States       Senate,     May      5,     2015       (available      at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).



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                d. An applicant’s production cycle and current inventory position;

                e. Total actual or estimated inventories of the class and of all substances

                     manufactured from the class and trends in inventory accumulation; and

                f. Other factors such as: changes in the currently accepted medical use of substances

                     manufactured for a basic class; the economic and physical availability of raw

                     materials; yield and sustainability issues; potential disruptions to production; and

                     unforeseen emergencies.166

            345. It is unlawful for a registrant to manufacture a controlled substance in Schedule II,

like prescription opioids, that is (1) not expressly authorized by its registration and by a quota

assigned to it by DEA, or (2) in excess of a quota assigned to it by the DEA.167

            346. At all relevant times, the RICO Defendants operated as an association-in-fact

enterprise formed for the purpose of unlawfully increasing sales, revenues and profits by

disregarding their statutory duty to identify, investigate, halt and report suspicious orders of

opioids and diversion of their drugs into the illicit market, in order to unlawfully increase the

quotas set by the DEA and allow them to collectively benefit from the unlawful formation of a

greater pool of prescription opioids from which to profit. The RICO Defendants conducted their

pattern of racketeering activity in this jurisdiction and throughout the United States through this

enterprise.

            347. The opioid epidemic has its origins in the mid-1990s when, between 1997 and

2007, per capita purchase of methadone, hydrocodone, and oxycodone increased 13-fold, 4-fold,


166
    See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United State
Senate,               May                    5,                 2015                (available            at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
167
      Id. (citing 21 U.S.C. 842(b)).



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and 9-fold, respectively. By 2010, enough prescription opioids were sold in the United States to

medicate every adult in the county with a dose of 5 milligrams of hydrocodone every 4 hours for

1 month.168 On information and belief, the Opioid Diversion Enterprise has been ongoing for at

least the last decade.169

         348. The Opioid Diversion Enterprise was and is a shockingly successful endeavor. It

has been conducting business uninterrupted since its genesis. But, it was not until recently that

United States and State regulators finally began to unravel the extent of the enterprise and the toll

that it exacted on the American public.

         349. At all relevant times, the Opioid Diversion Enterprise (a) had an existence separate

and distinct from each RICO Defendant; (b) was separate and distinct from the pattern of

racketeering in which the RICO Defendants engaged; (c) was an ongoing and continuing

organization consisting of legal entities, including each of the RICO Defendants; (d)

characterized by interpersonal relationships among the RICO Defendants; (e) had sufficient

longevity for the enterprise to pursue its purpose; and (f) functioned as a continuing unit.

Turkette, 452 U.S. at 580; Boyle, 556 U.S. at 944 (2009). Each member of the Opioid Diversion

Enterprise participated in the conduct of the enterprise, including patterns of racketeering

activity, and shared in the astounding growth of profits supplied by fraudulently inflating opioid

sales generated as a result of the Opioid Diversion Enterprise’s disregard for their duty to prevent

diversion of their drugs into the illicit market and then requesting the DEA increase production



168
   Keyes KM, Cerdá M, Brady JE, Havens JR, Galea S. Understanding the rural-urban differences in nonmedical
prescription opioid use and abuse in the United States. Am J Public Health. 2014;104(2):e52-9.
169
    Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public
Integrity (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
chamber-shaped-policy-amid-drug-epidemic.



                                                      118
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quotas, all so that the RICO Defendants would have a larger pool of prescription opioids from

which to profit.

         350. The Opioid Diversion Enterprise also engaged in efforts to lobby against the

DEA’s authority to hold the RICO Defendants liable for disregarding their duty to prevent

diversion.    Members of the Pain Care Forum (described in greater detail below) and the

Healthcare Distribution Alliance lobbied for the passage of legislation to weaken the DEA’s

enforcement authority.       The Ensuring Patient Access and Effective Drug Enforcement Act

significantly reduced the DEA’s ability to issue orders to show cause and to suspend and/or

revoke registrations170     The HDA and other members of the Pain Care Forum contributed

substantial amounts of money to political campaigns for federal candidates, state candidates,

political action committees and political parties. Plaintiff is informed and believes that the Pain

Care Forum and its members, and the HAD, poured millions into lobbying efforts.

         351. The Opioid Diversion Enterprise functioned by selling prescription opioids. While

there are some legitimate uses and/or needs for prescription opioids, the RICO Defendants,

through their illegal enterprise, engaged in a pattern of racketeering activity, that involves a

fraudulent scheme to increase revenue by violating State and Federal laws requiring the

maintenance of effective controls against diversion of prescription opioids, and the identification,

investigation, and reporting of suspicious orders of prescription opioids destined for the illicit

170
    See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated
July 6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-
alliance/; Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid
Epidemic Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-
slowed-enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA       Enforcement    Slowdown      Amid      Opioid      Crisis,    Wash.       Post,    Mar.    6,   2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had no
Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.



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drug market. The goal of Defendants’ scheme was to increase profits from opioid sales. But,

Defendants’ profits were limited by the production quotas set by the DEA, so Defendants refused

to identify, investigate and/or report suspicious orders of their prescription opioids being diverted

into the illicit drug market.    The end result of this strategy was to increase and maintain

artificially high production quotas of opioids so that there was a larger pool of opioids for

Defendants to manufacture and distribute for public consumption.

       352. The Opioid Diversion Enterprise engaged in, and its activities affected, interstate

and foreign commerce because the enterprise involved commercial activities across states lines,

such as manufacture, sale, distribution, and shipment of prescription opioids throughout the

County and this jurisdiction, and the corresponding payment and/or receipt of money from the

sale of the same.

       353. Within the Opioid Diversion Enterprise, there were interpersonal relationships and

common communication by which the RICO Defendants shared information on a regular basis.

These interpersonal relationships also formed the organization of the Opioid Diversion

Enterprise.   The Opioid Diversion Enterprise used their interpersonal relationships and

communication network for the purpose of conducting the enterprise through a pattern of

racketeering activity.

       354. Each of the RICO Defendants had a systematic link to each other through joint

participation in lobbying groups, trade industry organizations, contractual relationships and

continuing coordination of activities. The RICO Defendants participated in the operation and

management of the Opioid Diversion Enterprise by directing its affairs, as described herein.

While the RICO Defendants participated in, and are members of, the enterprise, they each have a

separate existence from the enterprise, including distinct legal statuses, different offices and



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roles, bank accounts, officers, directors, employees, individual personhood, reporting

requirements, and financial statements.

            355. The RICO Defendants exerted substantial control over the Opioid Diversion

Enterprise by their membership in the Pain Care Forum, the HDA, and through their contractual

relationships.

            356. The Pain Care Forum (“PCF”) has been described as a coalition of drugmakers,

trade groups and dozens of non-profit organizations supported by industry funding. The PCF

recently became a national news story when it was discovered that lobbyists for members of the

PCF quietly shaped federal and state policies regarding the use of prescription opioids for more

than a decade.

            357. The Center for Public Integrity and The Associated Press obtained “internal

documents shed[ding] new light on how drugmakers and their allies shaped the national response

to the ongoing wave of prescription opioid abuse.”171 Specifically, PCF members spent over

$740 million lobbying in the nation’s capital and in all 50 statehouses on an array of issues,

including opioid-related measures.172

            358. Not surprisingly, each of the RICO Defendants who stood to profit from lobbying

in favor of prescription opioid use is a member of and/or participant in the PCF.173 In 2012,

membership and participating organizations included the HDA (of which all RICO Defendants

are members), Endo, Purdue, Johnson & Johnson (the parent company for Janssen


171
    Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public
Integrity (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
chamber-shaped-policy-amid-drug-epidemic (emphasis added).
172
      Id.
173
       PAIN      CARE      FORUM      2012    Meetings   Schedule, (last updated   December               2011),
https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-Schedule-amp.pdf



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Pharmaceuticals), Actavis (i.e., Allergan), and Teva (the parent company of Cephalon).174 Each

of the Manufacturer Defendants worked together through the PCF to advance the interests of the

enterprise. But, the Manufacturer Defendants were not alone. The Distributor Defendants

actively participated, and continue to participate in the PCF, at a minimum, through their trade

organization, the HDA.175 Plaintiff is informed and believes that the Distributor Defendants

participated directly in the PCF as well.

         359. The 2012 Meeting Schedule for the Pain Care Forum is particularly revealing on

the subject of Defendants’ interpersonal relationships. The meeting schedule indicates that

meetings were held in the D.C. office of Powers Pyles Sutter & Verville on a monthly basis,

unless otherwise noted. Local members were “encouraged to attend in person” at the monthly

meetings. And, the meeting schedule indicates that the quarterly and year-end meetings included

a “Guest Speaker.”

         360. The 2012 Pain Care Forum Meeting Schedule demonstrates that each of the

Defendants participated in meetings on a monthly basis, either directly or through their trade

organization, in a coalition of drugmakers and their allies whose sole purpose was to shape the

national response to the ongoing prescription opioid epidemic, including the concerted lobbying

efforts that the PCF undertook on behalf of its members.

         361. The HDA -- or Healthcare Distribution Alliance --was a second means that led to

the formation of interpersonal relationships and an organization between the RICO Defendants.


174
   Id. Plaintiff is informed and believes that Mallinckrodt became an active member of the PCF sometime after
2012.
175
   Id. The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief Executive Officer,
Pharmaceutical Segment for Cardinal Health, Inc., the Group President, Pharmaceutical Distribution and Strategic
Global Source for AmerisourceBergen Corporation, and the President, U.S. Pharmaceutical for McKesson
Corporation. Executive Committee, Healthcare Distribution Alliance (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/executive-committee.



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Although the entire HDA membership directory is private, the HDA website confirms that each

of the Distributor Defendants and the Manufacturer Defendants named in the Complaint were

members of the HDA.176 And, the HDA and each of the Distributor Defendants, eagerly sought

the active membership and participation of the Manufacturer Defendants by advocating that one

of the benefits of membership included the ability to develop direct relationships between

manufacturers and distributors at high executive levels.

         362. In fact, the HDA touted the benefits of membership to the Manufacturer

Defendants, advocating that membership included the ability to, among other things, “network

one on one with manufacturer executives at HDA’s members-only Business and Leadership

Conference,” “networking with HDA wholesale distributor members,” “opportunities to host and

sponsor HDA Board of Directors events,” “participate on HDA committees, task forces and

working groups with peers and trading partners,” and “make connections.”177 Plainly, the HDA

and the Distributor Defendants believed that membership in the HDA was an opportunity to

create interpersonal and ongoing organizational relationships between the Manufacturers and

Defendants.

         363. The application for manufacturer membership in the HDA further indicates the

level of connection that existed between the RICO Defendants.178                       The manufacturer

membership application must be signed by a “senior company executive,” and it requests that the

manufacturer applicant identify a key contact and any additional contacts from within its

176
     Manufacturer Membership, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/membership/manufacturer.
177
    Manufacturer Membership Benefits, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-benefits.ashx?la=en.
178
    Manufacturer Membership Application, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
application.ashx?la=en.



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company.        The HDA application also requests that the manufacturer identify its current

distribution information and its most recent year end net sales through any HDA distributors,

including but not limited to, Defendants AmerisourceBergen, Cardinal Health, and McKesson.179

            364. After becoming members, the distributors and manufacturers were eligible to

participate on councils, committees, task forces and working groups, including:

               a. Industry Relations Council: “This council, composed of distributor and
                  manufacturer members, provides leadership on pharmaceutical distribution and
                  supply chain issues.”180

               b. Business Technology Committee: “This committee provides guidance to HDA
                  and its members through the development of collaborative e-commerce business
                  solutions. The committee’s major areas of focus within pharmaceutical
                  distribution include information systems, operational integration and the impact of
                  e-commerce.”       Participation in this committee includes distributors and
                  manufacturer members.181

               c. Health, Beauty and Wellness Committee: “This committee conducts research, as
                  well as creates and exchanges industry knowledge to help shape the future of the
                  distribution for health, beauty and wellness/consumer products in the healthcare
                  supply chain.” Participation in this committee includes distributors and
                  manufacturer members.182

               d. Logistics Operation Committee: “This committee initiates projects designed to
                  help members enhance the productivity, efficiency and customer satisfaction
                  within the healthcare supply chain. Its major areas of focus include process
                  automation, information systems, operational integration, resource management
                  and quality improvement.” Participation in this committee includes distributors
                  and manufacturer members.183

               e. Manufacturer Government Affairs Advisory Committee: “This committee
                  provides a forum for briefing HDA’s manufacturer members on federal and state
                  legislative and regulatory activity affecting the pharmaceutical distribution

179
      Id.
180
     Councils and Committees, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/councils-and-committees
181
      Id.
182
      Id.
183
      Id.



                                                  124
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                  channel. Topics discussed include such issues as prescription drug traceability,
                  distributor licensing, FDA and DEA regulation of distribution, importation and
                  Medicaid/Medicare reimbursement.” Participation in this committee includes
                  manufacturer members.184

               f. Bar Code Task Force: Participation includes Distributor, Manufacturer and
                  Service Provider Members.185

               g. eCommerce Task Force: Participation includes Distributor, Manufacturer and
                  Service Provider Members.186

               h. ASN Working Group: Participation includes Distributor, Manufacturer and
                  Service Provider Members.187

               i. Contracts and Chargebacks Working Group: “This working group explores how
                  the contract administration process can be streamlined through process
                  improvements or technical efficiencies. It also creates and exchanges industry
                  knowledge of interest to contract and chargeback professionals.” Participation
                  includes Distributor and Manufacturer Members.188

            365. The councils, committees, task forces and working groups provided the

Manufacturer and Distributor Defendants with the opportunity to work closely together in

shaping their common goals and forming the enterprise’s organization.

            366. The HDA also offers a multitude of conferences, including annual business and

leadership conferences. The HDA, and the Distributor Defendants advertise these conferences to

the Manufacturer Defendants as an opportunity to “bring together high-level executives, thought

leaders and influential managers . . . to hold strategic business discussions on the most pressing




184
      Id.
185
      Id.
186
      Id.
187
      Id.
188
      Id.



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industry issues.”189 The conferences also gave the Manufacturer and Distributor Defendants

“unmatched opportunities to network with [their] peers and trading partners at all levels of the

healthcare distribution industry.”190 The HDA and its conferences were significant opportunities

for the Manufacturer and Distributor Defendants to interact at a high-level of leadership. And,

the Manufacturer Defendants embraced this opportunity by attending and sponsoring these

events.191

            367. Third, the RICO Defendants maintained their interpersonal relationships by

working together and exchanging information and driving the unlawful sales of their opioids

through their contractual relationships, including chargebacks and vault security programs.

            368. The Manufacturer Defendants engaged in an industry-wide practice of paying

rebates and/or chargebacks to the Distributor Defendants for sales of prescription opioids.192 As

reported in the Washington Post, identified by Senator McCaskill, and acknowledged by the

HDA, there is an industry-wide practice whereby the Manufacturers paid the Distributors rebates

and/or chargebacks on their prescription opioid sales.193              On information and belief, these

contracts were negotiated at the highest levels, demonstrating ongoing relationships between the

189
    Business and Leadership Conference – Information for Manufacturers, Healthcare Distribution Alliance,
(accessed on September 14, 2017), https://www.healthcaredistribution.org/events/2015-business-and-leadership-
conference/blc-for-manufacturers.
190
      Id.
191
   2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance, (accessed on September
14, 2017), https://www.healthcaredistribution.org/events/2015-distribution-management-conference.
192
    Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers accountable, The
Washington        Post,   (April     2,   2017),     https://www.washingtonpost.com/graphics/investigations/dea-
mallinckrodt/?utm_term=.b24cc81cc356; see also, Letter from Sen. Claire McCaskill, (July 27, 2017),
https://www.mccaskill.senate.gov/imo/media/image/july-opioid-investigation-letter-manufacturers.png; Letter from
Sen. Claire McCaskill, (July 27, 2017), https://www.mccaskill.senate.gov/imo/media/image/july-opioid-
investigation-letter-manufacturers.png; Letters From Sen. Claire McCaskill, (March 28, 2017),
https://www.mccaskill.senate.gov/opioid-investigation; Purdue Managed Markets, Purdue Pharma, (accessed on
September 14, 2017), http://www.purduepharma.com/payers/managed-markets/.
193
      Id.



                                                     126
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Manufacturer and Distributor Defendants.              In return for the rebates and chargebacks, the

Distributor Defendants provided the Manufacturer Defendants with detailed information

regarding their prescription opioid sales, including purchase orders, acknowledgements, ship

notices, and invoices.194 The Manufacturer Defendants used this information to gather high-level

data regarding overall distribution and direct the Distributor Defendants on how to most

effectively sell the prescription opioids.

         369. The contractual relationships among the RICO Defendants also include vault

security programs. The RICO Defendants are required to maintain certain security protocols and

storage facilities for the manufacture and distribution of their opiates. Plaintiff is informed and

believes that manufacturers negotiated agreements whereby the Manufacturers installed security

vaults for Distributors in exchange for agreements to maintain minimum sales performance

thresholds. Plaintiff is informed and believes that these agreements were used by the RICO

Defendants as a tool to violate their reporting and diversion duties in order to reach the required

sales requirements.

         370. Taken together, the interaction and length of the relationships between and among

the Manufacturer and Distributor Defendants reflects a deep level of interaction and cooperation

between two groups in a tightly knit industry. The Manufacturer and Distributor Defendants

were not two separate groups operating in isolation or two groups forced to work together in a

closed system. The RICO Defendants operated together as a united entity, working together on

multiple fronts, to engage in the unlawful distribution and sale of prescription opioids. The HDA

and the Pain Care Forum are but two examples of the overlapping relationships, and concerted


194
        Webinars,   Healthcare      Distribution    Alliance,    (accessed   on   September   14,   2017),
https://www.healthcaredistribution.org/resources/webinar-leveraging-edi.



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joint efforts to accomplish common goals and demonstrate that the leaders of each of the RICO

Defendants were in communication and cooperation.

            371. According to articles published by the Center for Public Integrity and The

Associated Press, the Pain Care Forum -- whose members include the Manufacturers and the

Distributors’ trade association has been lobbying on behalf of the Manufacturers and Distributors

for “more than a decade.”195 And, from 2006 to 2016 the Distributors and Manufacturers

worked together through the Pain Care Forum to spend over $740 million lobbying in the

nation’s capital and in all 50 statehouses on issues including opioid-related measures.196

Similarly, the HDA has continued its work on behalf of distributors and manufacturers, without

interruption, since at least 2000, if not longer.197

            372. As described above, the RICO Defendants began working together as early as 2006

through the Pain Care Forum and/or the HDA to promote the common purpose of their

enterprise. Plaintiff is informed and believes that the RICO Defendants worked together as an

ongoing and continuous organization throughout the existence of their enterprise.

                          B. CONDUCT OF THE OPIOID DIVERSION ENTERPRISE

            373. During the time period alleged in this Complaint, the RICO Defendants exerted

control over, conducted and/or participated in the Opioid Diversion Enterprise by fraudulently

failing to comply with their Federal and State obligations to identify, investigate and report

suspicious orders of opioids in order to prevent diversion of those highly addictive substances


195
    Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public
Integrity (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
chamber-shaped-policy-amid-drug-epidemic.
196
      Id.
197
       HDA History, Healthcare Distribution Alliance,              (accessed    on    September     14,   2017),
https://www.healthcaredistribution.org/about/hda-history.



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into the illicit market, to halt such unlawful sales and, in doing so, to increase production quotas

and generate unlawful profits, as follows:

       374. Defendants disseminated false and misleading statements to the public claiming

that they were complying with their obligations to maintain effective controls against diversion

of their prescription opioids.

       375. Defendants disseminated false and misleading statements to the public claiming

that they were complying with their obligations to design and operate a system to disclose to the

registrant suspicious orders of their prescription opioids.

       376. Defendants disseminated false and misleading statements to the public claiming

that they were complying with their obligation to notify the DEA of any suspicious orders or

diversion of their prescription opioids.

       377. Defendants paid nearly $800 million dollars to influence local, state and federal

governments through joint lobbying efforts as part of the Pain Care Forum.              The RICO

Defendants were all members of their Pain Care Forum either directly or indirectly through the

HDA. The lobbying efforts of the Pain Care Forum and its members, included efforts to pass

legislation making it more difficult for the DEA to suspend and/or revoke the Manufacturers’

and Distributors’ registrations for failure to report suspicious orders of opioids.

       378. The RICO Defendants exercised control and influence over the distribution

industry by participating and maintaining membership in the HDA.

       379. The RICO Defendants applied political and other pressure on the DOJ and DEA to

halt prosecutions for failure to report suspicious orders of prescription opioids and lobbied




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Congress to strip the DEA of its ability to immediately suspend registrations pending

investigation by passing the “Ensuring Patient Access and Effective Drug Enforcement Act.” 198

         380. The RICO Defendants engaged in an industry-wide practice of paying rebates and

chargebacks to incentivize unlawful opioid prescription sales. Plaintiff is informed and believes

that the Manufacturer Defendants used the chargeback program to acquire detailed high-level

data regarding sales of the opioids they manufactured. And, Plaintiff is informed and believes

that the Manufacturer Defendants used this high-level information to direct the Distributor

Defendants’ sales efforts to regions where prescription opioids were selling in larger volumes.

         381. The Manufacturer Defendants lobbied the DEA to increase Aggregate Production

Quotas, year after year by submitting net disposal information that the Manufacturer Defendants

knew included sales that were suspicious and involved the diversion of opioids that had not been

properly investigated or reported by the RICO Defendants.

         382. The Distributor Defendants developed “know your customer” questionnaires and

files. This information, compiled pursuant to comments from the DEA in 2006 and 2007 was

intended to help the RICO Defendants identify suspicious orders or customers who were likely to

divert prescription opioids.199         On information and belief, the “know your customer”


198
    See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated
July 6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-
alliance/; Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid
Epidemic Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-
slowed-enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA       Enforcement    Slowdown      Amid      Opioid      Crisis,    Wash.       Post,    Mar.    6,   2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had no
Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.
199
    Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug Enforcement
Administration                                          (available                                      at
https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf); Richard Widup, Jr.,


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questionnaires informed the RICO Defendants of the number of pills that the pharmacies sold,

how many non-controlled substances are sold compared to controlled substances, whether the

pharmacy buys from other distributors, the types of medical providers in the area, including pain

clinics, general practitioners, hospice facilities, cancer treatment facilities, among others, and

these questionnaires put the recipients on notice of suspicious orders.

            383. The RICO Defendants refused to identify, investigate and report suspicious orders

to the DEA when they became aware of the same despite their actual knowledge of drug

diversion rings. The RICO Defendants refused to identify suspicious orders and diverted drugs

despite the DEA issuing final decisions against the Distributor Defendants in 178 registrant

actions between 2008 and 2012200 and 117 recommended decision in registrant actions from The

Office of Administrative Law Judges. These numbers include 76 actions involving orders to

show cause and 41 actions involving immediate suspension orders -- all for failure to report

suspicious orders.201

            384. Defendants’ scheme had decision-making structure that was driven by the

Manufacturer Defendants and corroborated by the Distributor Defendants. The Manufacturer

Defendants worked together to control the State and Federal Government’s response to the

manufacture and distribution of prescription opioids by increasing production quotas through a

systematic refusal to maintain effective controls against diversion, and identify suspicious orders

and report them to the DEA.


Kathleen H. Dooley, Esq. Pharmaceutical Production Diversion: Beyond the PDMA, Purdue Pharma and McQuite
Woods               LLC,               (available           at          https://www.mcguirewoods.com/news-
resources/publications/lifesciences/product_diversion_beyond_pdma.pdf).
200
  Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
201
      Id.



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       385. The RICO Defendants worked together to control the flow of information and

influence state and federal governments and political candidates to pass legislation that was pro-

opioid. The Manufacturer and Distributor Defendants did this through their participation in the

Pain Care Forum and Healthcare Distributors Alliance.

       386. The RICO Defendants also worked together to ensure that the Aggregate

Production Quotas, Individual Quotas and Procurement Quotas allowed by the DEA stayed high

and ensured that suspicious orders were not reported to the DEA. By not reporting suspicious

orders or diversion of prescription opioids, the RICO Defendants ensured that the DEA had no

basis for refusing to increase or decrease the production quotas for prescription opioids due to

diversion of suspicious orders. The RICO Defendants influenced the DEA production quotas in

the following ways:

           a. The Distributor Defendants assisted the enterprise and the Manufacturer

               Defendants in their lobbying efforts through the Pain Care Forum;

           b. The Distributor Defendants invited the participation, oversight and control of the

               Manufacturer Defendants by including them in the HDA, including on the

               councils, committees, task forces, and working groups;

           c. The Distributor Defendants provided sales information to the Manufacturer

               Defendants regarding their prescription opioids, including reports of all opioids

               prescriptions filled by the Distributor Defendants;

           d. The Manufacturer Defendants used a chargeback program to ensure delivery of

               the Distributor Defendants’ sales information;




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             e. The Manufacturer Defendants obtained sales information from QuintilesIMS

                 (formerly IMS Health) that gave them a “stream of data showing how individual

                 doctors across the nation were prescribing opioids.”202

             f. The Distributor Defendants accepted rebates and chargebacks for orders of

                 prescription opioids;

             g. The Manufacturer Defendants used the Distributor Defendants’ sales information

                 and the data from QuintilesIMS to instruct the Distributor Defendants to focus

                 their distribution efforts to specific areas where the purchase of prescription

                 opioids was most frequent;

             h. The RICO Defendants identified suspicious orders of prescription opioids and

                 then continued filling those unlawful orders, without reporting them, knowing that

                 they were suspicious and/or being diverted into the illicit drug market;

             i. The RICO Defendants refused to report suspicious orders of prescription opioids

                 despite repeated investigation and punishment of the Distributor Defendants by

                 the DEA for failure to report suspicious orders; and

             j. The RICO Defendants withheld information regarding suspicious orders and

                 illicit diversion from the DEA because it would have revealed that the “medical

                 need” for and the net disposal of their drugs did not justify the production quotas

                 set by the DEA.

         387. The scheme devised and implemented by the RICO Defendants amounted to a

common course of conduct characterized by a refusal to maintain effective controls against


202
   Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the hands of criminals and addicts. What
the drugmaker knew, Los Angeles Times, (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-part2/



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diversion, and all designed and operated to ensure the continued unlawful sale of controlled

substances.

                       C. PATTERN OF RACKETEERING ACTIVITY.

       388. The RICO Defendants conducted and participated in the conduct of the Opioid

Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C.

§ 1961(1)(B), including mail fraud (18 U.S.C. § 1341) and wire fraud (18 U.S.C. § 1343); and 18

U.S.C. § 1961(1)(D) by the felonious manufacture, importation, receiving, concealment buying

selling, or otherwise dealing in a controlled substance or listed chemical (as defined in section

102 of the Controlled Substance Act), punishable under any law of the United States.

1. The RICO Defendants Engaged in Mail and Wire Fraud.

       389. The RICO Defendants carried out, or attempted to carry out, a scheme to defraud

federal and state regulators, and the American public by knowingly conducting or participating

in the conduct of the Opioid Diversion Enterprise through a pattern of racketeering activities

within the meaning of 18 U.S.C. § 1961(1) that employed the use of mail and wire facilities, in

violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

       390. The RICO Defendants committed, conspired to commit, and/or aided and abetted in

the commission of at least two predicate acts of racketeering activity (i.e. violations of 18 U.S.C.

§§ 1341 and 1343) within the past ten years. The multiple acts of racketeering activity that the

RICO Defendants committed, or aided and abetted in the commission of, were related to each

other, posed a threat of continued racketeering activity, and therefore constitute a “pattern of

racketeering activity.” The racketeering activity was made possible by the RICO Defendants’

regular use of the facilities, services, distribution channels, and employees of the Opioid

Diversion Enterprise. The RICO Defendants participated in the scheme to defraud by using

mail, telephone and the Internet to transmit mailings and wires in interstate or foreign commerce.

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       391. The RICO Defendants used, directed the use of, and/or caused to be used,

thousands of interstate mail and wire communications in service of their scheme through

virtually uniform misrepresentations, concealments and material omissions regarding their

compliance with their mandatory reporting requirements and the actions necessary to carry out

their unlawful goal of selling prescription opioids without reporting suspicious orders or the

diversion of opioids into the illicit market.

       392. In devising and executing the illegal scheme, the RICO Defendants devised and

knowingly carried out a material scheme and/or artifice to defraud by means of materially false

or fraudulent pretenses, representations, promises, or omissions of material facts.     For the

purpose of executing the illegal scheme, the RICO Defendants committed these racketeering

acts, which number in the thousands, intentionally and knowingly with the specific intent to

advance the illegal scheme.

       393. The RICO Defendants’ predicate acts of racketeering (18 U.S.C. § 1961(1))

include, but are not limited to:

           a. Mail Fraud: The RICO Defendants violated 18 U.S.C. § 1341 by sending or
              receiving, or by causing to be sent and/or received, materials via U.S. mail or
              commercial interstate carriers for the purpose of executing the unlawful scheme to
              design, manufacture, market, and sell the prescription opioids by means of false
              pretenses, misrepresentations, promises, and omissions.

           b. Wire Fraud: The RICO Defendants violated 18 U.S.C. § 1343 by transmitting
              and/or receiving, or by causing to be transmitted and/or received, materials by
              wire for the purpose of executing the unlawful scheme to design, manufacture,
              market, and sell the prescription opioids by means of false pretenses,
              misrepresentations, promises, and omissions.

       394. The RICO Defendants’ use of the mail and wires includes, but is not limited to, the

transmission, delivery, or shipment of the following by the Manufacturer Defendants, Distributor




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Defendants, or third parties that were foreseeably caused to be sent as a result of the RICO

Defendants’ illegal scheme, including but not limited to:

           a. The prescription opioids themselves;

           b. Documents and communications that facilitated the manufacture, purchase and
              unlawful sale of prescription opioids;

           c. Defendants’ DEA registrations;

           d. Documents and communications that supported and/or facilitated Defendants’
              DEA registrations;

           e. Documents and communications that supported and/or facilitated Defendants’
              request for higher aggregate production quotas, individual production quotas, and
              procurement quotas;

           f. Defendants’ records and reports that were required to be submitted to the DEA
              pursuant to 21 U.S.C. § 827;

           g. Documents and communications related to the Defendants’ mandatory DEA
              reports pursuant to 21 U.S.C. § 823 and 21 C.F.R. § 1301.74;

           h. Documents intended to facilitate the manufacture and distribution of Defendants’
              prescription opioids, including bills of lading, invoices, shipping records, reports
              and correspondence;

           i. Documents for processing and receiving payment for prescription opioids;

           j. Payments from the Distributor Defendants to the Manufacturer Defendants;

           k. Rebates and chargebacks from the Manufacturer Defendants to the Distributor
              Defendants;

           l. Payments to Defendants’ lobbyists through the Pain Care Forum;

           m. Payments to Defendants’ trade organizations, like the HDA, for memberships
              and/or sponsorships;

           n. Deposits of proceeds from Defendants’ manufacture and distribution of
              prescription opioids; and

           o. Other documents and things, including electronic communications.




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        395. On information and belief, the RICO Defendants (and/or their agents), for the

purpose of executing the illegal scheme, sent and/or received (or caused to be sent and/or

received) by mail or by private or interstate carrier, shipments of prescription opioids and related

documents by mail or by private carrier affecting interstate commerce.

        396. Purdue manufactures multiple forms of prescription opioids, including, but not

limited to: OxyContin, MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq

ER. Purdue manufactured and shipped these prescription opioids to the Distributor Defendants

in this jurisdiction.

        397. The Distributor Defendants shipped Purdue’s prescription opioids throughout this

jurisdiction.

        398. Cephalon manufactures multiple forms of prescription opioids, including, but not

limited to: Actiq and Fentora. Cephalon manufactured and shipped these prescription opioids to

the Distributor Defendants in this jurisdiction.

        399. The Distributor Defendants shipped Teva’s prescription opioids throughout this

jurisdiction.

        400. Janssen manufactures prescription opioids known as Duragesic.                  Janssen

manufactured and shipped its prescription opioids to the Distributor Defendants in this

jurisdiction.

        401. The Distributor Defendants shipped Janssen’s prescription opioids throughout this

jurisdiction.

        402. Endo manufactures multiple forms of prescription opioids, including, but not

limited to: Opana/Opana ER, Percodan, Percocet, and Zydone. Endo manufactured and shipped

its prescription opioids to the Distributor Defendants in the State.



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        403. The Distributor Defendants shipped Janssen’s prescription opioids throughout this

jurisdiction.

        404. Actavis manufactures multiple forms of prescription opioids, including, but not

limited to: Kadin and Norco, as well as generic versions of the drugs known as Kadian,

Duragesic and Opana.       Actavis manufactured and shipped its prescription opioids to the

Distributor Defendants in this jurisdiction.

        405. The Distributor Defendants shipped Actavis’ prescription opioids throughout this

jurisdiction.

        406. Mallinckrodt manufactures multiple forms of prescription opioids, including, but

not limited to: Exalgo and Roxicodone.

        407. The Distributor Defendants shipped Mallinckrodt’s prescription opioids throughout

this jurisdiction.

        408. The RICO Defendants also used the internet and other electronic facilities to carry

out their scheme and conceal the ongoing fraudulent activities.           Specifically, the RICO

Defendants made misrepresentations about their compliance with Federal and State laws

requiring them to identify, investigate and report suspicious orders of prescription opioids and/or

diversion of the same into the illicit market.

        409. At the same time, the RICO Defendants misrepresented the superior safety features

of their order monitoring programs, ability to detect suspicious orders, commitment to preventing

diversion of prescription opioids and that they complied with all state and federal regulations

regarding the identification and reporting of suspicious orders of prescription opioids.




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       410. Plaintiff is also informed and believes that the RICO Defendants utilized the

internet and other electronic resources to exchange communications, to exchange information

regarding prescription opioid sales, and to transmit payments and rebates/chargebacks.

       411. The RICO Defendants also communicated by U.S. Mail, by interstate facsimile,

and by interstate electronic mail and with various other affiliates, regional offices, regulators,

distributors, and other third-party entities in furtherance of the scheme.

       412. The mail and wire transmissions described herein were made in furtherance of

Defendants’ scheme and common course of conduct to deceive regulators and the public that

Defendants were complying with their state and federal obligations to identify and report

suspicious orders of prescription opioids all while Defendants were knowingly allowing millions

of doses of prescription opioids to divert into the illicit drug market. The RICO Defendants’

scheme and common course of conduct was intended to increase or maintain high production

quotas for their prescription opioids from which they could profit.

       413. Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire

facilities have been deliberately hidden, and cannot be alleged without access to Defendants’

books and records. But, Plaintiff has described the types of, and in some instances, occasions on

which the predicate acts of mail and/or wire fraud occurred.           They include thousands of

communications to perpetuate and maintain the scheme, including the things and documents

described in the preceding paragraphs.

       414. The RICO Defendants did not undertake the practices described herein in isolation,

but as part of a common scheme. These actions violate 18 U.S.C. § 1962(c). Various other

persons, firms, and corporations, including third-party entities and individuals not named as

defendants in this Complaint, may have contributed to and/or participated in the scheme with the



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RICO Defendants in these offenses and have performed acts in furtherance of the scheme to

increase revenues, increase market share, and /or minimize the losses for the RICO Defendants.

       415. The RICO Defendants aided and abetted others in the violations of the above laws,

thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343 offenses.

       416. The RICO Defendants hid from the general public, and suppressed and/or ignored

warnings from third parties, whistleblowers and governmental entities, about the reality of the

suspicious orders that the RICO Defendants were filling on a daily basis -- leading to the

diversion of a tens of millions of doses of prescriptions opioids into the illicit market.

       417. The RICO Defendants, with knowledge and intent, agreed to the overall objective

of their fraudulent scheme and participated in the common course of conduct to commit acts of

fraud and indecency in manufacturing and distributing prescription opioids.

       418. Indeed, for the Defendants’ fraudulent scheme to work, each of the Defendants had

to agree to implement similar tactics regarding marketing prescription opioids and refusing to

report suspicious orders.

       419. As described herein, the RICO Defendants engaged in a pattern of related and

continuous predicate acts for years.         The predicate acts constituted a variety of unlawful

activities, each conducted with the common purpose of obtaining significant monies and

revenues from the sale of their highly addictive and dangerous drugs. The predicate acts also

had the same or similar results, participants, victims, and methods of commission. The predicate

acts were related and not isolated events.

       420. The predicate acts all had the purpose of generating significant revenue and profits

for the RICO Defendants while Plaintiff was left with substantial injury to its business through

the damage that the prescription opioid epidemic caused. The predicate acts were committed or



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caused to be committed by the RICO Defendants through their participation in the Opioid

Diversion Enterprise and in furtherance of its fraudulent scheme.

       421. The pattern of racketeering activity alleged herein and the Opioid Diversion

Enterprise are separate and distinct from each other. Likewise, Defendants are distinct from the

enterprise.

       422. The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court.

       423. Many of the precise dates of the RICO Defendants’ criminal actions at issue here

have been hidden and cannot be alleged without access to Defendants’ books and records.

Indeed, an essential part of the successful operation of the Opioids Addiction and Opioid

Diversion Enterprise alleged herein depended upon secrecy.

       424. Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including consumers in this jurisdiction and Plaintiff.

Defendants calculated and intentionally crafted the Opioid Diversion Enterprise and their scheme

to increase and maintain their increased profits, without regard to the effect such behavior would

have on consumers in this jurisdiction, its citizens or Plaintiff. In designing and implementing

the scheme, at all times Defendants were cognizant of the fact that those in the manufacturing

and distribution chain rely on the integrity of the pharmaceutical companies and ostensibly

neutral third parties to provide objective and reliable information regarding Defendants’ products

and their manufacture and distribution of those products. Defendants were also aware that

Plaintiff and the citizens of this jurisdiction rely on the Defendants to maintain a closed system



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and to protect against the non-medical diversion and use of their dangerously addictive opioid

drugs.

         425. By intentionally refusing to report and halt suspicious orders of their prescription

opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

a pattern of racketeering activity.

         426. It was foreseeable to Defendants that refusing to report and halt suspicious orders,

as required by the CSA and Code of Federal Regulations, would harm Plaintiff by allowing the

flow of prescriptions opioids from appropriate medical channels into the illicit drug market.

         427. The last racketeering incident occurred within five years of the commission of a

prior incident of racketeering.

2. The RICO Defendants Manufactured, Sold and/or Dealt in Controlled Substances and
   Their Crimes Are Punishable as Felonies.

         428. The RICO Defendants conducted and participated in the conduct of the affairs of

the Opioid Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C.

§ 1961(D) by the felonious manufacture, importation, receiving, concealment, buying, selling, or

otherwise dealing in a controlled substance or listed chemical (as defined in section 102 of the

Controlled Substance Act), punishable under any law of the United States.

         429. The RICO Defendants committed crimes that are punishable as felonies under the

laws of the United States. Specifically, 21 U.S.C. § 483(a)(4) makes it unlawful for any person

to knowingly or intentionally furnish false or fraudulent information in, or omit any material

information from, any application, report, record or other document required to be made, kept or

filed under this subchapter. A violation of section 483(a)(4) is punishable by up to four years in

jail, making it a felony. 21 U.S.C. § 483(d)(1).




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         430. Each of the RICO Defendants qualify as registrants under the CSA. Their status as

registrants under the CSA requires that they maintain effective controls against diversion of

controlled substances in schedule I or II, design and operate a system to disclose to the registrant

suspicious orders of controlled substances, and inform the DEA of suspicious orders when

discovered by the registrant. 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).

         431. Pursuant to the CSA and the Code of Federal Regulations, the RICO Defendants

were required to make reports to the DEA of any suspicious orders identified through the design

and operation of their system to disclose suspicious orders.

         432. The RICO Defendants knowingly and intentionally furnished false or fraudulent

information in their reports to the DEA about suspicious orders, and/or omitted material

information from reports, records and other document required to be filed with the DEA

including the Manufacturer Defendants’ applications for production quotas. Specifically, the

RICO Defendants were aware of suspicious orders of prescription opioids and the diversion of

their prescription opioids into the illicit market, and failed to report this information to the DEA

in their mandatory reports and their applications for production quotas.

         433. For example, the DEA and DOJ began investigating McKesson in 2013 regarding

its monitoring and reporting of suspicious controlled substances orders. On April 23, 2015,

McKesson filed a Form-8-K announcing a settlement with the DEA and DOJ wherein it admitted

to violating the CSA and agreed to pay $150 million and have some of its DEA registrations

suspended on a staggered basis. The settlement was finalized on January 17, 2017.203



203
    McKesson, McKesson Finalizes Settlement with U.S. Department of Justice and U.S. Drug Enforcement
Administration to Resolve Past Claims, About McKesson / Newsroom / Press Releases, (January 17, 2017(),
http://www.mckesson.com/about-mckesson/newsroom/press-releases/2017/mckesson-finalizes-settlement-with-doj-
and-dea-to-resolve-past-claims/.



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            434. Purdue’s experience in Los Angeles is another striking example of Defendants’

willful violation of the CSA and Code of Federal Regulations as it relates to reporting suspicious

orders of prescription opioids. In 2016, the Los Angeles Times reported that Purdue was aware

of a pill mill operating out of Los Angeles yet failed to alert the DEA.204 The LA Times

uncovered that Purdue began tracking a surge in prescriptions in Los Angeles, including one

prescriber in particular. A Purdue sales manager spoke with company officials in 2009 about the

prescriber, asking “Shouldn’t the DEA be contacted about this?” and adding that she felt “very

certain this is an organized drug ring.”205 Despite knowledge of the staggering amount of pills

being issued in Los Angeles, and internal discussion of the problem, “Purdue did not shut off the

supply of highly addictive OxyContin and did not tell authorities what it knew about Lake

Medical until several years later when the clinic was out of business and its leaders indicted. By

that time, 1.1 million pills had spilled into the hands of Armenian mobsters, the Crips gang and

other criminals.”206

            435. Finally, Mallinckrodt was recently the subject of a DEA and Senate investigation

for its opioid practices. Specifically, in 2011, the DEA targeted Mallinckrodt arguing that it

ignored its responsibility to report suspicious orders as 500 million of its pills ended up in

Florida between 2008 and 2012.207 After six years of DEA investigation, Mallinckrodt agreed to

a settlement involving a $35 million fine. Federal prosecutors summarized the case by saying


204
   Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the hands of criminals and addicts. What
the drugmaker knew, Los Angeles Times, (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-part2/.
205
      Id.
206
      Id.
207
   Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers accountable, The
Washington       Post,    (April 2,    2017),   https://www.washingtonpost.com/graphics/investigations/dea-
mallinckrodt/?utm_term=.b24cc81cc356. This number accounted for 66% of all oxycodone sold in the state of
Florida during that time.



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that Mallinckrodt’s response was that everyone knew what was going on in Florida but they had

no duty to report it.208

            436. Plaintiff is informed and believes that the foregoing examples reflect the RICO

Defendants’ pattern and practice of willfully and intentionally omitting information from their

mandatory reports to the DEA as required by 21 C.F.R. § 1301.74. This conclusion is supported

by the sheer volume of enforcement actions available in the public record against the Distributor

Defendants.209 For example:

               a. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
                  Suspension Order against the AmerisourceBergen Orlando, Florida distribution
                  center (“Orlando Facility”) alleging failure to maintain effective controls against
                  diversion of controlled substances. On June 22, 2007, AmerisourceBergen
                  entered into a settlement that resulted in the suspension of its DEA registration;

               b. On November 28, 2007, the DEA issued an Order to Show Cause and Immediate
                  Suspension Order against the Cardinal Health Auburn, Washington Distribution
                  Center (“Auburn Facility”) for failure to maintain effective controls against
                  diversion of hydrocodone;

               c. On December 5, 2007, the DEA issued an Order to Show Cause and Immediate
                  Suspension Order against the Cardinal Health Lakeland, Florida Distribution
                  Center (“Lakeland Facility”) for failure to maintain effective controls against
                  diversion of hydrocodone;

               d. On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
                  Suspension Order against the Cardinal Health Swedesboro, New Jersey
                  Distribution Center (“Swedesboro Facility”) for failure to maintain effective
                  controls against diversion of hydrocodone;

               e. On January 30, 2008, the DEA issued an Order to Show Cause and Immediate
                  Suspension Order against the Cardinal Health Stafford, Texas Distribution Center
                  (“Stafford Facility”) for failure to maintain effective controls against diversion of
                  hydrocodone;



208
      Id.
209
  Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.



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           f. On May 2, 2008, McKesson Corporation entered into an Administrative
              Memorandum of Agreement (“2008 MOA”) with the DEA which provided that
              McKesson would “maintain a compliance program designed to detect and prevent
              the diversion of controlled substances, inform DEA of suspicious orders required
              by 21 C.F.R. § 1301.74(b), and follow the procedures established by its
              Controlled Substance Monitoring Program”;

           g. On September 30, 2008, Cardinal Health entered into a Settlement and Release
              Agreement and Administrative Memorandum of Agreement with the DEA related
              to its Auburn Facility, Lakeland Facility, Swedesboro Facility and Stafford
              Facility. The document also referenced allegations by the DEA that Cardinal
              failed to maintain effective controls against the diversion of controlled substances
              at its distribution facilities located in McDonough, Georgia (“McDonough
              Facility”), Valencia, California (“Valencia Facility”) and Denver, Colorado
              (“Denver Facility”);

           h. On February 2, 2012, the DEA issued an Order to Show Cause and Immediate
              Suspension Order against the Cardinal Health Lakeland, Florida Distribution
              Center (“Lakeland Facility”) for failure to maintain effective controls against
              diversion of oxycodone;

           i. On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the
              DEA to resolve the civil penalty portion of the administrative action taken against
              its Lakeland, Florida Distribution Center; and

           j. On January 5, 2017, McKesson Corporation entered into an Administrative
              Memorandum Agreement with the DEA wherein it agreed to pay a $150,000,000
              civil penalty for violation of the 2008 MOA as well as failure to identify and
              report suspicious orders at its facilities in Aurora CO, Aurora IL, Delran NJ,
              LaCrosse WI, Lakeland FL, Landover MD, La Vista NE, Livonia MI, Methuen
              MA, Santa Fe Springs CA, Washington Courthouse OH and West Sacramento
              CA.

       437. These actions against the Distributor Defendants confirm that the Distributors knew

they had a duty to maintain effective controls against diversion, design and operate a system to

disclose suspicious orders, and to report suspicious orders to the DEA. These actions also

demonstrate, on information and belief, that the Manufacturer Defendants were aware of the

enforcement against their Distributors and the diversion of the prescription opioids and a

corresponding duty to report suspicious orders.




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       438. The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court.

       439. Many of the precise dates of Defendants’ criminal actions at issue herein were

hidden and cannot be alleged without access to Defendants’ books and records. Indeed, an

essential part of the successful operation of the Opioid Diversion Enterprise depended upon the

secrecy of the participants in that enterprise.

       440. Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including consumers in this jurisdiction and Plaintiff.

Defendants calculated and intentionally crafted the diversion scheme to increase and maintain

profits from unlawful sales of opioids, without regard to the effect such behavior would have on

this jurisdiction, its citizens or the Plaintiff. Defendants were aware that Plaintiff and the citizens

of this jurisdiction rely on Defendants to maintain a closed system of manufacturing and

distribution to protect against the non-medical diversion and use of their dangerously addictive

opioid drugs.

       441. By intentionally refusing to report and halt suspicious orders of their prescription

opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

a pattern of racketeering activity.

       442. It was foreseeable to Defendants that refusing to report and halt suspicious orders,

as required by the CSA and Code of Federal Regulations would harm Plaintiff by allowing the

flow of prescriptions opioids from appropriate medical channels into the illicit drug market.




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        443. The last racketeering incident occurred within five years of the commission of a

prior incident of racketeering.

                                           D. DAMAGES

        444. The RICO Defendants’ violations of law and their pattern of racketeering activity

directly and proximately caused Plaintiff injury in its business and property because Plaintiff

paid for costs associated with the opioid epidemic, as described above in allegations expressly

incorporated herein by reference.

        445. Plaintiff’s injuries, and those of her citizens, were proximately caused by

Defendants’ racketeering activities. But for the RICO Defendants’ conduct, Plaintiff would not

have paid the health-related services and expenditures and law enforcement services and

expenditures required as a result of the plague of drug-addicted residents.

        446. Plaintiff’s injuries and those of her citizens were directly caused by the RICO

Defendants’ racketeering activities.

        447. Plaintiff was most directly harmed and there is no other Plaintiff better suited to

seek a remedy for the economic harms at issue here.

        448. Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.

                                COUNT III
         RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                          18 U.S.C. 1962(d), et seq.
                          (Against All Defendants)
        449. Plaintiff hereby incorporates by reference all other paragraphs of this Complaint as

if fully set forth herein, and further alleges as follows.




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       450. Plaintiff brings this claim on its own behalf against all RICO Defendants. At all

relevant times, the RICO Defendants were associated with the Opioid Diversion Enterprise and

agreed and conspired to violate 18 U.S.C. § 1962(c), that is, they agreed to conduct and

participate, directly and indirectly, in the conduct of the affairs of the Opioid Diversion

Enterprise through a pattern of racketeering activity in violation of 18 U.S.C. § 1962(d). Under

Section 1962(d) it is unlawful for “any person to conspire to violate” Section 1962(d), among

other provisions. 18 U.S.C. § 1962(d).

       451. Defendants conspired to violate Section 1962(c), as alleged more fully above, by

conducting the affairs of the Opioid Diversion Enterprise through a pattern of racketeering

activity, as incorporated by reference below.

                         A. THE OPIOID DIVERSION ENTERPRISE.

       452. For efficiency and avoiding repetition, for purposes of this claim, Plaintiff

incorporates by reference the paragraphs set out above concerning the “Opioid Diversion

Enterprise.”

                         B. CONDUCT OF THE OPIOID DIVERSION ENTERPRISE.

       453. For efficiency and avoiding repetition, for purposes of this claim, Plaintiff

incorporates by reference the paragraphs set out above concerning the “Conduct of the Opioid

Diversion Enterprise.”

                         C. PATTERN OF RACKETEERING ACTIVITY.

       454. For efficiency and avoiding repetition, for purposes of this claim, Plaintiff

incorporates by reference the paragraphs set out above concerning the “Pattern of Racketeering

Activity.”

                         D. DAMAGES.



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        455. The RICO Defendants’ violations of law and their pattern of racketeering activity

directly and proximately caused Plaintiff injury in its business and property because Plaintiff

paid for costs associated with the opioid epidemic, as described above in allegations expressly

incorporated herein by reference.

        456. Plaintiff’s injuries were proximately caused by the RICO Defendants’ racketeering

activities. But for the RICO Defendants’ conduct, Plaintiff would not have paid the health-

related services and expenditures and law enforcement services and expenditures required as a

result of the plague of drug-addicted residents.

        457. Plaintiff’s injuries were directly caused by the RICO Defendants’ racketeering

activities.

        458. Plaintiff was most directly harmed and there is no other Plaintiff better suited to

seek a remedy for the economic harms at issue here.

        459. Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.

                                  COUNT IV
               NEGLIGENCE AND NEGLIGENT MISREPRESENTATION
                            (Against All Defendants)

        460. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

        461. Plaintiff seeks economic damages which were the foreseeable result of Defendants’

intentional and/or unlawful actions and omissions.

        462. Under State law, to establish actionable negligence, one must show in addition to

the existence of a duty, a breach of that duty, and injury resulting proximately therefrom and/or

was substantially caused thereby. All such essential elements exist here.
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       463. Further, as Section 302B of the Restatement of Torts provides: “An act or an

omission may be negligent if the actor realizes or should realize that it involves an unreasonable

risk of harm to another through the conduct of the other or a third person which is intended to

cause harm, even though such conduct is criminal.”

       464. Each Defendant had an obligation to exercise reasonable care in manufacturing,

marketing, selling, and distributing highly dangerous opioid drugs to the State and Plaintiff’s

Community.

       465. Each Defendant had an obligation to exercise due care in manufacturing,

marketing, selling, and distributing highly dangerous opioid drugs in the State and Plaintiff’s

Community.

       466. Each Defendant owed a duty to Plaintiff, and to the public in the Plaintiff’s

Community, because the injury was foreseeable, and in fact foreseen, by Defendants.

       467. Reasonably prudent manufacturers and distributors of prescription opioids would

have anticipated that the scourge of opioid addiction would wreak havoc on communities, and

the significant costs which would be imposed upon the governmental entities associated with

those communities. The closed system of opioid distribution whereby wholesale distributors are

the gatekeepers between manufacturers and pharmacies, and wherein all links in the chain have a

duty to prevent diversion, exists for the purpose of controlling dangerous substances such as

opioids and preventing diversion and abuse.

       468. Reasonably prudent manufacturers of pharmaceutical products would know that

aggressively pushing highly addictive opioids for chronic pain would result in the severe harm of

addiction, foreseeably causing patients to seek increasing levels of opioids, frequently turning to




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the illegal drug market as a result of a drug addiction that was foreseeable to the Manufacturer

Defendants.

          469. Moreover, Defendants were repeatedly warned by law enforcement of the

unlawfulness and consequences of their actions and omissions.

          470. The escalating amounts of addictive drugs flowing through Defendants’ businesses,

and the sheer volume of these prescription opioids, further alerted Defendants that addiction was

fueling increased consumption and that legitimate medical purposes were not being served.

          471. As described above in allegations expressly incorporated herein, the Distributor

Defendants breached their duties to exercise due care in the business of wholesale distribution of

dangerous opioids, which are Schedule II Controlled Substances, by failing to monitor for,

failing to report, and filling highly suspicious orders time and again. Because the very purpose

of these duties was to prevent the resulting harm – misuse and/or diversion of highly addictive

drugs for non-medical purposes – the causal connection between Defendants’ breach of duties

and the ensuing harm was entirely foreseeable.

          472. As described elsewhere in the Complaint in allegations expressly incorporated

herein, the Distributor Defendants misrepresented their compliance with their duties under the

law and concealed their noncompliance and shipments of suspicious orders of opioids to

Plaintiff’s Community and destinations from which they knew opioids were likely to be diverted

into Plaintiff’s Community, in addition to other misrepresentations alleged and incorporated

herein.

          473. As described elsewhere in the Complaint in allegations expressly incorporated

herein, the Manufacturer Defendants breached their duties to exercise due care in the business of

pharmaceutical manufacturers of dangerous opioids, which are Schedule II Controlled



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Substances, and by misrepresenting the nature of the drugs and aggressively promoting them for

chronic pain for which they knew the drug were not safe or suitable, upon which the Plaintiff’s

Community, its residents, and Plaintiff reasonably relied.

       474. The Manufacturer Defendants misrepresented and concealed the addictive nature of

prescription opioids and its lack of suitability for chronic pain, in addition to other

misrepresentations alleged and incorporated herein.

       475. All Defendants breached their duties to prevent diversion and report and halt

suspicious orders, and all Defendants misrepresented their compliance with their legal duties.

       476. Defendants’ breaches were intentional and/or unlawful, and Defendants’ conduct

was willful, wanton, malicious, reckless, oppressive, and/or fraudulent.

       477. The     causal   connection     between    Defendants’   breaches    of   duties     and

misrepresentations and the ensuing harm was entirely foreseeable.

       478. As described above in allegations expressly incorporated herein, Defendants’

breaches of duty and misrepresentations caused, bears a causal connection with, and/or

proximately resulted in the damages sought herein.

       479. Defendants were selling dangerous drugs statutorily categorized as posing a high

potential for abuse and severe dependence. Defendants knowingly traded in drugs that presented

a high degree of danger if prescribed incorrectly or diverted to other than medical, scientific, or

industrial channels. However, Defendants breached their duties to monitor for, report, and halt

suspicious orders, breached their duties to prevent diversion, and, further, misrepresented what

their duties were and their compliance with their legal duties.

       480. Defendants failed to disclose the material facts that inter alia they were not in

compliance with laws and regulations requiring that they maintain a system to prevent diversion,



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protect against addiction and severe harm, and specifically monitor, investigate, report, and

refuse suspicious orders. But for these material factual omissions, Defendants would not have

been able to sell opioids.

       481. As alleged herein, each Manufacturer Defendant wrongfully represented that the

opioid prescription medications they manufactured, marketed, and sold had characteristics, uses,

or benefits that they do not have. The Manufacturer Defendants also wrongfully misrepresented

that the opioids were safe and effective when such representations were untrue, false, and

misleading.

       482. Because of the dangerously addictive nature of these drugs, which the

Manufacturer Defendants concealed and misrepresented, they lacked medical value, and in fact

caused addiction and overdose deaths.

       483. The Manufacturer Defendants made deceptive representations about the use of

opioids to treat chronic non-cancer pain.         Each Manufacturer Defendant also omitted or

concealed material facts and failed to correct prior misrepresentations and omissions about the

risks and benefits of opioids. Each Defendant’s omissions rendered even their seemingly truthful

statements about opioids deceptive, and the Plaintiff’s Community, its residents, and Plaintiff

reasonably relied upon said misrepresentations.

       484. Defendants’ unlawful and/or intentional actions create a rebuttable presumption of

negligence under State law.

       485. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ actions and omissions. Plaintiff does not seek damages for

physical personal injury or any physical damage to property caused by Defendants’ actions.




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       486. Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including inter alia injunctive relief, restitution, disgorgement of

profits, compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorney fees and costs, and pre- and post-judgment interest.

                                           COUNT V
                                     NEGLIGENCE PER SE
                                     (Against All Defendants)

       487. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       488. Violations of statutes and regulations support a cause of action for negligence per

se where the plaintiff is within the class protected, the harm sustained is the type sought to be

prevented, and that the violations proximately caused the plaintiff’s injuries.

       489. Defendants violated the minimum requirements for controlled substance

manufacture and wholesale drug distribution to comply with all applicable local, state and

federal laws and regulations and all applicable state and federal DEA regulations.

       490. The federal laws and requirements which the State incorporates into its own laws

require Defendants to act as gatekeepers guarding against the diversion of the highly addictive,

dangerous opioid drugs.

       491. The federal mandates incorporated into State law require that Defendants must

maintain “effective control against diversion of particular controlled substances into other than

legitimate medical, scientific, and industrial channels.” 21 U.S.C. §§ 823(a)(1), (b)(1). These

federal regulations impose a non-delegable duty upon both manufacturers and distributors to

“design and operate a system to disclose to the registrant suspicious orders of controlled

substances. The registrant [distributor or manufacturer] shall inform the Field Division Office of



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the Administration in his area of suspicious orders when discovered by the registrant. Suspicious

orders include orders of unusual size, orders deviating substantially from a normal pattern, and

orders of unusual frequency.” 21 C.F.R. § 1301.74(b).

       492. In addition to reporting all suspicious orders, distributors must also stop shipment

on any order which is flagged as suspicious and only ship orders which were flagged as

potentially suspicious if, after conducting due diligence, the distributor can determine that the

order is not likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg.

36,487, 36,501 (Drug Enf’t Admin. July 3, 2007); Masters Pharm., Inc. v. Drug Enf’t Admin.,

861 F.3d 206 (D.C. Cir. 2017). Regardless, all flagged orders must be reported. Id.

       493. Each Defendant was further required to register with the DEA, pursuant to the

federal Controlled Substance Act, as incorporated into State law. See 21 U.S.C. § 823(b), (e); 28

C.F.R. § 0.100. Each Defendant is a “registrant” as a wholesale distributor and/or manufacturer

in the chain of distribution of Schedule II controlled substances with a duty to comply with all

security requirements imposed under that statutory scheme.

       494. Defendants violated requirements prohibiting the manufacture and/or distribution

of controlled substances, where such manufacturer and/or distribution does not comply with the

requirements of State and federal law.

       495. Defendants do not qualify for the authorized by law exceptions to the applicable

law because Defendants did not comply with the mandatory terms of the licenses, registrations,

and/or permits issued to them by the State or with federal requirements incorporated by

reference, as further detailed in this Complaint.

       496. Plaintiff is within the class intended to be protected by the public safety statutes

and regulations concerning controlled substances.



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       497. Defendants’ violations of these public safety laws are prima facie evidence of

negligence per se. Each Defendant had a duty under, inter alia, these laws to maintain effective

controls against diversion of prescription opioids and to guard against, prevent, and report

suspicious orders of opioids. Defendants’ violations of the law constitute negligence per se.

Defendants breached mandatory, non-delegable legal duties and did not act reasonably under the

circumstances.

       498. As described above in allegations expressly incorporated herein, Defendants

breached their duties to maintain effective controls against diversion of dangerously addictive

opioids, including violating public safety statutes and regulations requiring that as wholesale

drug distributors, Defendants could only distribute these dangerous drugs under a closed system

– a system Defendants were responsible for guarding.

       499. As described above in allegations expressly incorporated herein, Defendants’

breach of statutory and regulatory duties caused, bears a causal connection with, is and was a

substantial factor contributing to, and/or proximately resulted in, harm and damages to Plaintiff.

       500. The injuries and damages sustained are those which the State and federal statutes

and regulations were designed to prevent.

       501. Defendants’ violations of the State and federal statutes and public safety

regulations cited herein were and are a substantial factor in the injuries and damages sustained.

       502. It was foreseeable that Defendants’ breach of statutory and regulatory duties

described herein would result in the damages sustained.

       503. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ negligence per se. Plaintiff does not seek damages for

physical personal injury or any physical damage to property caused by Defendants’ actions.



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       504. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by Defendants,

attorney fees and costs, and pre- and post-judgment interest.

                                   COUNT VI
                 VIOLATIONS OF MASSACHUSETTS GENERAL LAWS,
                        CHAPTER 93A, SECTIONS 2 AND 11
                             (Against All Defendants)

       505. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       506. Defendants engaged in deceptive trade practices in this State, in violation of State

law.

       507. Defendants were engaged in “trade” and “commerce” as defined by Massachusetts

General Laws, Chapter 93A, Section 1.

       508. Plaintiff was engaged in “trade” and “commerce” as defined by Massachusetts

General Laws, Chapter 93A, Section 1.

       509. The transactions, actions or inaction of Defendants constitute unfair and deceptive

acts and practices as defined by, and in violation of, Massachusetts General Laws, Chapter 93A,

Sections 2 and 11.

       510. Defendants committed committing repeated and willful unfair or deceptive acts or

practices, and unconscionable trade practices, in the conduct of commerce.

       511. As alleged herein, each Manufacturer Defendant wrongfully represented that the

opioid prescription medications they manufactured, marketed, and sold had characteristics, uses,

or benefits that they do not have.




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       512. The Manufacturer Defendants also wrongfully misrepresented that the opioids were

safe and effective when such representations were untrue, false, and misleading.

       513. The Manufacturer Defendants used exaggeration and/or ambiguity as to material

facts and omitted material facts, which tended to deceive and/or did in fact deceive.

       514. The Manufacturer Defendants made deceptive representations about the use of

opioids to treat chronic non-cancer pain.        Each Manufacturer Defendant also omitted or

concealed material facts and failed to correct prior misrepresentations and omissions about the

risks and benefits of opioids. Each Defendant’s omissions rendered even their seemingly truthful

statements about opioids deceptive.

       515. Because of the dangerously addictive nature of these drugs, which the

Manufacturer Defendants concealed and misrepresented, they lacked medical value, and in fact

caused addiction and overdose deaths; therefore, Defendants’ sales and marketing of opioids

constituted a violation of State law.

       516. In addition, each Manufacturer and Distributor Defendant engaged in unfair and/or

deceptive trade practices by failing to report suspicious orders of opioids and/or prevent the

diversion of highly addictive prescription drugs to illegal sources.

       517. Defendants were required to comply with the reporting requirements under federal

law and maintain distribution records pursuant to M.G.L., 94C, § 15 and the Code of

Massachusetts Regulations 7.04, Minimum Requirements for the Storage and Handling of

Prescription Drugs and for the Establishment and Maintenance of Prescription Drug Distribution

Records, Section 9.

       518. Defendants failed to disclose the material facts that, inter alia, they were not in

compliance with laws and regulations requiring that they maintain a system to prevent diversion,



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protect against addiction and severe harm, and specifically monitor, investigate, report, and

refuse suspicious orders. But for these material factual omissions, Defendants would not have

been able to sell or distribute opioids, and the Distributor Defendants would not have been able

to receive and renew licenses to sell opioids.

       519. Because of the dangerously addictive nature of these drugs, the Defendants’ unfair

and or deceptive trade practices unlawfully caused an opioid and heroin plague and epidemic in

the State and Plaintiff’s Community.

       520. Each Defendant had a non-delegable duty to guard against and prevent the misuse

and/or diversion of prescription opioids to other than legitimate medical, scientific, and industrial

channels.

       521. Defendants also omitted material facts, causing confusion or misunderstanding as

to approval or certification of goods or services.

       522. The Defendants failed to disclose the material facts that inter alia they were not in

compliance with laws and regulations requiring that they maintain a system to prevent diversion,

protect against addiction and severe harm, and specifically monitor, investigate, report, and

refuse suspicious orders. But for these material factual omissions, Defendants would not have

been able to sell opioids, and the Distributor Defendants would not have been able to receive and

renew licenses to sell opioids.

       523. Defendants’ unfair, deceptive, and unconscionable representations, concealments,

and omissions were reasonably calculated to deceive the State, the public, Plaintiff’s

Community, and Plaintiff.

       524. As described more specifically above, Defendants’ representations, concealments,

and omissions constitute a willful course of conduct which continues to this day.



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       525. The damages that Plaintiff seeks to recover were sustained as a direct and

proximate cause of the Manufacturer and Distributor Defendants’ intentional and/or unlawful

actions and omissions.

       526. Defendants’ actions and omissions in the course of marketing, selling, and

distributing prescriptions opioids constituted deceptive trade practices under State law and the

actions and transactions constituting the alleged unfair method of competition or the unfair or

deceptive act or practice occurred primarily and substantially within the Commonwealth.

       527. State law prohibits representing that goods or services have sponsorship, approval,

characteristics, uses, or benefits that they do not have. State law further prohibits representing

that goods are of a standard, quality, or grade if they are of another.

       528. Defendants committed committing repeated and willful unfair or deceptive acts or

practices, and unconscionable trade practices, in the conduct of commerce in this State.

       529. Each Defendant failed to report and/or prevent the diversion of highly addictive

prescription drugs.

       530. Because of the dangerously addictive nature of these drugs, the Distributor

Defendants’ manufacturing, marketing, sales, and distribution practices unlawfully caused an

opioid and heroin plague and epidemic in the State and Plaintiff’s Community. Each Defendant

had a non-delegable duty to guard against and prevent the diversion of prescription opioids to

other than legitimate medical, scientific, and industrial channels.

       531. The Defendants also omitted material facts, causing confusion or misunderstanding

as to approval or certification of goods or services.

       532. The Defendants failed to disclose the material facts that inter alia they were not in

compliance with laws and regulations requiring that they maintain a system to prevent diversion,



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protect against addiction and severe harm, and specifically monitor, investigate, report, and

refuse suspicious orders. But for these material factual omissions, Defendants would not have

been able to sell opioids, and the Distributor Defendants would not have been able to receive and

renew licenses to sell opioids.

       533. As alleged herein, each Manufacturer Defendant wrongfully represented that the

opioid prescription medications they manufactured, marketed, and sold had characteristics, uses,

or benefits that they do not have.

       534. The Manufacturer Defendants also wrongfully misrepresented that the opioids were

safe and effective when such representations were untrue, false, and misleading.

       535. The Manufacturer Defendants also used exaggeration and/or ambiguity as to

material facts and omitted material facts, which had a tendency to deceive and/or did in fact

deceive.

       536. Because of the dangerously addictive nature of these drugs, which the

Manufacturer Defendants concealed and misrepresented, they lacked medical value, and in fact

caused addiction and overdose deaths; therefore, Defendants’ sales and marketing of opioids

constituted a violation of State law.

       537. The Manufacturer Defendants made deceptive representations about the use of

opioids to treat chronic non-cancer pain. Each Manufacturer Defendant also omitted or

concealed material facts and failed to correct prior misrepresentations and omissions about the

risks and benefits of opioids. Each Defendant’s omissions rendered even their seemingly truthful

statements about opioids deceptive.

       538. Defendants acted knowingly, intentionally and/or unlawfully.




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       539. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ deceptive trade practices. Plaintiff does not seek damages for

physical personal injury or any physical damage to property caused by Defendants’ actions.

       540. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by Defendants,

attorney fees and costs, and pre- and post-judgment interest.

                                           COUNT VII
                                      CIVIL CONSPIRACY
                                     (Against All Defendants)

       541. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       542. As set forth herein, Defendants engaged in a civil conspiracy to create a public

nuisance in conjunction with their unlawful marketing, sale, distribution and/or diversion of

opioids into the State and Plaintiff’s Community.

       543. As set forth herein, Defendants engaged in a civil conspiracy to commit fraud and

misrepresentation in conjunction with their unlawful distribution and diversion of opioids into

the State and Plaintiff’s Community.

       544. Distributor and Manufacturer Defendants unlawfully failed to act to prevent

diversion and failed to monitor for, report, and prevent suspicious orders of opioids.

       545. The Manufacturer Defendants further unlawfully marketed and promoted opioids in

the State and Plaintiffs’ Community in furtherance of that conspiracy.

       546. Defendants acted tortuously in agreement and/or in concert with each other and/or

in pursuit of a common design, and/or Defendants knew each other’s conduct constituted a



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breach of their legal duties and provided substantial assistance and/or encouragement in the

conduct.

        547. Defendants conspiracy is a continuing conspiracy, and the overt acts performed in

compliance with the conspiracy’s objective(s) are ongoing and/or have occurred within the last

year.

        548. Defendants’ conspiracy and acts in furtherance thereof are alleged in greater detail

earlier in the Complaint, including, without limitation, in Plaintiff’s federal and state law

racketeering allegations. Such allegations are incorporated herein.

        549. Defendants acted with agreement and a common understanding or design to

commit unlawful acts and/or lawful acts unlawfully, as alleged herein, and acted purposely,

without a reasonable or lawful excuse, to create the injuries alleged herein.

        550. Defendants acted with malice, purposely, intentionally, unlawfully, and without a

reasonably or lawful excuse.

        551. Defendants’ conspiracy, and Defendants’ actions and omissions in furtherance

thereof, proximately caused and/or substantially contributed to the direct and foreseeable losses

alleged herein.

        552. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ civil conspiracy. Plaintiff does not seek damages for physical

personal injury or any physical damage to property caused by Defendants’ actions.

        553. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by Defendants,

attorney fees and costs, and pre- and post-judgment interest.



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                                   COUNT VIII
                   FRAUD AND FRAUDULENT MISREPRESENTATION
                              (Against All Defendants)

       554. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       555. Defendants violated their general duty not to actively deceive and not to make

knowingly false statements and have omitted and/or concealed information which made

statements by Defendants knowingly false. Defendants acted intentionally and/or unlawfully.

       556. As alleged herein, Defendants knowingly and/or intentionally made representations

that were false. Defendants had a duty to disclose material facts and concealed them. These

false representations and concealed facts were material to the conduct and actions at issue.

Defendants made these false representations and concealed facts with knowledge of the falsity of

their representations, and did so with the intent of misleading Plaintiff, Plaintiff’s community,

the public, and persons on whom Plaintiff relied.

       557. As alleged herein, the Manufacturer Defendants engaged in false representations

and concealments of material fact regarding the use, safety and effectiveness of opioids to treat

chronic non-cancer pain.

       558. As alleged herein, all Defendants made false statements regarding their compliance

with state and federal law regarding their duties their duties to monitor, report and halt suspicious

orders and to prevent diversion, and/or they concealed their noncompliance with these

requirements.

       559. Defendants’ false representations and concealments were reasonably calculated to

deceive Plaintiff, Plaintiff’s Community, and the physicians who prescribed and the patients who




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took opioids in Plaintiff’s Community, were made with the intent to deceive, and did in fact

deceive these persons, Plaintiff, and Plaintiff’s Community.

       560. Plaintiff, Plaintiff’s Community, the physicians and the patients who prescribed

opioids reasonably relied on these false representations and concealments of material fact.

       561. Plaintiff justifiably relied on Defendants’ representations and/or concealments, both

directly and indirectly. Plaintiff’s injuries were proximately caused by this reliance.

       562. The injuries alleged by Plaintiff herein were sustained as a direct and proximate

cause of Defendants’ fraudulent conduct.

       563. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ fraudulent activity, including fraudulent misrepresentations

and fraudulent concealment. Plaintiff does not seek damages for physical personal injury or any

physical damage to property caused by Defendants’ actions.

       564. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by Defendants,

attorney fees and costs, and pre- and post-judgment interest.

                                          COUNT IX
                                    UNJUST ENRICHMENT
                                    (Against All Defendants)

       565. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       566. Plaintiff conferred a benefit upon the Manufacturing Defendants by making

payments, directly or indirectly, for opioids manufactured by each such Defendant that were sold

or used in Plaintiff’s Community, which payments Defendants accepted without protest or defect

and retained, profited and benefitted from them.
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       567. The Manufacturing Defendants’ retention of such payments would be inequitable

based on the circumstances set forth herein, including their false and deceptive marketing and

promotion campaign and their omissions of and failure to state material facts in connection with

their marketing of opioids as well as their failure to report suspicious orders. The Manufacturing

Defendants have thus been unjustly enriched by their actions which contributed to the Plaintiff’s

Community’s opioid epidemic.

       568. Plaintiff conferred a benefit upon the Distributor Defendants by making payments,

directly or indirectly, for opioids distributed or otherwise provided by each such Defendant that

were sold or used in Plaintiff’s Community, which payments Defendants accepted without

protest or defect and retained, profited and benefitted from them.

       569. The Manufacturing Defendants’ retention of such payments would be inequitable

based on the circumstances set forth herein, including their failure to comply with their reporting

duties under state and federal law. The Manufacturing Defendants have thus been unjustly

enriched by their actions which contributed to the Plaintiff’s Community’s opioid epidemic.

       570. Defendants had an appreciation or knowledge of the benefit.

       571. Defendants knew of such payments received by them.

       572. Defendants have unlawfully and in bad faith knowingly retained the benefit of such

payments for themselves.

       573. As a direct and proximate result of Defendants’ actions, as hereinabove set forth,

Defendants are, and continue to be, unjustly enriched and Plaintiff demands it be made whole.

                                     COUNT X
                     AIDING AND ABETTING (Tortious and Statutory)
                               (Against All Defendants)

       574. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.
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       575. Each Defendant provided substantial assistance or encouragement to the other

Defendants in committing the primary causes of action alleged herein, and did so with unlawful

intent and knowledge that such parties were perpetuating an illegal marketing and promotion

scheme to wrongfully increase sales of opioids beyond legitimate medical purposes and were

failing to comply with mandated reporting requirements yet continuing to substantially assist

each other in their wrongful actions.

       576. Each Defendant also provided substantial assistance to the other Defendants in

committing the violations of M.G.L. c. 93A alleged herein, and did so with unlawful intent and

knowledge that such parties were perpetuating an illegal marketing and promotion scheme to

wrongfully increase sales of opioids beyond legitimate medical purposes and were failing to

comply with mandated reporting requirements, and yet continued to substantially assist each

other in their wrongful conduct.

       577. Each Defendant rendered substantial assistance despite their knowledge that the

marketing, promotional and distribution-related activities were unlawful, unfair, deceptive and

fraudulent and violated M.G.L. c. 93A.

       578. By each Defendant’s actions alleged above, each said Defendant aided and abetted

the commission of the causes of action alleged herein.

       579. As a direct and proximate result of Defendants’ unlawful marketing and promotion

scheme and failure to comply with mandated reporting requirements and all the activities

performed in connection therewith, to which Defendants provided substantial assistance, Plaintiff

sustained damages and losses and demands to be made whole.

                                    PUNITIVE DAMAGES

       580. Plaintiff re-alleges all paragraphs of this Complaint as if set forth fully herein.



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       581. By engaging in the above-described intentional and/or unlawful acts or practices,

Defendants acted with actual malice, wantonly, and oppressively.

       582. Defendants acted with conscious disregard to the rights of others and/or in a

reckless, wanton, willful, or gross manner and in a manner that had a great probability of causing

substantial harm.

       583. Defendants acted with a prolonged indifference to the adverse consequences of

their actions and/or omissions.

       584. Defendants were manufacturing, marketing, promoting, distributing and/or selling

dangerous drugs statutorily categorized as posing a high potential for abuse and severe

dependence. Thus, Defendants knowingly traded in drugs that presented a high degree of danger

if prescribed incorrectly or diverted to other than legitimate medical, scientific, or industrial

channels. Because of the severe level of danger posed by, and indeed visited upon the State and

Plaintiff’s Community by, these dangerous drugs, Defendants owed a high duty of care to ensure

that these drugs were only used for proper medical purposes. Defendants chose profit over

prudence, and the safety of the community, and an award of punitive damages is appropriate, as

punishment and a deterrence.

       585. By engaging in the above-described wrongful conduct, Defendants also engaged in

willful misconduct and exhibited an entire want of care that would raise the presumption of a

conscious indifference to consequences.

                                            RELIEF

       WHEREFORE, Plaintiff respectfully prays that this Court grant the following:

       A.    Entering Judgment in favor of Plaintiff in a final order against each Defendant;

       B.    Enjoining Defendants and their employees, officers, directors, agents, successors,

assignees, merged or acquired predecessors, parent or controlling entities, subsidiaries, and all
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other persons acting in concert or participation with them, from engaging in unfair or deceptive

practices in violation of law and ordering temporary, preliminary or permanent injunctive relief;

       C.    Order that Defendants compensate Plaintiff for past and future costs to abate the

ongoing public nuisance caused by the opioid epidemic;

       D.    Order Defendants to fund an “abatement fund” for the purposes of abating the

opioid nuisance;

       E.    Awarding actual damages, treble damages, injunctive and equitable relief,

forfeiture as deemed proper by the Court, and attorney fees and all costs and expenses of suit

pursuant to Plaintiff’s racketeering claims;

       F.    Awarding the Plaintiff the damages caused by Defendants’ unlawful conduct,

including (A) costs for providing medical care, additional therapeutic treatments, and

prescription drug purchases, and other treatments for patients suffering from opioid-related

addiction or disease, including overdoses and deaths; (B) costs for providing treatment,

counseling, and rehabilitation services; (C) costs for providing treatment of infants born with

opioid-related medical conditions; (D) costs for providing care for children whose parents suffer

from opioid-related disability or incapacitation; and (E) costs associated with law enforcement

and public safety relating to the opioid epidemic.

       G.    Awarding judgment against Defendants requiring Defendants to pay punitive

damages; and

       H.    Granting Plaintiff the cost of investigation, reasonable attorneys’ fees, and all costs

and expenses; pre-judgment and post-judgment interest; and, all other relief as provided by law

and/or as the Court deems appropriate and just.




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Dated: April 5, 2018                       Respectfully Submitted,

                                           Town of Brewster
                                           Plaintiff

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